Case:17-03283-LTS Doc#:2053-2 Filed:12/15/17 Entered:12/15/17 19:19:26   Desc:
                          Exhibit B Page 1 of 125


                                  Exhibit B

                              Monthly Statements
Case:17-03283-LTS Doc#:2053-2 Filed:12/15/17 Entered:12/15/17 19:19:26                                Desc:
                          Exhibit B Page 2 of 125

                                  UNITED STATES DISTRICT COURT
                                    DISTRICT OF PUERTO RICO
     -------------------------------------------------------------x
     In re:
                                                                      PROMESA
     THE FINANCIAL OVERSIGHT AND                                      Title III
     MANAGEMENT BOARD FOR PUERTO RICO,

                 as representative of
                                                                      Case No. 17-04780 (LTS)
     PUERTO RICO ELECTRIC POWER
     AUTHORITY (“PREPA”),

                                  Debtor.1
     -------------------------------------------------------------x

                         COVER SHEET TO FIRST MONTHLY
                    FEE APPLICATION OF PROSKAUER ROSE LLP
                   FOR COMPENSATION FOR SERVICES RENDERED
                 AND REIMBURSEMENT OF EXPENSES AS ATTORNEYS
              TO THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD
                 FOR PUERTO RICO, AS REPRESENTATIVE OF DEBTOR,
               PUERTO RICO ELECTRIC POWER AUTHORITY (“PREPA”)
                 FOR THE PERIOD JULY 2, 2017 THROUGH JULY 31, 2017

Name of Applicant:                                            Proskauer Rose LLP (“Proskauer”)

Authorized to Provide Professional Services                   Financial Oversight and Management Board,
to:                                                           as Representative for the Debtor Pursuant to
                                                              PROMESA Section 315(b)

Period for which compensation and                             July 2, 2017 through July 31, 2017
reimbursement is sought:

Amount of compensation sought as actual,                      $454,695.00
reasonable and necessary:

Amount of expense reimbursement sought as                     $41,844.55
actual, reasonable and necessary:

Total Amount for this Invoice:                                $496,539.55



This is a:     X monthly __ interim __ final application.

This is Proskauer’s first monthly fee application in this case.


1
    The last four (4) digits of PREPA’s federal tax identification number are 3747.
                                                          1
Case:17-03283-LTS Doc#:2053-2 Filed:12/15/17 Entered:12/15/17 19:19:26   Desc:
                          Exhibit B Page 3 of 125

On September 7, 2017 Sent to:
FOMB:
Financial Oversight and Management Board
40 Washington Square South, Office 314A
New York, NY 10012
Attn: Professor Arthur J. Gonzalez, FOMB Board Member
Co-Counsel for AAFAF:
O’Melveny & Myers LLP
Times Square Tower, 7 Times Square
New York, NY 10036
Attn: John J. Rapisardi, Esq.,
      Suzzanne Uhland, Esq.,
      Diana M. Perez, Esq.
            and
Greenberg Traurig, LLP
200 Park Avenue
New York, NY 10166
Attn: Nancy A. Mitchell, Esq.,
      Nathan A. Haynes, Esq.
Office of United States Trustee
Office of the United States Trustee for the District of Puerto Rico
Edificio Ochoa, 500 Tanca Street, Suite 301
San Juan, PR 00901
(In re: Commonwealth of Puerto Rico)
Co-Counsel for the Official Committee of Unsecured Creditors:
Paul Hastings LLP
200 Park Avenue
New York, NY 10166
Attn: Luc. A. Despins, Esq.,
      Andrew V. Tenzer, Esq.,
      Michael E. Comerford, Esq.,
      G. Alexander Bongartz, Esq.
             and
Casillas, Santiago & Torres, LLC (Proposed)
El Caribe Office Building
53 Palmeras Street, Suite. 1601
San Juan, Puerto Rico 00901-2419
Attn: Juan J. Casillas Ayala, Esq.,
      Diana M. Batlle-Barasorda, Esq.,
      Alberto J. E. Añeses Negrón, Esq.,
      Ericka C. Montull-Novoa, Esq.
Co-Counsel for U.S. Bank National Association:
Maslon LLP
90 South Seventh Street, Suite 3300
Minneapolis, MN 55402
Attn: Clark T. Whitmore, Esq.,
        William Z. Pentelovitch, Esq.,
        John T. Duffey, Esq.,
        Jason M. Reed, Esq.
           and
Rivera, Tulla & Ferrer, LLC
50 Quisqueya Street
San Juan, PR 00917
Attn: Eric A. Tulla, Esq.,
      Iris J. Cabrera-Góomz, Esq.

                                                           2
Case:17-03283-LTS Doc#:2053-2 Filed:12/15/17 Entered:12/15/17 19:19:26                        Desc:
                          Exhibit B Page 4 of 125
              Summary of Legal Fees for the Period July 2, 2017 through July 31, 2017


                                                               Total Billed
 Task Code                Matter Description                                   Total Fees Requested
                                                                 Hours
             Tasks Relating to the Board, its Members, its
    201                                                               16.30                $11,899.00
             Staff, its Advisors or its Consultants
    202      Legal Research                                           57.50                $40,871.00
             Hearings and other non-filed
    203                                                                1.40                 $1,022.00
             communications with the Court
    204      Communications with Claimholders                          5.60                 $4,088.00
             Communications with the Commonwealth,
    205      its Instrumentalities or Representatives of the          41.60                $30,368.00
             Commonwealth or its Instrumentalities
    206      Documents Filed on Behalf of the Board                   71.80                $50,062.00
    207      Non-Board Court Filings                                   9.20                 $6,716.00
    208      Stay Matters                                            400.70               $289,007.00
    210      Analysis and Strategy                                    20.50                $14,965.00
    212      General Administration                                   20.10                 $5,697.00
                                                     Totals          644.70               $454,695.00




                                                     3
Case:17-03283-LTS Doc#:2053-2 Filed:12/15/17 Entered:12/15/17 19:19:26                                 Desc:
                          Exhibit B Page 5 of 125
                     Summary of Legal Fees for the Period July 2, 2017 through July 31, 2017

                                                                Hourly        Total Billed        Total
      Professional           Position/Title    Department
                                                              Billing Rate      Hours          Compensation
Ann M. Ashton               Partner             Litigation    $730.00                 84.50        $61,685.00
Jeffrey W. Levitan          Partner            BSGR & B       $730.00                 28.00         $20,440.00
Jonathon E. Richman         Partner             Litigation    $730.00                 26.10         $19,053.00
Martin J. Bienenstock       Partner            BSGR & B       $730.00                 30.60         $22,338.00
Michael A. Firestein        Partner             Litigation    $730.00                  0.60           $438.00
Paul Possinger              Partner            BSGR & B       $730.00                 52.50         $38,325.00
Ralph C. Ferrara            Partner             Litigation    $730.00                 27.90         $20,367.00
Stephen L. Ratner           Partner             Litigation    $730.00                  1.20           $876.00
Steven O. Weise             Partner             Corporate     $730.00                  6.90          $5,037.00
Timothy W. Mungovan         Partner             Litigation    $730.00                 12.10          $8,833.00
Chris Theodoridis           Associate          BSGR & B       $730.00                 59.20         $43,216.00
Daniel Desatnik             Associate           Litigation    $730.00                  4.50          $3,285.00
Daniel J. Werb              Associate           Litigation    $730.00                  3.40          $2,482.00
Ehud Barak                  Associate          BSGR & B       $730.00                 61.50         $44,895.00
Evelyn Pang                 Associate           Litigation    $730.00                  2.90          $2,117.00
Jared Zajac                 Associate          BSGR & B       $730.00                 50.30         $36,719.00
John E. Roberts             Associate           Litigation    $730.00                 92.80         $67,744.00
Joshua A. Esses             Associate          BSGR & B       $730.00                  1.40          $1,022.00
Kelly M. Curtis             Associate           Litigation    $730.00                  5.80          $4,234.00
Laura Stafford              Associate           Litigation    $730.00                  0.80           $584.00
Maja Zerjal                 Associate          BSGR & B       $730.00                  7.00          $5,110.00
Mee R. Kim                  Associate           Litigation    $730.00                 51.50         $37,595.00
                                                                    Totals          611.50         $446,395.00




                                                                 Hourly        Total Billed        Total
       Law Clerk              Position/Title   Department
                                                               Billing Rate      Hours          Compensation
Pengtao Teng                 Law Clerk           Corporate     $250.00                  2.30            $575.00
                                                                     Totals             2.30            $575.00



                                                                Hourly        Total Billed        Total
    Paraprofessional         Position/Title    Department
                                                              Billing Rate      Hours          Compensation
Evelyn Rodriguez            Legal Assistant    BSGR & B       $250.00                 5.60           $1,400.00
Lawrence T. Silvestro       Legal Assistant     Litigation    $250.00                18.00           $4,500.00
Magali Giddens              Legal Assistant    BSGR & B       $250.00                 0.90            $225.00
Selena F. Williams          Legal Assistant     Litigation    $250.00                 2.30            $575.00
Sharma I. Ross              Legal Assistant     Litigation    $250.00                 1.80            $450.00
Shealeen E. Shaefer                             Labor &
                            Legal Assistant                   $250.00                 1.60            $400.00
                                               Employment


                                                        4
Case:17-03283-LTS Doc#:2053-2 Filed:12/15/17 Entered:12/15/17 19:19:26                              Desc:
                          Exhibit B Page 6 of 125
                  Summary of Legal Fees for the Period July 2, 2017 through July 31, 2017

                                                             Hourly       Total Billed         Total
   Paraprofessional       Position/Title   Department
                                                           Billing Rate     Hours           Compensation
William A. Reed          Legal Assistant     Litigation    $250.00                0.70              $175.00
                                                                 Totals          30.90            $7,725.00


                                                                             Hours              Fees
SUMMARY OF LEGAL FEES
                                                                             644.70          $454,695.00




                                                     5
Case:17-03283-LTS Doc#:2053-2 Filed:12/15/17 Entered:12/15/17 19:19:26                         Desc:
                          Exhibit B Page 7 of 125
               Summary of Disbursements for the Period July 2, 2017 through July 31, 2017


EXPENSE CATEGORY                                                                  AMOUNTS
Reproduction
In-House                                                                                      $913.80
Online Research
LEXIS                                                                                        $4,768.75
Westlaw                                                                                     $36,162.00
                                                                Total                       $41,844.55




                                                   6
Case:17-03283-LTS Doc#:2053-2 Filed:12/15/17 Entered:12/15/17 19:19:26                   Desc:
                          Exhibit B Page 8 of 125




       Proskauer requests payment and reimbursement in accordance with the procedures set

forth in the Interim Compensation Order (i.e., payment of ninety percent (90%) of the

compensation sought, in the amount of $409,225.50, and reimbursement of one-hundred percent

(100%) of expenses incurred, in the amount of $41,844.55) in the total amount of $451,070.05.




                                               7
Case:17-03283-LTS Doc#:2053-2 Filed:12/15/17 Entered:12/15/17 19:19:26   Desc:
                          Exhibit B Page 9 of 125



                               Exhibit A
 Case:17-03283-LTS Doc#:2053-2 Filed:12/15/17 Entered:12/15/17 19:19:26 Desc:
33260 FOMB                Exhibit B Page 10 of 125             Invoice 170124300
PROFESSOR ARTHUR J. GONZALEZ, FOMB BOARD
MEMBER
   0022 PROMESA TITLE III: PREPA                                                                      Page 1


Summary of Time Billed by Task                                                           Hours          Value
201   Tasks Relating to the Board, its Members, its Staff, its Advisors or its             16.30    $11,899.00
      Consultants
202   Legal Research                                                                       57.50    $40,871.00
203     Hearings and other non-filed communications with the Court                          1.40     $1,022.00
204     Communications with Claimholders                                                    5.60     $4,088.00
205     Communications with the Commonwealth, its Instrumentalities or                     41.60    $30,368.00
        Representatives of the Commonwealth or its Instrumentalities
206     Documents Filed on Behalf of the Board                                             71.80    $50,062.00
207     Non-Board Court Filings                                                             9.20     $6,716.00
208     Stay Matters                                                                      400.70   $289,007.00
210     Analysis and Strategy                                                              20.50    $14,965.00
212     General Administration                                                             20.10     $5,697.00
                                                                                 Total    644.70   $454,695.00
 Case:17-03283-LTS Doc#:2053-2 Filed:12/15/17 Entered:12/15/17 19:19:26 Desc:
33260 FOMB                Exhibit B Page 11 of 125             Invoice 170124300
PROFESSOR ARTHUR J. GONZALEZ, FOMB BOARD
MEMBER
   0022 PROMESA TITLE III: PREPA                                                                   Page 2

Tasks Relating to the Board, its Members, its Staff, its Advisors or its Consultants -- 201


Date         Timekeeper              Task                   Description                 Hours      Amount
07/03/17     Paul Possinger         201      Review Epiq application (1.00); E-mail      1.30      $949.00
                                             with C. Theodoridis with comments
                                             (0.30).
07/03/17     Ehud Barak             201      Discuss PREPA issues with local              0.80     $584.00
                                             counsel (0.40); Review Epiq standard
                                             agreement (0.40).
07/05/17     Chris Theodoridis      201      Prepare Epiq application for PREPA.          6.80    $4,964.00
07/06/17     Ehud Barak             201      Teleconference with Epiq.                    0.40     $292.00
07/07/17     Chris Theodoridis      201      Teleconference with Citi regarding           0.80     $584.00
                                             PREPA strategy.
07/07/17     Ehud Barak             201      Discuss timing issues of PREPA Title         1.80    $1,314.00
                                             III with Citi and outline timeline
                                             possibilities.
07/12/17     Chris Theodoridis      201      Conference with Citi regarding PREPA.        0.50     $365.00
07/18/17     Chris Theodoridis      201      Revise PREPA's Epiq application.             1.60    $1,168.00
07/18/17     Ehud Barak             201      Teleconference with J. El Koury              0.60     $438.00
                                             regarding PREPA issues (0.30);
                                             Teleconference with Citi regarding
                                             PREPA (0.30).
07/19/17     Paul Possinger         201      Discuss plan issues with D. Brownstein       1.20     $876.00
                                             and E. Barak (0.70); Review letter
                                             regarding interest payments (0.50).
07/24/17     Ehud Barak             201      Teleconference with Citi and McKinsey        0.50     $365.00
                                             regarding PREPA litigation net pledge
                                             and PREPA's operations.
                                                                                         16.30   $11,899.00


Legal Research -- 202


Date         Timekeeper              Task                   Description                 Hours      Amount
07/03/17     Ehud Barak             202      Review notice list and review               0.70      $511.00
                                             information from Epiq.
07/05/17     Jonathan E. Richman 202         Review research regarding stay issues,       1.60    $1,168.00
                                             and draft and review e-mails regarding
                                             same.
07/07/17     Ehud Barak             202      Research regarding classification issues     2.40    $1,752.00
                                             at PREPA.
07/11/17     Mee R. Kim             202      Research and provide to R. Ferrara           0.40     $292.00
                                             PREPA Title III petition and Board
                                             statement regarding same.
07/19/17     John E. Roberts        202      Review and analyze motion to lift-stay       2.00    $1,460.00
                                             to appoint receiver and research issues
                                             pertaining to opposition to same.
07/19/17     Ehud Barak             202      Conduct research and draft arguments         2.80    $2,044.00
                                             regarding lift-stay motion.
07/19/17     Martin J.              202      Research for answer to lift-stay motion.     4.90    $3,577.00
             Bienenstock
07/20/17     John E. Roberts        202      Research issues regarding opposition to      2.10    $1,533.00
                                             lift-stay motion.
 Case:17-03283-LTS Doc#:2053-2 Filed:12/15/17 Entered:12/15/17 19:19:26 Desc:
33260 FOMB                Exhibit B Page 12 of 125             Invoice 170124300
PROFESSOR ARTHUR J. GONZALEZ, FOMB BOARD
MEMBER
   0022 PROMESA TITLE III: PREPA                                                                Page 3

Date        Timekeeper             Task                  Description                  Hours     Amount
07/20/17    Pengtao Teng          202     Research case law regarding lift-stay        2.30     $575.00
                                          relating to public utilities.
07/21/17    Daniel J. Werb        202     Research in connection with lift-stay        3.40    $2,482.00
                                          motion allegations.
07/21/17    Martin J.             202     Research for answer to lift-stay motion.     3.80    $2,774.00
            Bienenstock
07/21/17    Evelyn Pang           202     Legal research regarding response to         2.90    $2,117.00
                                          motion to lift stay.
07/24/17    Jared Zajac           202     Review Supreme Court cases in                1.80    $1,314.00
                                          connection with lift-stay motion.
07/24/17    Chris Theodoridis     202     Prepare memorandum regarding                 6.30    $4,599.00
                                          PREPA plan.
07/24/17    Maja Zerjal           202     Review and edit draft memorandum on          1.40    $1,022.00
                                          PREPA plan.
07/25/17    Martin J.             202     Research for brief opposing PREPA            3.70    $2,701.00
            Bienenstock                   creditors' request for stay relief to
                                          request receiver.
07/25/17    Kelly M. Curtis       202     Review and analyze motions and               0.90     $657.00
                                          precedent regarding lift-stay motion.
07/25/17    Steven O. Weise       202     Review bondholder claims regarding           4.00    $2,920.00
                                          security interest in obligation to change
                                          rates regarding PREPA (2.50); Review
                                          lien issues regarding same (1.50).
07/26/17    Steven O. Weise       202     Review issues regarding claim of             2.90    $2,117.00
                                          security interest in borrower obligation
                                          to change rates.
07/27/17    Jared Zajac           202     Research regarding property rights and       1.00     $730.00
                                          adequate protection for lift-stay
                                          opposition.
07/29/17    Martin J.             202     Research and edit answer regarding           6.20    $4,526.00
            Bienenstock                   opposition to motion for stay relief to
                                          appoint receiver.
                                                                                      57.50   $40,871.00


Hearings and other non-filed communications with the Court -- 203


Date        Timekeeper             Task                 Description                   Hours     Amount
07/27/17    Martin J.             203     Teleconference with PREPA advisors to        1.40    $1,022.00
            Bienenstock                   prepare for hearing on stay relief
                                          motion.
                                                                                       1.40    $1,022.00
 Case:17-03283-LTS Doc#:2053-2 Filed:12/15/17 Entered:12/15/17 19:19:26 Desc:
33260 FOMB                Exhibit B Page 13 of 125             Invoice 170124300
PROFESSOR ARTHUR J. GONZALEZ, FOMB BOARD
MEMBER
   0022 PROMESA TITLE III: PREPA                                                                Page 4

Communications with Claimholders -- 204


Date        Timekeeper            Task                   Description                Hours       Amount
07/06/17    Ralph C. Ferrara     204      Meeting regarding preparation of           0.90       $657.00
                                          PREPA chronology of events in
                                          preparation for creditor mediation team
                                          meeting with Judge Houser (0.70); Left
                                          message for and teleconference with J.
                                          Richman regarding obtaining access to
                                          electronic PREPA documents for use
                                          for same (0.20).
07/06/17    Timothy W.           204      Prepare for and participate in             1.80      $1,314.00
            Mungovan                      teleconference with counsel for
                                          plaintiffs with respect to transferring
                                          PREPA RSA case (1.20);
                                          Communications with S. Ratner, A.
                                          Ashton, R. Ferrara, J. Richman and J.
                                          Roberts regarding same (0.60).
07/14/17    Maja Zerjal          204      Review letter from PREPA                   0.30        $219.00
                                          bondholders.
07/19/17    Jonathan E. Richman 204       Review creditors' letter regarding         0.20        $146.00
                                          information requests and payment of
                                          debt.
07/20/17    Ann M. Ashton        204      Review letter from National/Assured        0.50        $365.00
                                          regarding special revenues assertions
                                          (0.30); Discussion with R. Ferrara and
                                          J. Richman regarding same (0.20).
07/20/17    Jonathan E. Richman 204       Teleconference with R. Ferrara             0.40        $292.00
                                          regarding lift-stay motion and
                                          bondholders' letter (0.20);
                                          Teleconference with R. Ferrara, A.
                                          Ashton regarding same (0.20).
07/20/17    Ralph C. Ferrara     204      Research regarding letter requesting       0.50        $365.00
                                          documents in connection with special
                                          revenue argument.
07/21/17    Jeffrey W. Levitan   204      Review bondholder letter regarding         0.30        $219.00
                                          budget and information request.
07/22/17    Paul Possinger       204      Review letter from Assured CEO             0.50        $365.00
                                          regarding rate increase demand.
07/22/17    Jonathan E. Richman 204       Review Assured's letter to Board, and      0.20        $146.00
                                          draft e-mail regarding same.
                                                                                     5.60      $4,088.00


Communications with the Commonwealth, its Instrumentalities or Representatives of the Commonwealth or its
Instrumentalities -- 205


Date        Timekeeper            Task                   Description                Hours       Amount
07/05/17    Paul Possinger       205      Teleconference with Citi and               0.70       $511.00
                                          Rothschild regarding updated
                                          restructuring proposal.
 Case:17-03283-LTS Doc#:2053-2 Filed:12/15/17 Entered:12/15/17 19:19:26 Desc:
33260 FOMB                Exhibit B Page 14 of 125             Invoice 170124300
PROFESSOR ARTHUR J. GONZALEZ, FOMB BOARD
MEMBER
   0022 PROMESA TITLE III: PREPA                                                            Page 5

Date       Timekeeper           Task                  Description                  Hours    Amount
07/06/17   Paul Possinger      205     E-mails with Greenberg Traurig               0.30    $219.00
                                       regarding potential joint administration
                                       statement.
07/07/17   Paul Possinger      205     Teleconference with N. Mitchell              1.40   $1,022.00
                                       regarding PREPA restructuring
                                       sequencing, administrative matters.
07/07/17   Chris Theodoridis   205     Teleconference with Greenberg Traurig        1.40   $1,022.00
                                       and Proskauer regarding PREPA
                                       strategy in Title III proceedings.
07/07/17   Ehud Barak          205     Teleconference with Greenberg Traurig        1.40   $1,022.00
                                       regarding PREPA Title III and review
                                       relevant documents.
07/10/17   Chris Theodoridis   205     Conference with D. Perez and E. Barak        0.80    $584.00
                                       regarding PREPA strategy (0.50);
                                       Teleconference with Epiq, O'Melveny,
                                       and Proskauer regarding PREPA
                                       services (0.30).
07/10/17   Paul Possinger      205     E-mails with McKinsey regarding              0.30    $219.00
                                       contract rejection and review.
07/11/17   Paul Possinger      205     Meeting with PREPA and advisors              3.40   $2,482.00
                                       regarding liquidity needs.
07/11/17   Chris Theodoridis   205     Conference with PREPA, PREPA's               3.00   $2,190.00
                                       advisors, and Citi regarding PREPA's
                                       condition and financial position.
07/11/17   Martin J.           205     Meet at Proskauer with PREPA                 1.30    $949.00
           Bienenstock                 president, K. Lavin, Citi, BAML and A.
                                       Bielenberg regarding PREPA business
                                       plan, cash needs, next steps.
07/11/17   Ehud Barak          205     Prepare for and participate in meeting       2.80   $2,044.00
                                       regarding PREPA with AAFAF.
07/14/17   Maja Zerjal         205     Participate in status teleconference with    0.80    $584.00
                                       Proskauer and Greenberg teams.
07/14/17   Chris Theodoridis   205     Participate in PREPA weekly                  0.60    $438.00
                                       teleconference with Greenberg Traurig.
07/15/17   Chris Theodoridis   205     Conference with Greenberg Traurig            0.50    $365.00
                                       regarding PREPA's fuel supplier.
07/18/17   Maja Zerjal         205     Participate in update teleconference         1.10    $803.00
                                       with Proskauer and Greenberg Traurig
                                       teams.
07/18/17   Chris Theodoridis   205     Teleconference between Proskauer and         1.30    $949.00
                                       Greenberg Traurig regarding PREPA.
07/18/17   Paul Possinger      205     Teleconference with Greenberg Traurig        0.80    $584.00
                                       regarding plan, first-days filings, other
                                       motions.
07/18/17   Ehud Barak          205     Teleconference with Greenberg Traurig        1.60   $1,168.00
                                       regarding PREPA (0.20); Follow-up
                                       discussion with M. Bienenstock (0.20);
                                       Teleconference with Greenberg Traurig
                                       and Proskauer team regarding PREPA
                                       (1.20).
07/19/17   Joshua A. Esses     205     Participate in teleconference with           0.90    $657.00
                                       Greenberg Traurig and financial
                                       advisors regarding Freepoint contracts.
 Case:17-03283-LTS Doc#:2053-2 Filed:12/15/17 Entered:12/15/17 19:19:26 Desc:
33260 FOMB                Exhibit B Page 15 of 125             Invoice 170124300
PROFESSOR ARTHUR J. GONZALEZ, FOMB BOARD
MEMBER
   0022 PROMESA TITLE III: PREPA                                                            Page 6

Date       Timekeeper            Task                  Description                Hours     Amount
07/21/17   Paul Possinger       205     Teleconference with advisor team,          1.90    $1,387.00
                                        management regarding PREPA
                                        restructuring and transformation.
07/21/17   Ehud Barak           205     Participate in PREPA teleconference        2.00    $1,460.00
                                        with AAFAF and advisors.
07/21/17   Chris Theodoridis    205     Teleconference with Zolfo Cooper, Paul     2.70    $1,971.00
                                        Hastings, Greenberg Traurig, and
                                        Proskauer regarding Freepoint contract
                                        (0.70); Teleconference among Citi,
                                        PREPA, McKinsey, Rothschild,
                                        AAFAF, Proskauer, Greenberg Traurig,
                                        and Board regarding PREPA follow-up
                                        (2.00).
07/22/17   Chris Theodoridis    205     Teleconference between Greenberg           1.10     $803.00
                                        Traurig and Proskauer regarding lift-
                                        stay motion.
07/23/17   Ralph C. Ferrara     205     Prepare for and teleconference with        1.40    $1,022.00
                                        Greenburg Traurig regarding strategy
                                        for response to lift-stay motion.
07/23/17   Jeffrey W. Levitan   205     Prepare for and teleconference with R.     0.90     $657.00
                                        Ferrara, E. Barak, Greenburg Traurig
                                        representatives regarding response to
                                        bondholders.
07/23/17   Jared Zajac          205     Prepare for and teleconference with N.     0.90     $657.00
                                        Mitchell and Proskauer team regarding
                                        lift-stay response.
07/23/17   Maja Zerjal          205     Participate in discussions with            1.00     $730.00
                                        Proskauer and Greenberg teams
                                        regarding response to lift-stay motion
                                        and other ongoing tasks.
07/23/17   Paul Possinger       205     Teleconference with Greenberg Traurig      0.80     $584.00
                                        regarding response to lift-stay motion.
07/23/17   Ann M. Ashton        205     Participate in discussion with             0.90     $657.00
                                        Greenberg Traurig and Proskauer Team
                                        regarding response to National/Assured
                                        lift-stay motion.
07/26/17   Chris Theodoridis    205     Conference with J. Hutton regarding        0.40     $292.00
                                        PREPA RSA.
07/27/17   Ann M. Ashton        205     Participate in teleconference with         1.30     $949.00
                                        Greenberg Traurig, AAFAF, M.
                                        Bienenstock, E. Barak, et al. regarding
                                        PREPA information for opposition to
                                        lift-stay motion.
07/28/17   Ann M. Ashton        205     Participate in teleconference with         1.50    $1,095.00
                                        Greenberg Traurig and Proskauer team
                                        regarding PREPA information for
                                        opposition to lift-stay motion.
07/29/17   Paul Possinger       205     Review PREPA response to letter from       0.40     $292.00
                                        monolines.
                                                                                  41.60   $30,368.00
 Case:17-03283-LTS Doc#:2053-2 Filed:12/15/17 Entered:12/15/17 19:19:26 Desc:
33260 FOMB                Exhibit B Page 16 of 125             Invoice 170124300
PROFESSOR ARTHUR J. GONZALEZ, FOMB BOARD
MEMBER
   0022 PROMESA TITLE III: PREPA                                                               Page 7

Documents Filed on Behalf of the Board -- 206


Date         Timekeeper            Task                   Description                 Hours    Amount
07/03/17     Ehud Barak           206     Review and revise PREPA first-day            3.30   $2,409.00
                                          motions.
07/03/17     Jonathan E. Richman 206      Review PREPA Title III filings and           1.30    $949.00
                                          related materials.
07/03/17     Chris Theodoridis    206     Revise PREPA first-day motions               3.50   $2,555.00
                                          regarding Title III filing.
07/04/17     Jonathan E. Richman 206      Review materials regarding PREPA             1.20    $876.00
                                          Title III case.
07/05/17     Paul Possinger       206     Review changes to first day motions.         0.30    $219.00
07/05/17     Ehud Barak           206     Review and revise first-day motions and      2.80   $2,044.00
                                          review related documents.
07/05/17     Jonathan E. Richman 206      Revise notice of stay.                       0.60    $438.00
07/06/17     Chris Theodoridis   206      Prepare draft joint administration           3.70   $2,701.00
                                          motion.
07/07/17     Chris Theodoridis    206     Prepare draft joint administration           1.20    $876.00
                                          motion for PREPA.
07/08/17     Chris Theodoridis    206     Revise draft joint administration motion     2.70   $1,971.00
                                          for PREPA.
07/09/17     Ehud Barak           206     Review and revise Q&As regarding             1.10    $803.00
                                          PREPA cases.
07/10/17     Chris Theodoridis    206     Revise draft PREPA joint                     5.30   $3,869.00
                                          administration motion (1.50); Prepare
                                          revised engagement agreements
                                          regarding potential PREPA joint
                                          administration motion (2.80);
                                          Conference with Epiq and Prime Clerk
                                          regarding revised engagement
                                          agreements (1.00).
07/12/17     Chris Theodoridis    206     Review motion to withdraw previous           0.50    $365.00
                                          Epiq retention application.
07/17/17     Chris Theodoridis    206     Prepare motion to extend committee's         2.50   $1,825.00
                                          objection deadline to Freepoint motion
                                          (1.50); Circulate urgent motion to
                                          extend committee's objection deadline
                                          to Freepoint motion to external parties
                                          and incorporate comments (1.00).
07/18/17     Paul Possinger       206     Review proposed changes to case              0.40    $292.00
                                          management order for PREPA.
07/19/17     Chris Theodoridis    206     Prepare notice of hearing (1.20); Revise     3.60   $2,628.00
                                          Haynes affidavit to Epiq application
                                          (1.00); Teleconference with Zolfo
                                          Cooper, Paul Hastings, Greenberg
                                          Traurig, and Proskauer regarding
                                          Freepoint contract (0.90);
                                          Teleconference between Greenberg
                                          Traurig and Proskauer regarding
                                          PREPA RSA (0.50).
07/20/17     John E. Roberts      206     Draft outline for opposition to lift-stay    8.50   $6,205.00
                                          motion.
07/20/17     Chris Theodoridis    206     Finalize first day motions and send to       3.80   $2,774.00
                                          local counsel for filing.
 Case:17-03283-LTS Doc#:2053-2 Filed:12/15/17 Entered:12/15/17 19:19:26 Desc:
33260 FOMB                Exhibit B Page 17 of 125             Invoice 170124300
PROFESSOR ARTHUR J. GONZALEZ, FOMB BOARD
MEMBER
   0022 PROMESA TITLE III: PREPA                                                                Page 8

Date        Timekeeper            Task                  Description                   Hours     Amount
07/20/17    Lawrence T.          206     Prepare citations and review Board            3.80     $950.00
            Silvestro                    statement for Puerto Rico regarding
                                         Title III automatic stay proceedings and
                                         review same for factual consistency.
07/20/17    Ehud Barak           206     Review and revise motions to be filed         3.20    $2,336.00
                                         by Board for hearing.
07/21/17    Ehud Barak           206     Prepare, review and revise pleadings for      3.80    $2,774.00
                                         filing.
07/21/17    Lawrence T.          206     Prepare final statement of stay for filing    1.10     $275.00
            Silvestro                    by local counsel.
07/21/17    Chris Theodoridis    206     Prepare urgent motion further extending       0.80     $584.00
                                         O'Melveny's deadline to object to
                                         Freepoint motion.
07/26/17    Ehud Barak           206     Review, revise and research regarding         2.80    $2,044.00
                                         lift-stay objection.
07/28/17    Daniel Desatnik      206     Prepare language in opposition to lift        3.00    $2,190.00
                                         stay regarding PREPA collection efforts
                                         (1.20); Revise reply based on language
                                         received from AAFAF (1.00); Revise
                                         reply based on language received from
                                         Greenberg Traurig (0.80)
07/30/17    Ehud Barak           206     Review and revise objection to PREPA          5.40    $3,942.00
                                         lift-stay motion (4.80); Discuss PREPA
                                         lift-stay motion with P. Possinger
                                         (0.60).
07/31/17    Daniel Desatnik      206     Review objection to PREPA motion              1.50    $1,095.00
                                         (0.50); Review PREPA utility motion
                                         (0.50); Prepare objection to same
                                         (0.50).
07/31/17    Jeffrey W. Levitan   206     Review PREPA draft joinder.                   0.10       $73.00
                                                                                      71.80   $50,062.00


Non-Board Court Filings -- 207


Date        Timekeeper            Task                  Description                   Hours     Amount
07/07/17    Maja Zerjal          207     Review order regarding Epiq                   0.20     $146.00
                                         application and supplemental affidavit.
07/18/17    Jonathan E. Richman 207      Review motion to lift-stay for                0.80     $584.00
                                         appointment of receiver.
07/18/17    Chris Theodoridis    207     Summarize PREPA's utilities motion            0.70     $511.00
                                         and circulate internally.
07/18/17    Paul Possinger       207     Preliminary review of lift-stay motion.       0.50     $365.00
07/19/17    Ehud Barak           207     Review lift-stay motion.                      1.00     $730.00
07/20/17    Jared Zajac          207     Review lift-stay motion and related           1.10     $803.00
                                         documents and background
                                         information.
07/20/17    Paul Possinger       207     Review Solus filing regarding PREPA           2.40    $1,752.00
                                         committee (0.40); Detailed review of
                                         lift-stay motion (2.00).
07/20/17    Jeffrey W. Levitan   207     Review motion to lift-stay to appoint         1.30     $949.00
                                         receiver and cases cited in motion.
 Case:17-03283-LTS Doc#:2053-2 Filed:12/15/17 Entered:12/15/17 19:19:26 Desc:
33260 FOMB                Exhibit B Page 18 of 125             Invoice 170124300
PROFESSOR ARTHUR J. GONZALEZ, FOMB BOARD
MEMBER
   0022 PROMESA TITLE III: PREPA                                                             Page 9

Date         Timekeeper          Task               Description                     Hours    Amount
07/20/17     Ralph C. Ferrara   207     Review motion to lift-stay to appoint        1.20    $876.00
                                        receiver.
                                                                                     9.20   $6,716.00


Stay Matters -- 208


Date         Timekeeper          Task                  Description                  Hours    Amount
07/03/17     Ann M. Ashton      208     Review materials regarding stay for          2.20   $1,606.00
                                        National PREPA RSA case (1.30); E-
                                        mails with J. Richman, T. Mungovan,
                                        B. Bobroff and P. Possinger regarding
                                        same (0.60); Review stay provisions
                                        (0.30).
07/04/17     Ann M. Ashton      208     Research regarding stay and transfer         3.50   $2,555.00
                                        provisions regarding National case
                                        (1.20); Prepare outline regarding next
                                        steps and process for same (2.30).
07/05/17     Ann M. Ashton      208     Discussion with P. Possinger and J.          8.20   $5,986.00
                                        Richman regarding stay of National
                                        Case regarding PREPA RSA (0.70);
                                        Follow-up discussion with J. Richman
                                        (0.30); Discussion with J. Roberts
                                        regarding drafting stay statement (0.40);
                                        E-mail to M. Bienenstock regarding
                                        same (0.90); Discussion with E. Barak
                                        and R. Ferrara regarding stay issues
                                        (0.30); Research regarding stay and
                                        transfer issues (5.60).
07/05/17     Paul Possinger     208     Teleconference with A. Ashton and J.         0.40    $292.00
                                        Richman regarding potential stay of
                                        National action versus Board over
                                        PREPA RSA.
07/05/17     John E. Roberts    208     Draft stay statement for National RSA        3.10   $2,263.00
                                        case.
07/05/17     Jonathan E. Richman 208    Teleconference with A. Ashton, P.            0.70    $511.00
                                        Possinger regarding stay of National
                                        case regarding PREPA RSA (0.40);
                                        Teleconference with A. Ashton
                                        regarding same (0.10); Teleconference
                                        with A. Ashton regarding stay and
                                        transfer (0.20).
07/05/17     Ralph C. Ferrara   208     Discussion with A. Ashton regarding          1.00    $730.00
                                        filing stay notice for National RSA case
                                        (0.30); Follow-up teleconference with
                                        E. Barak and A. Ashton regarding
                                        strategy for stay litigation of PREPA
                                        RSA case (0.70).
07/06/17     Jonathan E. Richman 208    Teleconference with A. Ashton                0.20    $146.00
                                        regarding status and stay in connection
                                        with PREPA RSA agreement (0.10);
                                        Teleconference with T. Mungovan
                                        regarding status of same (0.10).
 Case:17-03283-LTS Doc#:2053-2 Filed:12/15/17 Entered:12/15/17 19:19:26 Desc:
33260 FOMB                Exhibit B Page 19 of 125             Invoice 170124300
PROFESSOR ARTHUR J. GONZALEZ, FOMB BOARD
MEMBER
   0022 PROMESA TITLE III: PREPA                                                         Page 10

Date       Timekeeper          Task                  Description                 Hours    Amount
07/06/17   Ann M. Ashton      208     Discussion with S. Ratner and T.            7.30   $5,329.00
                                      Mungovan regarding issues related to
                                      stay of National case regarding PREPA
                                      RSA (0.80); Follow-up discussions with
                                      B. Bobroff (0.30); Research regarding
                                      stay issues (6.20).
07/06/17   Ralph C. Ferrara   208     Discussions with A. Ashton regarding        0.70    $511.00
                                      stay motion for PREPA RSA case.
07/07/17   Ann M. Ashton      208     Research regarding cases involving stay     5.90   $4,307.00
                                      enforcement in connection with PREPA
                                      RSA case.
07/11/17   Jonathan E. Richman 208    Draft and review e-mails regarding          0.30    $219.00
                                      National RSA case and stay issues.
07/11/17   Ann M. Ashton      208     Discussion with J. Roberts regarding        2.20   $1,606.00
                                      stay in Assured/National case involving
                                      PREPA RSA (0.40); E-mail to T.
                                      Mungovan detailing potential strategies
                                      regarding stay of Assured/National case
                                      (1.80).
07/12/17   Ann M. Ashton      208     Review e-mails from J. Roberts              0.20    $146.00
                                      regarding stay of PREPA RSA case and
                                      responding to same (0.10); E-mails with
                                      J. Richman regarding strategy for same
                                      (0.10).
07/12/17   John E. Roberts    208     Research issues regarding potential stay    0.80    $584.00
                                      argument in National Assurance case
                                      per A. Ashton questions.
07/14/17   Ann M. Ashton      208     Review and analyze letter from              1.00    $730.00
                                      National, Assured and PREPA Ad Hoc
                                      Committee regarding lift-stay issue
                                      (0.70); Discussion with E. Barak
                                      regarding same (0.20); E-mails with J.
                                      Richman, J. Roberts regarding same
                                      (0.10).
07/14/17   Jonathan E. Richman 208    Draft and review e-mails regarding          0.20    $146.00
                                      letter regarding motion to lift-stay.
07/18/17   John E. Roberts    208     Draft stay notice for National PREPA        3.40   $2,482.00
                                      RSA case.
07/18/17   Ann M. Ashton      208     Discussion with J. Roberts regarding        5.00   $3,650.00
                                      stay in Assured PREPA case (0.30);
                                      Review draft of same (4.70).
07/19/17   Ralph C. Ferrara   208     Review lift-stay motion for appointment     0.70    $511.00
                                      of receiver and e-mail to E. Barak
                                      regarding same.
07/19/17   Timothy W.         208     Communications with PREPA team              0.60    $438.00
           Mungovan                   regarding motion for relief from stay
                                      and communications with P. Possinger
                                      and S. Ratner regarding same.
 Case:17-03283-LTS Doc#:2053-2 Filed:12/15/17 Entered:12/15/17 19:19:26 Desc:
33260 FOMB                Exhibit B Page 20 of 125             Invoice 170124300
PROFESSOR ARTHUR J. GONZALEZ, FOMB BOARD
MEMBER
   0022 PROMESA TITLE III: PREPA                                                         Page 11

Date       Timekeeper          Task                  Description                 Hours    Amount
07/19/17   Ann M. Ashton      208     Review and edit stay statement for          9.20   $6,716.00
                                      National/Assured PREPA RSA case
                                      (7.40); E-mails and discussions with J.,
                                      Roberts and J. Richman regarding same
                                      (0.70); Discussion with S. Ratner
                                      regarding same (0.20); E-mails with T.
                                      Mungovan and S. Ratner regarding
                                      same (0.50); Discussion and e-mails
                                      with E. Barak and P. Possinger
                                      regarding same (0.40).
07/19/17   Jonathan E. Richman 208    Draft and review e-mails regarding          2.50   $1,825.00
                                      statements of stay in PREPA RSA case,
                                      and revise same (1.70); Review
                                      materials regarding motion to lift-stay
                                      to appoint receiver (0.80).
07/19/17   Ehud Barak         208     Review and revise stay statement in         1.10    $803.00
                                      PREPA RSA case (0.50); Discuss same
                                      with A. Ashton and P. Possinger (0.60).
07/19/17   Paul Possinger     208     Review and revise stay notice for           1.20    $876.00
                                      PREPA RSA action (0.50); Discuss
                                      same with E. Barak and A. Ashton
                                      (0.30); E-mails with T. Mungovan, et
                                      al., regarding lift-stay motion (0.40).
07/20/17   Ralph C. Ferrara   208     Prepare for meeting on lift-stay motion.    0.60    $438.00
07/20/17   Ann M. Ashton      208     Review, revise and finalize draft stay      8.70   $6,351.00
                                      statement for Assured/National PREPA
                                      RSA case (4.20); Discussions and e-
                                      mails with J. Richman and J. Roberts
                                      regarding same (0.60); E-mails and
                                      discussions with E. Barak regarding
                                      same (0.50); E-mail to M. Bienenstock
                                      regarding filing of stay statement
                                      (0.20); Discussion with J. El Koury
                                      regarding same (0.20); E-mails with H.
                                      Bauer regarding same (0.10); Review
                                      case law and code sections in
                                      connection with Assured lift-stay
                                      motion in PREPA case (2.10);
                                      Discussions with J. Roberts regarding
                                      same (0.80).
07/21/17   Ann M. Ashton      208     Participate in teleconference with J.       7.50   $5,475.00
                                      Levitan, P. Possinger, R. Ferrara, et al
                                      regarding lift-stay motion (0.90);
                                      Review cases regarding same (3.60);
                                      Discussion with R. Ferrara and J.
                                      Roberts regarding same (1.30); Finalize
                                      stay notice for filing in
                                      National/Assured PREPA RSA case
                                      (0.70); E-mails and discussions with J.
                                      Roberts, J. Richman, H. Bauer and N.
                                      Mitchell regarding same (0.90); E-mail
                                      to J. El Koury regarding same (0.10).
 Case:17-03283-LTS Doc#:2053-2 Filed:12/15/17 Entered:12/15/17 19:19:26 Desc:
33260 FOMB                Exhibit B Page 21 of 125             Invoice 170124300
PROFESSOR ARTHUR J. GONZALEZ, FOMB BOARD
MEMBER
   0022 PROMESA TITLE III: PREPA                                                           Page 12

Date       Timekeeper           Task                   Description                 Hours    Amount
07/21/17   Jared Zajac         208     Teleconference with Proskauer team           5.30   $3,869.00
                                       regarding lift-stay (0.90); Meet with J.
                                       Levitan regarding lift-stay and outline
                                       (0.70); Review summary of arguments
                                       and summary of RSA (0.60); Draft
                                       outline (2.70); Analysis of Sonnax
                                       factors (0.40).
07/21/17   Jonathan E. Richman 208     Teleconference with R. Ferrara, A.           1.00    $730.00
                                       Ashton, J. Roberts, P. Possinger, J.
                                       Levitan, E. Barak, C. Theodoridis
                                       regarding motion to lift-stay and
                                       response to creditors' letter (0.90);
                                       Teleconference with A. Ashton, L.
                                       Stafford regarding motion to lift stay
                                       (0.10).
07/21/17   Ralph C. Ferrara    208     Prepare for and participate in               7.80   $5,694.00
                                       teleconference with Proskauer team
                                       regarding strategy for response to
                                       motion to lift-stay (0.90); Review
                                       plaintiffs’ motion to lift-stay, research
                                       on same and draft response to motion to
                                       lift-stay (6.30); Teleconference with E.
                                       Barak regarding same (0.30); Draft
                                       cover note for same and transmit to
                                       Proskauer litigation team (0.30).
07/21/17   Chris Theodoridis   208     Internal Proskauer teleconference            0.90    $657.00
                                       regarding PREPA lift-stay motion.
07/21/17   Kelly M. Curtis     208     Receive background and instruction on        1.00    $730.00
                                       potential research regarding reply
                                       motion on motion to lift-stay.
07/21/17   Paul Possinger      208     Teleconference with R. Ferrara, et. al.,     0.90    $657.00
                                       regarding response to lift-stay motion.
07/21/17   John E. Roberts     208     Teleconferences with team regarding          9.60   $7,008.00
                                       motion to lift automatic stay (0.90);
                                       Draft opposition to lift-stay motion
                                       (8.70).
07/21/17   Laura Stafford      208     Teleconference with J. Richman, A.           0.80    $584.00
                                       Ashton and J. Roberts regarding
                                       PREPA lift-stay motion.
 Case:17-03283-LTS Doc#:2053-2 Filed:12/15/17 Entered:12/15/17 19:19:26 Desc:
33260 FOMB                Exhibit B Page 22 of 125             Invoice 170124300
PROFESSOR ARTHUR J. GONZALEZ, FOMB BOARD
MEMBER
   0022 PROMESA TITLE III: PREPA                                                           Page 13

Date       Timekeeper            Task                  Description                 Hours    Amount
07/21/17   Jeffrey W. Levitan   208     Prepare outline of arguments regarding      2.40   $1,752.00
                                        receiver motion to lift-stay (0.30);
                                        Review E. Barak e-mail outlining
                                        response to same (0.10); Participate in
                                        teleconference with R. Ferrara, P.
                                        Possinger, J. Zajac regarding opposition
                                        to same (0.90); Teleconference with A.
                                        Ashton regarding outline of opposition
                                        to same (0.20); Review C. Theodoridis
                                        e-mail regarding PREPA RSA in
                                        connection with lift-stay motion (0.10);
                                        Conferences with J. Zajac regarding
                                        preparation of outline of response to
                                        motion (0.70); E-mail with E. Barak
                                        regarding teleconference with PREPA's
                                        counsel regarding motion (0.10).
07/22/17   Stephen L. Ratner    208     E-mail with M. Bienenstock, R. Ferrara      0.30    $219.00
                                        regarding PREPA lift-stay strategy.
07/22/17   Timothy W.           208     Review communications regarding             0.70    $511.00
           Mungovan                     opposing lift-stay motion (0.20);
                                        Communications with J. Richman
                                        regarding same (0.50).
07/22/17   Jared Zajac          208     Review R. Ferrara memorandum                0.20    $146.00
                                        regarding response to lift-stay motion.
07/22/17   Jonathan E. Richman 208      Review materials regarding opposition       2.20   $1,606.00
                                        to motion to lift-stay.
07/23/17   Jonathan E. Richman 208      Review materials and research for           5.60   $4,088.00
                                        opposition to lift-stay motion (4.80);
                                        Teleconference with Greenberg Traurig
                                        and Proskauer teams regarding same
                                        (0.80).
07/23/17   Timothy W.           208     Review communications regarding             0.20    $146.00
           Mungovan                     opposing lift-stay motion.
07/23/17   Ehud Barak           208     Preparation for teleconference regarding    4.90   $3,577.00
                                        lift-stay motions (1.10); Review
                                        pleadings and draft bullet point
                                        response (2.80); Teleconference with
                                        Greenberg Traurig regarding response
                                        (0.80); Follow-up teleconference with
                                        P. Possinger (0.20).
07/23/17   John E. Roberts      208     Draft opposition to lift-stay motion       12.80   $9,344.00
                                        (11.00); Prepare for and teleconference
                                        with team and PREPA counsel
                                        regarding lift-stay motion (1.80).
07/24/17   Chris Theodoridis    208     Review net pledge language in debt          1.70   $1,241.00
                                        documents for PREPA lift-stay motion.
07/24/17   Ehud Barak           208     Teleconference with A. Ashton               0.30    $219.00
                                        regarding PREPA lift-stay motion.
07/24/17   Ann M. Ashton        208     Discussions with J. Roberts and R.          0.60    $438.00
                                        Ferrara regarding response to lift-stay
                                        motion.
 Case:17-03283-LTS Doc#:2053-2 Filed:12/15/17 Entered:12/15/17 19:19:26 Desc:
33260 FOMB                Exhibit B Page 23 of 125             Invoice 170124300
PROFESSOR ARTHUR J. GONZALEZ, FOMB BOARD
MEMBER
   0022 PROMESA TITLE III: PREPA                                                          Page 14

Date       Timekeeper          Task                   Description                 Hours    Amount
07/24/17   Martin J.          208     Teleconference with Citi and McKinsey        1.10    $803.00
           Bienenstock                regarding witnesses for lift-stay hearing
                                      (0.70); Teleconference with K. Lavin
                                      regarding testimony from Ankura for
                                      stay hearing (0.40).
07/24/17   Ralph C. Ferrara   208     Review and redraft lift-stay opposition      4.80   $3,504.00
                                      and teleconferences with J. Roberts
                                      regarding same (3.20); Discussion with
                                      A. Ashton regarding same (0.20);
                                      Follow-up teleconference with J.
                                      Roberts regarding same (0.20); Left
                                      message for, e-mail to and
                                      teleconference with A. Wolfe and R.
                                      Kim regarding declaration for lift-stay
                                      opposition (0.30); Meeting with R. Kim
                                      regarding same (0.30); Review revised
                                      draft lift-stay opposition and
                                      teleconference with J. Roberts with
                                      comments regarding same (0.40);
                                      Teleconference with E. Barak regarding
                                      PREPA adequate protection issues
                                      (0.20).
07/24/17   Jared Zajac        208     Meet with J. Levitan regarding stay          3.50   $2,555.00
                                      opposition (0.70); Review indenture
                                      regarding current expenses (0.90);
                                      Review and distinguish cases cited in
                                      lift-stay motion (1.20); Outline adequate
                                      protection argument (0.40); Review J.
                                      Roberts' draft response (0.30).
07/24/17   Jonathan E. Richman 208    Teleconference with T. Mungovan and          0.70    $511.00
                                      R. Ferrara regarding lift-stay motion
                                      (0.30); Teleconference with J. Roberts
                                      regarding same (0.20); Draft and review
                                      e-mails regarding opposition to motion
                                      (0.20).
07/24/17   John E. Roberts    208     Revise receivership lift-stay opposition,   10.40   $7,592.00
                                      and teleconferences and e-mails
                                      regarding same (6.90); Analyze CPI
                                      motion to lift-stay (3.50).
07/24/17   Kelly M. Curtis    208     Review and analyze motions and               3.90   $2,847.00
                                      precedent regarding stay and lift-stay
                                      motion.
07/24/17   Paul Possinger     208     Teleconference with M. Bienenstock,          2.50   $1,825.00
                                      McKinsey and Citi regarding PREPA
                                      bondholder lift-stay motion (0.80); E-
                                      mails with N. Mitchell regarding
                                      evidence for lift-stay opposition (0.20);
                                      Review PREPA bond trust agreement
                                      (1.50).
 Case:17-03283-LTS Doc#:2053-2 Filed:12/15/17 Entered:12/15/17 19:19:26 Desc:
33260 FOMB                Exhibit B Page 24 of 125             Invoice 170124300
PROFESSOR ARTHUR J. GONZALEZ, FOMB BOARD
MEMBER
   0022 PROMESA TITLE III: PREPA                                                             Page 15

Date       Timekeeper            Task                  Description                   Hours    Amount
07/24/17   Jeffrey W. Levitan   208     Review R. Ferrara e-mail and draft            4.90   $3,577.00
                                        response to lift-stay motion (0.40);
                                        Review M. Bienenstock e-mails
                                        regarding receiver (0.10);
                                        Teleconference with A. Ashton
                                        regarding response to lift stay (0.20);
                                        Conference with M. Bienenstock, E.
                                        Barak, P. Possinger regarding lift-stay
                                        response, other motions (1.10);
                                        Conference with J. Zajac regarding
                                        draft response to lift stay (0.30); Review
                                        expense definition and e-mails with J.
                                        Zajac regarding adequate protection in
                                        connection with lift stay (0.20); Review
                                        summary of meeting, e-mail with E.
                                        Barak regarding lift-stay response
                                        (0.20); Study lift-stay motion and
                                        summarize responsive arguments
                                        (1.30); Research adequate protection in
                                        connection with lift-stay motion (0.30);
                                        Conference with J. Zajac regarding
                                        drafting response (0.10); Review draft
                                        response (0.70).
07/24/17   Mee R. Kim           208     Review lift-stay motion and discuss           7.90   $5,767.00
                                        same with R. Ferrara, A. Ashton, and A.
                                        Wolfe.
07/25/17   Mee R. Kim           208     Assist and draft declaration by A. Wolfe     13.00   $9,490.00
                                        in opposition of lift-stay motion and
                                        discuss same with R. Ferrara and A.
                                        Wolfe (12.10); Discussion with J.
                                        Roberts, E. Barak, and McKinsey
                                        regarding electricity rates in connection
                                        with A. Wolfe analysis in declaration
                                        (0.90).
07/25/17   Paul Possinger       208     Teleconference with J. Levitan, A.            4.20   $3,066.00
                                        Ashton and J. Zajac regarding
                                        opposition to lift-stay (0.40);
                                        Teleconference with N. Mitchell
                                        regarding adequate protection (0.70);
                                        Follow-up teleconference with E. Barak
                                        and J. Roberts regarding adequate
                                        protection (0.50); Initial lien review
                                        analysis (1.20); Review rule change
                                        process (0.50); Review e-mails
                                        regarding opposition brief (0.90).
 Case:17-03283-LTS Doc#:2053-2 Filed:12/15/17 Entered:12/15/17 19:19:26 Desc:
33260 FOMB                Exhibit B Page 25 of 125             Invoice 170124300
PROFESSOR ARTHUR J. GONZALEZ, FOMB BOARD
MEMBER
   0022 PROMESA TITLE III: PREPA                                                            Page 16

Date       Timekeeper            Task                   Description                 Hours    Amount
07/25/17   Jeffrey W. Levitan   208     Review draft declaration and opposition      2.30   $1,679.00
                                        to lift stay (0.40); Teleconference with
                                        P. Possinger, A. Ashton, J. Zajac
                                        regarding opposition to motion (0.40);
                                        Review M. Bienenstock analysis of
                                        receiver issues (0.10); Conferences with
                                        J. Zajac regarding drafting of opposition
                                        (0.60); Review E. Barak e-mails
                                        regarding declarations (0.10);
                                        Conference with P. Possinger, J. Zajac
                                        regarding opposition declarations
                                        (0.30); Review trust agreement for
                                        declaration (0.40).
07/25/17   John E. Roberts      208     Revise receivership lift-stay motion per     7.40   $5,402.00
                                        comments (3.00); Research additional
                                        cases to support adequate protection
                                        argument (1.00); Teleconferences and
                                        e-mails with team regarding
                                        receivership lift-stay motion (1.20);
                                        Draft preliminary statement for receiver
                                        lift-stay opposition (2.20).
07/25/17   Jonathan E. Richman 208      Review materials regarding opposition        0.40    $292.00
                                        to motion to lift stay.
07/25/17   Jared Zajac          208     Review M. Bienenstock comments to            6.90   $5,037.00
                                        lift-stay opposition (0.10);
                                        Teleconferences with J. Roberts
                                        regarding opposition (0.60);
                                        Conferences with J. Levitan and E.
                                        Barak regarding same (0.90); Review
                                        and revise opposition (0.90); Draft
                                        bankruptcy arguments for opposition
                                        (4.40).
07/25/17   Ralph C. Ferrara     208     Teleconference with R. Kim regarding         4.30   $3,139.00
                                        status of A. Wolfe declaration and A.
                                        Wolfe comments to same (0.30);
                                        Review M. Bienenstock comments to
                                        draft lift-stay opposition (0.30);
                                        Teleconference with J. Roberts
                                        regarding same (0.20); E-mails with M.
                                        Bienenstock regarding same (0.30);
                                        Teleconference with S. Ratner
                                        regarding same (0.20); Review and
                                        revise lift-stay opposition (2.20);
                                        Discussions with R. Kim regarding A.
                                        Wolfe declaration (0.30); E-mail to E.
                                        Barak regarding kilowatt rates (0.20);
                                        E-mails with A. Ashton and R. Kim
                                        regarding same (0.30).
 Case:17-03283-LTS Doc#:2053-2 Filed:12/15/17 Entered:12/15/17 19:19:26 Desc:
33260 FOMB                Exhibit B Page 26 of 125             Invoice 170124300
PROFESSOR ARTHUR J. GONZALEZ, FOMB BOARD
MEMBER
   0022 PROMESA TITLE III: PREPA                                                            Page 17

Date       Timekeeper            Task                  Description                  Hours    Amount
07/25/17   Ann M. Ashton        208     Discussions with J. Roberts regarding        1.80   $1,314.00
                                        response to lift-stay motion (0.20);
                                        Discussions with J. Levitan, P.
                                        Possinger and M. Zerjal regarding same
                                        (0.20); Follow-up discussion with R.
                                        Ferrara regarding same (0.30); Review
                                        drafts regarding same (1.10).
07/25/17   Ehud Barak           208     Review and revise objection to lift-stay     1.60   $1,168.00
                                        motion (1.20); Discuss internally (0.40).
07/26/17   Ann M. Ashton        208     Discussion with R. Ferrara and R. Kim        8.30   $6,059.00
                                        regarding A. Wolfe declaration for lift-
                                        stay opposition (0.20); E-mails with T.
                                        Mungovan regarding opposition and
                                        declaration (0.10); Edit A. Wolfe
                                        declaration (6.70); Discussions and e-
                                        mails with R. Kim and J. Roberts
                                        regarding A. Wolfe declaration (0.90);
                                        Discussions with J. Roberts regarding
                                        opposition (0.30); Discussions with E.
                                        Barak regarding meeting with AAFAF
                                        and Greenberg Traurig regarding lift-
                                        stay opposition (0.10).
07/26/17   Jared Zajac          208     Meet with J. Levitan regarding               6.60   $4,818.00
                                        opposition to lift-stay motion (0.30);
                                        Teleconference with P. Possinger
                                        regarding declaration (0.10); Draft and
                                        revise opposition (5.40); E-mail with E.
                                        Barak regarding fact background (0.10);
                                        Teleconference with J. Roberts
                                        regarding opposition (0.20); Review J.
                                        Levitan edits to opposition (0.30);
                                        Review P. Possinger edits to declaration
                                        (0.20).
07/26/17   John E. Roberts      208     Revise A. Wolfe declaration in support       7.10   $5,183.00
                                        of lift-stay opposition (5.10); Revise
                                        lift-stay motion per comments (2.00).
07/26/17   Jonathan E. Richman 208      Review and comment on draft of               2.60   $1,898.00
                                        opposition to lift-stay motion.
07/26/17   Jeffrey W. Levitan   208     E-mails with P. Possinger regarding          4.70   $3,431.00
                                        declaration (0.20); Conference with J.
                                        Zajac regarding drafting opposition
                                        (0.20); Conference with E. Barak
                                        regarding declaration (0.10); Review
                                        memorandum for background, trust
                                        agreement description (0.40); Edit
                                        opposition and draft preliminary
                                        statement (3.80).
07/26/17   Paul Possinger       208     E-mails regarding status of brief and        2.80   $2,044.00
                                        declarations in opposition to stay relief
                                        (0.50); Teleconferences with J. Levitan,
                                        E. Barak and J. Zajac regarding draft
                                        opposition to stay relief (0.50); Review
                                        same (1.80).
 Case:17-03283-LTS Doc#:2053-2 Filed:12/15/17 Entered:12/15/17 19:19:26 Desc:
33260 FOMB                Exhibit B Page 27 of 125             Invoice 170124300
PROFESSOR ARTHUR J. GONZALEZ, FOMB BOARD
MEMBER
   0022 PROMESA TITLE III: PREPA                                                              Page 18

Date       Timekeeper            Task                   Description                 Hours      Amount
07/26/17   Mee R. Kim           208     Revise and draft declaration by A.           14.10   $10,293.00
                                        Wolfe and communicate with A.
                                        Ashton and A. Wolfe regarding same
                                        (10.30); Research approved electricity
                                        rates, proposed electricity rates and
                                        certified rates in Puerto Rico, including
                                        discussion with R. Yang from
                                        McKinsey regarding same (2.30);
                                        Research other cited sources and
                                        statutory required language in draft
                                        declaration for A. Wolfe (1.50).
07/27/17   Mee R. Kim           208     Revise declaration by A. Wolfe and          10.90     $7,957.00
                                        correspond with P. Possinger, E. Barak
                                        and J. Roberts on same (9.10);
                                        Participate in teleconference with
                                        Proskauer, PREPA representatives,
                                        McKinsey and Greenberg Traurig
                                        regarding lift-stay opposition brief and
                                        declaration strategy and incorporate
                                        comments into A. Wolfe declaration
                                        draft (1.80).
07/27/17   Paul Possinger       208     Teleconference with J. Levitan, J.            5.00    $3,650.00
                                        Roberts, E. Barak and J. Zajac
                                        regarding opposition to lift stay (0.60);
                                        Teleconference with PREPA regarding
                                        evidentiary support (1.90); Review
                                        latest revisions of opposition brief and
                                        support declarations (2.50).
07/27/17   Jeffrey W. Levitan   208     Review P. Possinger e-mails and               5.10    $3,723.00
                                        revisions to opposition (0.30); Prepare
                                        for and attend teleconference with P.
                                        Possinger, E. Barak, J. Roberts, J. Zajac
                                        regarding revisions to opposition (0.70);
                                        Participate in teleconference with P.
                                        Possinger, E. Barak, PREPA
                                        representatives regarding opposition
                                        and declarations to lift-stay (1.90);
                                        Review J. Zajac's outline of declaration
                                        and e-mail with J. Zajac regarding same
                                        (0.20); Review memorandum,
                                        conference with C. Theodoridis
                                        regarding Section 928 (0.40); Review
                                        trust agreement and conference with J.
                                        Zajac regarding lien argument (0.40);
                                        Conferences with J. Zajac regarding
                                        declaration and opposition (0.20);
                                        Review comments on revised
                                        opposition (0.40); Review PREPA
                                        expense analysis (0.20); Review draft
                                        Lavin declaration and comment on
                                        same (0.40).
 Case:17-03283-LTS Doc#:2053-2 Filed:12/15/17 Entered:12/15/17 19:19:26 Desc:
33260 FOMB                Exhibit B Page 28 of 125             Invoice 170124300
PROFESSOR ARTHUR J. GONZALEZ, FOMB BOARD
MEMBER
   0022 PROMESA TITLE III: PREPA                                                          Page 19

Date       Timekeeper         Task                  Description                   Hours    Amount
07/27/17   John E. Roberts   208     Draft and revise opposition to lift-stay      9.80   $7,154.00
                                     motion to appoint receiver and
                                     supporting declarations (6.60);
                                     Teleconference with team regarding
                                     opposition motion (2.00);
                                     Teleconference with PREPA counsel
                                     regarding opposition and required
                                     declarations (1.20).
07/27/17   Jared Zajac       208     Draft and revise declaration (3.20);         10.00   $7,300.00
                                     Conferences and e-mails with P.
                                     Possinger, J. Levitan, J. Roberts and E.
                                     Barak regarding revisions to opposition
                                     (1.70); Revise opposition (2.70);
                                     Teleconference with Greenberg and
                                     Proskauer team regarding opposition
                                     (1.90); Review trust agreement
                                     regarding reserve accounts (0.50).
07/27/17   Ann M. Ashton     208     Edit and revise A. Wolfe declaration for      6.10   $4,453.00
                                     opposition to lift-stay motion (5.00);
                                     Discussion with A. Wolfe and R. Kim
                                     regarding same (0.40); Follow-up
                                     discussion with R. Kim regarding same
                                     (0.50); Review A.Wolfe edits (0.20).
07/27/17   Timothy W.        208     Review A. Wolfe declaration in support        0.50    $365.00
           Mungovan                  of opposition to motion to lift stay, and
                                     communications with M. Firestein and
                                     A. Ashton regarding same (0.30).
                                     Communications with J. Roberts
                                     regarding same (0.20).
07/27/17   Ehud Barak        208     Teleconference regarding PREPA's              6.60   $4,818.00
                                     objection to lift stay (0.60); Discuss
                                     adequate protection issues with Ankura
                                     and other professionals and follow-up
                                     teleconference with Greenberg Traurig
                                     (2.80); Review and revise objection to
                                     lift-stay motion (2.90); Discuss lift-stay
                                     motion regarding PREPA Title III
                                     (0.30).
07/28/17   Ann M. Ashton     208     Review e-mails regarding A. Wolfe             2.60   $1,898.00
                                     declaration supporting lift-stay motion
                                     (0.30); Review drafts of declaration
                                     (0.60); E-mails to A. Wolfe regarding
                                     finalizing declaration (0.40); Modify
                                     declaration to reflect comments (1.10);
                                     E-mail to M. Firestein regarding
                                     declaration (0.20).
07/28/17   Lawrence T.       208     Prepare legal citations and review            5.00   $1,250.00
           Silvestro                 legislative materials for opposition to
                                     lift stay.
 Case:17-03283-LTS Doc#:2053-2 Filed:12/15/17 Entered:12/15/17 19:19:26 Desc:
33260 FOMB                Exhibit B Page 29 of 125             Invoice 170124300
PROFESSOR ARTHUR J. GONZALEZ, FOMB BOARD
MEMBER
   0022 PROMESA TITLE III: PREPA                                                             Page 20

Date       Timekeeper              Task                  Description                 Hours    Amount
07/28/17   Jared Zajac            208     Review collections effort insert (0.30);    5.30   $3,869.00
                                          Review and revise opposition (1.20);
                                          Conferences with J. Levitan and E.
                                          Barak regarding opposition (0.40);
                                          Revise declaration (1.10); E-mails with
                                          P. Possinger, J. Levitan and J. Roberts
                                          regarding opposition (0.30); Review
                                          cases cited in opposition (2.00).
07/28/17   John E. Roberts        208     Revise opposition to receivership lift-     5.50   $4,015.00
                                          stay motion (4.20); Teleconference with
                                          PREPA counsel regarding opposition to
                                          lift-stay motion (1.30).
07/28/17   Paul Possinger         208     Teleconference with PREPA advisors          4.70   $3,431.00
                                          regarding brief and supporting
                                          declarations (0.50); Discuss gas port
                                          benefits with M. Bienenstock and
                                          Greenberg Traurig (0.40); Final review
                                          of A. Wolfe declaration (0.70); Finalize
                                          declarations with A. Ashton, M.
                                          Bienenstock and Greenberg Traurig
                                          (1.30); Review revisions to opposition
                                          brief (1.80).
07/28/17   Jeffrey W. Levitan     208     Conference with E. Barak regarding          2.60   $1,898.00
                                          preparation for teleconference (0.10);
                                          Conference with J. Zajac regarding
                                          drafting of Lavin declaration (0.20); E-
                                          mail with P. Possinger regarding
                                          declaration issues (0.10);
                                          Teleconference with P. Possinger, N.
                                          Mitchell regarding opposition to lift-
                                          stay motion (0.40); Review comments
                                          to opposition and e-mail with J. Zajac
                                          (0.40); Review N. Mitchell e-mails
                                          regarding expenses (0.10); Conference
                                          with J. Zajac regarding revisions to
                                          declaration (0.10); Review A. Wolfe
                                          declaration and related e-mails (0.20);
                                          Conference with J. Zajac regarding
                                          budget (0.10); Edit revised Lavin
                                          declaration and conference with J. Zajac
                                          (0.30); E-mail with J. Roberts regarding
                                          revisions to opposition (0.10); E-mail
                                          with P. Possinger regarding opposition
                                          (0.10); E-mail with P. Possinger
                                          regarding declaration (0.10); Review M.
                                          Luskin comments to opposition (0.30).
07/28/17   Michael A. Firestein   208     Review A. Wolfe declaration regarding       0.60    $438.00
                                          PREPA and teleconference with R. Kim
                                          on edits to same.
07/28/17   Mee R. Kim             208     Review and revise A. Wolfe                  4.70   $3,431.00
                                          declaration, and discussions and e-mails
                                          with A. Ashton and A. Wolfe regarding
                                          same.
 Case:17-03283-LTS Doc#:2053-2 Filed:12/15/17 Entered:12/15/17 19:19:26 Desc:
33260 FOMB                Exhibit B Page 30 of 125             Invoice 170124300
PROFESSOR ARTHUR J. GONZALEZ, FOMB BOARD
MEMBER
   0022 PROMESA TITLE III: PREPA                                                           Page 21

Date       Timekeeper           Task                   Description                 Hours    Amount
07/28/17   Jonathan E. Richman 208     Teleconference with A. Ashton                2.00   $1,460.00
                                       regarding opposition to lift-stay motion
                                       (0.10); Review and comment on
                                       opposition papers (1.60); Review
                                       comments on motion papers (0.30).
07/29/17   Paul Possinger       208    E-mails with team regarding arguments,       1.40   $1,022.00
                                       brief and declarations to lift-stay
                                       opposition (0.50); Review revisions to
                                       brief from Greenberg Traurig and
                                       O'Melveny (0.50); Review M. Luskin
                                       comments (0.40).
07/29/17   Jared Zajac          208    Review and analyze Greenberg Traurig         0.50    $365.00
                                       and Luskin comments on opposition to
                                       lift stay.
07/29/17   Jeffrey W. Levitan   208    Review Greenberg Traurig comments to         0.40    $292.00
                                       lift-stay opposition (0.30); E-mail with
                                       P. Possinger regarding opposition
                                       revisions (0.10).
07/30/17   Jeffrey W. Levitan   208    Review M. Luskin comments to                 0.80    $584.00
                                       opposition (0.20); E-mails with P.
                                       Possinger regarding opposition
                                       revisions (0.20); E-mail with J. Roberts
                                       regarding revisions to opposition (0.10);
                                       Review insert and e-mail with P.
                                       Possinger, J. Roberts regarding
                                       revisions to opposition (0.30).
07/30/17   Jared Zajac          208    E-mails with P. Possinger, J. Levitan        3.90   $2,847.00
                                       and J. Roberts regarding revisions
                                       (0.30); Review and revise opposition
                                       (3.60).
07/30/17   Martin J.            208    Research and edit answer to motion for       5.40   $3,942.00
           Bienenstock                 stay relief to appoint receiver.
07/30/17   Timothy W.           208    Review comments from M. Luskin firm          0.40    $292.00
           Mungovan                    regarding opposition to lift-stay motion
                                       and communications with M. Luskin
                                       regarding same.
07/30/17   Paul Possinger       208    Review revisions and conceptual              3.10   $2,263.00
                                       comments to opposition to stay relief.
07/30/17   John E. Roberts      208    Revise opposition to lift-stay motion to     4.70   $3,431.00
                                       appoint receiver per comments of
                                       PREPA counsel, co-counsel, and cite
                                       checkers.
07/30/17   Stephen L. Ratner    208    E-mail with T. Mungovan, A. Ashton           0.10     $73.00
                                       regarding opposition to lift-stay motion.
07/31/17   Jonathan E. Richman 208     Review and comment on papers                 1.20    $876.00
                                       opposing motion to lift-stay.
07/31/17   Martin J.            208    Review and revise brief opposing stay        2.80   $2,044.00
           Bienenstock                 relief motion and consider AAFAF
                                       comments.
 Case:17-03283-LTS Doc#:2053-2 Filed:12/15/17 Entered:12/15/17 19:19:26 Desc:
33260 FOMB                Exhibit B Page 31 of 125             Invoice 170124300
PROFESSOR ARTHUR J. GONZALEZ, FOMB BOARD
MEMBER
   0022 PROMESA TITLE III: PREPA                                                                Page 22

Date       Timekeeper            Task                   Description                  Hours       Amount
07/31/17   Jared Zajac          208     Review and analyze Greenberg Traurig          3.30      $2,409.00
                                        comments (0.30); Review revised
                                        declaration (0.30); E-mails with O'Neill
                                        regarding opposition (0.30);
                                        Teleconference with J. Roberts
                                        regarding opposition (0.10); E-mails
                                        with P. Possinger regarding same
                                        (0.20); Review and revise opposition
                                        (2.10).
07/31/17   John E. Roberts      208     Revise opposition to lift-stay motion to       5.10     $3,723.00
                                        appoint receiver (1.60); Proofread
                                        opposition and supporting documents
                                        (0.80); Prepare for filing (2.70).
07/31/17   Mee R. Kim           208     Prepare final version of A. Wolfe              0.50      $365.00
                                        declaration and communicate with R.
                                        Ferrara and A. Ashton regarding same.
07/31/17   Jeffrey W. Levitan   208     Review M. Bienenstock revisions to             1.80     $1,314.00
                                        opposition to lift stay (0.30); Review
                                        revised opposition (0.20); E-mails with
                                        J. Zajac, P. Possinger regarding
                                        revisions to opposition to lift stay
                                        (0.30); Review fuel line lenders
                                        response to lift stay (0.10); Final review
                                        of opposition and conference with J.
                                        Roberts regarding comments (0.80);
                                        Review IDSCE objection to lift-stay
                                        motion (0.10).
07/31/17   Ralph C. Ferrara     208     Teleconference with J. Roberts                 2.90     $2,117.00
                                        regarding status of A. Wolfe declaration
                                        (0.30); Left message for and
                                        teleconference with N. Mitchell
                                        regarding K. Lavin declaration (0.40);
                                        Review and revise K. Lavin declaration
                                        (0.90); Follow-up discussion with N.
                                        Mitchell regarding same (0.30); Review
                                        latest draft of opposition to lift-stay
                                        motion and comments to J. Roberts
                                        regarding same (1.00).
07/31/17   Maja Zerjal          208     Review responses to PREPA creditors'           1.30      $949.00
                                        motion to lift-stay.
07/31/17   Paul Possinger       208     Review ICSE objection to lift-stay             6.40     $4,672.00
                                        motion (0.40); Finalize opposition to
                                        lift-stay motion (3.90); Teleconferences
                                        and e-mails regarding opposition to lift-
                                        stay motion and declarations (2.10).
07/31/17   Selena F. Williams   208     Prepare citations for opposition to lift       2.30      $575.00
                                        stay brief per J. Roberts.
                                                                                     400.70   $289,007.00
 Case:17-03283-LTS Doc#:2053-2 Filed:12/15/17 Entered:12/15/17 19:19:26 Desc:
33260 FOMB                Exhibit B Page 32 of 125             Invoice 170124300
PROFESSOR ARTHUR J. GONZALEZ, FOMB BOARD
MEMBER
   0022 PROMESA TITLE III: PREPA                                                              Page 23

Analysis and Strategy -- 210


Date         Timekeeper            Task                   Description                 Hours    Amount
07/03/17     Ehud Barak           210     Correspond and update team regarding         0.20    $146.00
                                          PREPA developments.
07/04/17     Ralph C. Ferrara     210     Discussion with A. Ashton regarding          0.30    $219.00
                                          Title III strategy for PREPA.
07/05/17     Paul Possinger       210     Discuss possible joint administration        0.30    $219.00
                                          with M. Bienenstock and E. Barak.
07/06/17     Ehud Barak           210     Teleconferences with local counsel and       2.20   $1,606.00
                                          internally regarding joint
                                          administration.
07/10/17     Paul Possinger       210     Discuss potential joint administration       0.50    $365.00
                                          with E. Barak.
07/10/17     Ehud Barak           210     Prepare time line for PREPA Title III.       2.10   $1,533.00
07/12/17     Maja Zerjal          210     Review correspondence regarding Epiq         0.30    $219.00
                                          motion.
07/16/17     Maja Zerjal          210     Review correspondence regarding fuel         0.40    $292.00
                                          provider.
07/16/17     Paul Possinger       210     Review concerns regarding PUMA               0.50    $365.00
                                          contract and e-mails with team
                                          regarding same.
07/16/17     Jonathan E. Richman 210      Draft and review e-mails regarding           0.10     $73.00
                                          letter from PREPA bond holders
                                          regarding appointment of receiver.
07/18/17     Maja Zerjal          210     Discussion with C. Theodoridis               0.20    $146.00
                                          regarding PREPA motions to be filed.
07/20/17     Ralph C. Ferrara     210     E-mail to and teleconference with M.         0.80    $584.00
                                          Bienenstock regarding Assured
                                          Guaranty’s letter requesting documents
                                          (0.40); Left messages for E. Barak and
                                          P. Possinger regarding same (0.20);
                                          Discussion with A. Ashton and J.
                                          Richman regarding motion to lift-stay
                                          and research (0.20).
07/20/17     Timothy W.           210     Review notice of stay in RSA case.           0.50    $365.00
             Mungovan
07/20/17     John E. Roberts      210     Teleconferences with A. Ashton               0.50    $365.00
                                          regarding lift-stay motion.
07/20/17     Jeffrey W. Levitan   210     E-mails with A. Ashton, P. Possinger, J.     0.40    $292.00
                                          Roberts regarding preparation for
                                          teleconference on lift-stay motion
                                          (0.30); E-mail with J. Zajac regarding
                                          preparation for teleconference on
                                          motion (0.10).
07/20/17     Timothy W.           210     Communications with PREPA team               6.20   $4,526.00
             Mungovan                     regarding strategy for lift-stay.
07/21/17     Timothy W.           210     Review communications with PREPA             0.50    $365.00
             Mungovan                     team regarding strategy for lift-stay
                                          motion.
07/21/17     Ehud Barak           210     Teleconference regarding creditors' lift-    0.90    $657.00
                                          stay motion.
07/26/17     Paul Possinger       210     Status teleconference with McKinsey, et      2.00   $1,460.00
                                          al., regarding PREPA.
 Case:17-03283-LTS Doc#:2053-2 Filed:12/15/17 Entered:12/15/17 19:19:26 Desc:
33260 FOMB                Exhibit B Page 33 of 125             Invoice 170124300
PROFESSOR ARTHUR J. GONZALEZ, FOMB BOARD
MEMBER
   0022 PROMESA TITLE III: PREPA                                                           Page 24

Date        Timekeeper           Task                 Description                 Hours     Amount
07/26/17    Timothy W.          210     Communications with PREPA team             0.40     $292.00
            Mungovan                    regarding events and deadlines in
                                        stipulation.
07/28/17    Stephen L. Ratner   210     Review A. Wolfe declaration (0.20); E-     0.30     $219.00
                                        mail with A. Ashton, T. Mungovan, M.
                                        Firestein regarding same (0.10).
07/29/17    Stephen L. Ratner   210     Teleconferences and e-mail with T.         0.50     $365.00
                                        Mungovan, P. Possinger regarding
                                        PREPA lift-stay opposition.
07/31/17    Timothy W.          210     Communications with A. Ashton              0.30     $219.00
            Mungovan                    regarding opposition to motion to lift-
                                        stay and communications with M.
                                        Luskin regarding same.
07/31/17    Jonathan E. Richman 210     Teleconference with R. Ferrara and A.      0.10      $73.00
                                        Ashton regarding status of PREPA Title
                                        III cases.
                                                                                  20.50   $14,965.00


General Administration -- 212


Date        Timekeeper           Task                  Description                Hours     Amount
07/05/17    Magali Giddens      212     E-mail with S. Williams and T.             0.90     $225.00
                                        Sherman regarding set-up of PREPA
                                        filings on Sharepoint site.
07/06/17    Ehud Barak          212     Review PREPA Title III docket.             0.40     $292.00
07/06/17    Evelyn Rodriguez    212     Conduct search for adversary               5.60    $1,400.00
                                        proceedings and complaints regarding
                                        automatic stay.
07/10/17    Joshua A. Esses      212    Coordinate meeting on PREPA.               0.50     $365.00
07/18/17    Shealeen E. Schaefer 212    Review PREPA Title III docket updates      0.70     $175.00
                                        and PACER filings.
07/20/17    Sharma I. Ross      212     Compile cases cited in PREPA's motion      1.80     $450.00
                                        for relief from automatic stay and
                                        prepare reference materials for review
                                        by J. Roberts.
07/20/17    Shealeen E. Schaefer 212    Review docket updates and PACER            0.20      $50.00
                                        filings in PREPA Title III matter.
07/21/17    Shealeen E. Schaefer 212    Review docket updates and PREPA            0.20      $50.00
                                        PACER filings.
07/21/17    Chris Theodoridis   212     Circulate RSA provisions regarding         0.50     $365.00
                                        governance/management.
07/24/17    William A. Reed     212     Prepare comparison of draft declaration    0.70     $175.00
                                        of A. Wolfe in opposition to lift
                                        automatic stay in PREPA matter to
                                        declaration in Peaje.
07/27/17    Shealeen E. Schaefer 212    Review PACER filings in matter.            0.20       $50.00
07/30/17    Lawrence T.          212    Review updated cites in opposition to      4.00    $1,000.00
            Silvestro                   lift stay.
07/31/17    Shealeen E. Schaefer 212    Review PACER filings in PREPA Title        0.30      $75.00
                                        III matter.
 Case:17-03283-LTS Doc#:2053-2 Filed:12/15/17 Entered:12/15/17 19:19:26 Desc:
33260 FOMB                Exhibit B Page 34 of 125             Invoice 170124300
PROFESSOR ARTHUR J. GONZALEZ, FOMB BOARD
MEMBER
   0022 PROMESA TITLE III: PREPA                                                                Page 25

Date         Timekeeper            Task                  Description                  Hours      Amount
07/31/17     Lawrence T.          212     Prepare citations and run tables of          4.10     $1,025.00
             Silvestro                    contents and authorities in Board’s lift-
                                          stay opposition.
                                                                                      20.10     $5,697.00


Total for Professional Services                                                               $454,695.00
 Case:17-03283-LTS Doc#:2053-2 Filed:12/15/17 Entered:12/15/17 19:19:26 Desc:
33260 FOMB                Exhibit B Page 35 of 125             Invoice 170124300
PROFESSOR ARTHUR J. GONZALEZ, FOMB BOARD
MEMBER
   0022 PROMESA TITLE III: PREPA                                                 Page 26

Timekeeper Summary

Timekeeper                        Status                    Hours      Rate          Value
ANN M. ASHTON                     PARTNER                    84.50    730.00    $61,685.00
JEFFREY W. LEVITAN                PARTNER                    28.00    730.00    $20,440.00
JONATHAN E. RICHMAN               PARTNER                    26.10    730.00    $19,053.00
MARTIN J. BIENENSTOCK             PARTNER                    30.60    730.00    $22,338.00
MICHAEL A. FIRESTEIN              PARTNER                     0.60    730.00      $438.00
PAUL POSSINGER                    PARTNER                    52.50    730.00    $38,325.00
RALPH C. FERRARA                  PARTNER                    27.90    730.00    $20,367.00
STEPHEN L. RATNER                 PARTNER                     1.20    730.00      $876.00
STEVEN O. WEISE                   PARTNER                     6.90    730.00     $5,037.00
TIMOTHY W. MUNGOVAN               PARTNER                    12.10    730.00     $8,833.00
  Total for PARTNER                                         270.40             $197,392.00

CHRIS THEODORIDIS                 ASSOCIATE                  59.20    730.00    $43,216.00
DANIEL DESATNIK                   ASSOCIATE                   4.50    730.00     $3,285.00
DANIEL J. WERB                    ASSOCIATE                   3.40    730.00     $2,482.00
EHUD BARAK                        ASSOCIATE                  61.50    730.00    $44,895.00
EVELYN PANG                       ASSOCIATE                   2.90    730.00     $2,117.00
JARED ZAJAC                       ASSOCIATE                  50.30    730.00    $36,719.00
JOHN E. ROBERTS                   ASSOCIATE                  92.80    730.00    $67,744.00
JOSHUA A. ESSES                   ASSOCIATE                   1.40    730.00     $1,022.00
KELLY M. CURTIS                   ASSOCIATE                   5.80    730.00     $4,234.00
LAURA STAFFORD                    ASSOCIATE                   0.80    730.00      $584.00
MAJA ZERJAL                       ASSOCIATE                   7.00    730.00     $5,110.00
MEE R. KIM                        ASSOCIATE                  51.50    730.00    $37,595.00
PENGTAO TENG                      ASSOCIATE                   2.30    250.00      $575.00
  Total for ASSOCIATE                                       343.40             $249,578.00

EVELYN RODRIGUEZ                  LEGAL ASSISTANT             5.60    250.00     $1,400.00
LAWRENCE T. SILVESTRO             LEGAL ASSISTANT            18.00    250.00     $4,500.00
MAGALI GIDDENS                    LEGAL ASSISTANT             0.90    250.00      $225.00
SELENA F. WILLIAMS                LEGAL ASSISTANT             2.30    250.00      $575.00
SHARMA I. ROSS                    LEGAL ASSISTANT             1.80    250.00      $450.00
SHEALEEN E. SCHAEFER              LEGAL ASSISTANT             1.60    250.00      $400.00
WILLIAM A. REED                   LEGAL ASSISTANT             0.70    250.00      $175.00
 Total for LEGAL ASSISTANT                                   30.90               $7,725.00

                                     Total                  644.70             $454,695.00



For Charges and Disbursements

Date         Timekeeper               Type              Description               Amount
07/07/2017   Erica T. Jones     REPRODUCTION    REPRODUCTION                        $4.50
07/07/2017   Erica T. Jones     REPRODUCTION    REPRODUCTION                       $79.35
07/07/2017   Erica T. Jones     REPRODUCTION    REPRODUCTION                       $32.40
07/07/2017   Erica T. Jones     REPRODUCTION    REPRODUCTION                        $4.35
07/07/2017   Erica T. Jones     REPRODUCTION    REPRODUCTION                       $18.60
07/07/2017   Erica T. Jones     REPRODUCTION    REPRODUCTION                       $79.35
07/07/2017   Erica T. Jones     REPRODUCTION    REPRODUCTION                        $4.50
07/07/2017   Erica T. Jones     REPRODUCTION    REPRODUCTION                        $4.50
 Case:17-03283-LTS Doc#:2053-2 Filed:12/15/17 Entered:12/15/17 19:19:26 Desc:
33260 FOMB                Exhibit B Page 36 of 125             Invoice 170124300
PROFESSOR ARTHUR J. GONZALEZ, FOMB BOARD
MEMBER
   0022 PROMESA TITLE III: PREPA                                        Page 27

Date         Timekeeper                Type             Description      Amount
07/07/2017   Erica T. Jones      REPRODUCTION   REPRODUCTION              $23.40
07/07/2017   Erica T. Jones      REPRODUCTION   REPRODUCTION               $4.35
07/07/2017   Erica T. Jones      REPRODUCTION   REPRODUCTION               $4.35
07/07/2017   Erica T. Jones      REPRODUCTION   REPRODUCTION               $4.20
07/07/2017   Erica T. Jones      REPRODUCTION   REPRODUCTION               $4.35
07/07/2017   Erica T. Jones      REPRODUCTION   REPRODUCTION              $32.40
07/07/2017   Erica T. Jones      REPRODUCTION   REPRODUCTION               $4.35
07/07/2017   Erica T. Jones      REPRODUCTION   REPRODUCTION               $4.20
07/07/2017   Erica T. Jones      REPRODUCTION   REPRODUCTION               $4.35
07/07/2017   Erica T. Jones      REPRODUCTION   REPRODUCTION               $4.50
07/07/2017   Erica T. Jones      REPRODUCTION   REPRODUCTION              $18.60
07/07/2017   Erica T. Jones      REPRODUCTION   REPRODUCTION              $23.40
07/11/2017   Erica T. Jones      REPRODUCTION   REPRODUCTION               $0.90
07/11/2017   Erica T. Jones      REPRODUCTION   REPRODUCTION               $0.90
07/11/2017   Erica T. Jones      REPRODUCTION   REPRODUCTION               $0.60
07/11/2017   Erica T. Jones      REPRODUCTION   REPRODUCTION               $0.60
07/11/2017   Erica T. Jones      REPRODUCTION   REPRODUCTION               $0.15
07/11/2017   Erica T. Jones      REPRODUCTION   REPRODUCTION               $0.15
07/11/2017   Erica T. Jones      REPRODUCTION   REPRODUCTION               $0.60
07/14/2017   Erica T. Jones      REPRODUCTION   REPRODUCTION               $4.50
07/17/2017   Daniel J. Werb      REPRODUCTION   REPRODUCTION               $0.30
07/17/2017   Daniel J. Werb      REPRODUCTION   REPRODUCTION               $3.30
07/17/2017   Daniel J. Werb      REPRODUCTION   REPRODUCTION               $0.90
07/17/2017   Daniel J. Werb      REPRODUCTION   REPRODUCTION               $2.10
07/17/2017   Daniel J. Werb      REPRODUCTION   REPRODUCTION               $2.10
07/17/2017   Daniel J. Werb      REPRODUCTION   REPRODUCTION               $0.90
07/17/2017   Daniel J. Werb      REPRODUCTION   REPRODUCTION               $0.15
07/17/2017   Daniel J. Werb      REPRODUCTION   REPRODUCTION               $0.15
07/17/2017   Daniel J. Werb      REPRODUCTION   REPRODUCTION              $23.40
07/17/2017   Erica T. Jones      REPRODUCTION   REPRODUCTION               $1.50
07/18/2017   Chris Theodoridis   REPRODUCTION   REPRODUCTION               $0.90
07/18/2017   Chris Theodoridis   REPRODUCTION   REPRODUCTION               $0.30
07/18/2017   Chris Theodoridis   REPRODUCTION   REPRODUCTION               $0.60
07/18/2017   Chris Theodoridis   REPRODUCTION   REPRODUCTION               $2.25
07/18/2017   Chris Theodoridis   REPRODUCTION   REPRODUCTION               $1.80
07/18/2017   Chris Theodoridis   REPRODUCTION   REPRODUCTION               $3.00
07/19/2017   Erica T. Jones      REPRODUCTION   REPRODUCTION               $5.40
07/19/2017   Erica T. Jones      REPRODUCTION   REPRODUCTION               $5.40
07/19/2017   Erica T. Jones      REPRODUCTION   REPRODUCTION               $0.30
07/19/2017   Erica T. Jones      REPRODUCTION   REPRODUCTION               $0.15
07/19/2017   Melissa J. Lewis    REPRODUCTION   REPRODUCTION              $62.70
07/19/2017   Melissa J. Lewis    REPRODUCTION   REPRODUCTION              $33.30
07/20/2017   Erica T. Jones      REPRODUCTION   REPRODUCTION               $4.95
07/20/2017   Erica T. Jones      REPRODUCTION   REPRODUCTION               $0.60
07/20/2017   Erica T. Jones      REPRODUCTION   REPRODUCTION               $0.60
07/20/2017   Erica T. Jones      REPRODUCTION   REPRODUCTION               $0.60
07/21/2017   Jared Zajac         REPRODUCTION   REPRODUCTION               $0.45
07/21/2017   Erica T. Jones      REPRODUCTION   REPRODUCTION              $10.50
07/21/2017   Erica T. Jones      REPRODUCTION   REPRODUCTION              $10.50
07/21/2017   Erica T. Jones      REPRODUCTION   REPRODUCTION              $11.10
07/21/2017   Erica T. Jones      REPRODUCTION   REPRODUCTION              $10.50
07/21/2017   Erica T. Jones      REPRODUCTION   REPRODUCTION              $10.50
07/21/2017   Erica T. Jones      REPRODUCTION   REPRODUCTION              $10.50
07/21/2017   Erica T. Jones      REPRODUCTION   REPRODUCTION              $11.40
 Case:17-03283-LTS Doc#:2053-2 Filed:12/15/17 Entered:12/15/17 19:19:26 Desc:
33260 FOMB                Exhibit B Page 37 of 125             Invoice 170124300
PROFESSOR ARTHUR J. GONZALEZ, FOMB BOARD
MEMBER
   0022 PROMESA TITLE III: PREPA                                        Page 28

Date         Timekeeper             Type             Description         Amount
07/21/2017   Erica T. Jones   REPRODUCTION   REPRODUCTION                  $0.90
07/21/2017   Erica T. Jones   REPRODUCTION   REPRODUCTION                 $10.50
07/21/2017   Erica T. Jones   REPRODUCTION   REPRODUCTION                 $10.80
07/21/2017   Erica T. Jones   REPRODUCTION   REPRODUCTION                 $10.80
07/21/2017   Erica T. Jones   REPRODUCTION   REPRODUCTION                 $10.80
07/21/2017   Erica T. Jones   REPRODUCTION   REPRODUCTION                 $10.50
07/21/2017   Erica T. Jones   REPRODUCTION   REPRODUCTION                  $5.40
07/22/2017   Erica T. Jones   REPRODUCTION   REPRODUCTION                 $12.00
07/22/2017   Erica T. Jones   REPRODUCTION   REPRODUCTION                  $0.15
07/23/2017   Daniel J. Werb   REPRODUCTION   REPRODUCTION                  $1.20
07/23/2017   Daniel J. Werb   REPRODUCTION   REPRODUCTION                  $1.20
07/23/2017   Erica T. Jones   REPRODUCTION   REPRODUCTION                  $5.40
07/23/2017   Erica T. Jones   REPRODUCTION   REPRODUCTION                  $0.15
07/24/2017   Daniel J. Werb   REPRODUCTION   REPRODUCTION                  $1.50
07/24/2017   Jared Zajac      REPRODUCTION   REPRODUCTION                  $2.70
07/24/2017   Jared Zajac      REPRODUCTION   REPRODUCTION                  $0.30
07/24/2017   Jared Zajac      REPRODUCTION   REPRODUCTION                  $8.10
07/24/2017   Mee R. Kim       REPRODUCTION   REPRODUCTION                  $4.50
07/24/2017   Erica T. Jones   REPRODUCTION   REPRODUCTION                  $0.15
07/24/2017   Mee R. Kim       REPRODUCTION   REPRODUCTION                  $8.10
07/24/2017   Mee R. Kim       REPRODUCTION   REPRODUCTION                  $2.40
07/24/2017   Mee R. Kim       REPRODUCTION   REPRODUCTION                  $0.30
07/24/2017   Erica T. Jones   REPRODUCTION   REPRODUCTION                  $0.30
07/24/2017   Erica T. Jones   REPRODUCTION   REPRODUCTION                  $5.70
07/24/2017   Erica T. Jones   REPRODUCTION   REPRODUCTION                  $5.70
07/24/2017   Mee R. Kim       REPRODUCTION   REPRODUCTION                  $7.20
07/24/2017   Mee R. Kim       REPRODUCTION   REPRODUCTION                 $12.90
07/24/2017   Erica T. Jones   REPRODUCTION   REPRODUCTION                  $0.60
07/24/2017   Erica T. Jones   REPRODUCTION   REPRODUCTION                 $11.40
07/25/2017   Jared Zajac      REPRODUCTION   REPRODUCTION                  $3.30
07/25/2017   Jared Zajac      REPRODUCTION   REPRODUCTION                  $2.25
07/25/2017   Erica T. Jones   REPRODUCTION   REPRODUCTION                  $0.45
07/25/2017   Erica T. Jones   REPRODUCTION   REPRODUCTION                  $0.45
07/25/2017   Erica T. Jones   REPRODUCTION   REPRODUCTION                  $0.45
07/25/2017   Erica T. Jones   REPRODUCTION   REPRODUCTION                  $0.15
07/25/2017   Erica T. Jones   REPRODUCTION   REPRODUCTION                  $0.15
07/25/2017   Erica T. Jones   REPRODUCTION   REPRODUCTION                  $0.15
07/25/2017   Erica T. Jones   REPRODUCTION   REPRODUCTION                  $0.45
07/25/2017   Erica T. Jones   REPRODUCTION   REPRODUCTION                  $4.05
07/25/2017   Mee R. Kim       REPRODUCTION   REPRODUCTION                  $1.80
07/25/2017   Mee R. Kim       REPRODUCTION   REPRODUCTION                  $8.40
07/25/2017   Mee R. Kim       REPRODUCTION   REPRODUCTION                  $2.70
07/25/2017   Erica T. Jones   REPRODUCTION   REPRODUCTION                  $1.50
07/25/2017   Erica T. Jones   REPRODUCTION   REPRODUCTION                  $0.30
07/25/2017   Erica T. Jones   REPRODUCTION   REPRODUCTION                  $5.70
07/25/2017   Erica T. Jones   REPRODUCTION   REPRODUCTION                  $2.40
07/25/2017   Mee R. Kim       REPRODUCTION   REPRODUCTION                 $13.80
07/25/2017   Erica T. Jones   REPRODUCTION   REPRODUCTION                  $0.90
07/25/2017   Erica T. Jones   REPRODUCTION   REPRODUCTION                  $7.20
07/25/2017   Erica T. Jones   REPRODUCTION   REPRODUCTION                 $17.10
07/25/2017   Erica T. Jones   REPRODUCTION   REPRODUCTION                  $4.50
07/25/2017   Erica T. Jones   REPRODUCTION   REPRODUCTION                  $1.50
07/25/2017   Erica T. Jones   REPRODUCTION   REPRODUCTION                  $2.40
07/25/2017   Erica T. Jones   REPRODUCTION   REPRODUCTION                  $0.30
 Case:17-03283-LTS Doc#:2053-2 Filed:12/15/17 Entered:12/15/17 19:19:26 Desc:
33260 FOMB                Exhibit B Page 38 of 125             Invoice 170124300
PROFESSOR ARTHUR J. GONZALEZ, FOMB BOARD
MEMBER
   0022 PROMESA TITLE III: PREPA                                                     Page 29

Date         Timekeeper             Type             Description                      Amount
07/25/2017   Erica T. Jones   REPRODUCTION   REPRODUCTION                               $5.70
07/25/2017   Erica T. Jones   REPRODUCTION   REPRODUCTION                               $7.20
07/25/2017   Mee R. Kim       REPRODUCTION   REPRODUCTION                               $1.20
07/25/2017   Mee R. Kim       REPRODUCTION   REPRODUCTION                               $2.10
07/25/2017   Mee R. Kim       REPRODUCTION   REPRODUCTION                               $1.65
07/25/2017   Erica T. Jones   REPRODUCTION   REPRODUCTION                               $0.15
07/25/2017   Erica T. Jones   REPRODUCTION   REPRODUCTION                               $1.35
07/25/2017   Erica T. Jones   REPRODUCTION   REPRODUCTION                               $4.05
07/25/2017   Erica T. Jones   REPRODUCTION   REPRODUCTION                               $0.15
07/25/2017   Erica T. Jones   REPRODUCTION   REPRODUCTION                               $0.45
07/25/2017   Erica T. Jones   REPRODUCTION   REPRODUCTION                               $0.15
07/26/2017   Jared Zajac      REPRODUCTION   REPRODUCTION                               $3.60
07/26/2017   Jared Zajac      REPRODUCTION   REPRODUCTION                               $0.45
07/26/2017   Mee R. Kim       REPRODUCTION   REPRODUCTION                               $1.65
07/26/2017   Mee R. Kim       REPRODUCTION   REPRODUCTION                              $10.20
07/26/2017   Mee R. Kim       REPRODUCTION   REPRODUCTION                               $3.00
07/27/2017   Jonathan E.      REPRODUCTION   REPRODUCTION                               $0.90
             Richman
07/27/2017   Mee R. Kim       REPRODUCTION   REPRODUCTION                               $3.15
07/27/2017   Mee R. Kim       REPRODUCTION   REPRODUCTION                               $0.15
07/27/2017   Mee R. Kim       REPRODUCTION   REPRODUCTION                               $2.25
07/27/2017   Mee R. Kim       REPRODUCTION   REPRODUCTION                               $1.50
07/27/2017   Mee R. Kim       REPRODUCTION   REPRODUCTION                               $1.80
07/28/2017   Jared Zajac      REPRODUCTION   REPRODUCTION                               $4.05
07/28/2017   Jared Zajac      REPRODUCTION   REPRODUCTION                               $4.20
07/28/2017   Jared Zajac      REPRODUCTION   REPRODUCTION                               $0.90
07/28/2017   Jared Zajac      REPRODUCTION   REPRODUCTION                               $0.90
07/28/2017   Jared Zajac      REPRODUCTION   REPRODUCTION                               $0.30
07/28/2017   Jared Zajac      REPRODUCTION   REPRODUCTION                               $6.60
07/28/2017   Jared Zajac      REPRODUCTION   REPRODUCTION                               $3.75
07/31/2017   Pengtao Teng     REPRODUCTION   REPRODUCTION                               $4.80
                                             Total for REPRODUCTION                   $913.80

Date         Timekeeper               Type                Description                 Amount
07/17/2017   Daniel J. Werb   LEXIS          LEXIS Connect and Comm Time -              $6.00
                                             0:00:00 Searches - 0 Shepards and
                                             Autocite - 0 Lexsees and Lexstat - 0
07/20/2017   Sharma I. Ross   LEXIS          LEXIS Connect and Comm Time -              $2.00
                                             0:00:00 Searches - 0 Shepards and
                                             Autocite - 0 Lexsees and Lexstat - 0
07/24/2017   Jared Zajac      LEXIS          LEXIS Connect and Comm Time -           $1,009.25
                                             1:59:19 Searches - 3 Shepards and
                                             Autocite - 3 Lexsees and Lexstat - 22
07/24/2017   Daniel J. Werb   LEXIS          LEXIS Connect and Comm Time -              $2.00
                                             0:00:00 Searches - 0 Shepards and
                                             Autocite - 0 Lexsees and Lexstat - 0
07/25/2017   Jared Zajac      LEXIS          LEXIS Connect and Comm Time -            $955.75
                                             2:10:48 Searches - 4 Shepards and
                                             Autocite - 1 Lexsees and Lexstat - 15
07/27/2017   Jared Zajac      LEXIS          LEXIS Connect and Comm Time -            $838.00
                                             1:01:35 Searches - 8 Shepards and
                                             Autocite - 0 Lexsees and Lexstat - 5
 Case:17-03283-LTS Doc#:2053-2 Filed:12/15/17 Entered:12/15/17 19:19:26 Desc:
33260 FOMB                Exhibit B Page 39 of 125             Invoice 170124300
PROFESSOR ARTHUR J. GONZALEZ, FOMB BOARD
MEMBER
   0022 PROMESA TITLE III: PREPA                                                      Page 30

Date         Timekeeper                Type                Description                 Amount
07/28/2017   Jared Zajac       LEXIS          LEXIS Connect and Comm Time -           $1,907.75
                                              1:15:01 Searches - 0 Shepards and
                                              Autocite - 5 Lexsees and Lexstat - 41
07/31/2017   Jared Zajac       LEXIS          LEXIS Connect and Comm Time -             $48.00
                                              0:19:23 Searches - 0 Shepards and
                                              Autocite - 0 Lexsees and Lexstat - 2
                                              Total for LEXIS                         $4,768.75

Date         Timekeeper             Type                  Description                  Amount
07/11/2017   John E. Roberts   WESTLAW        WESTLAW Connect and Comm                 $702.00
                                              Time - 000000:00:00 WestChk and
                                              Other Trans - 0000000036 Lines
07/13/2017   Daniel J. Werb    WESTLAW        WESTLAW Connect and Comm                $2,239.00
                                              Time - 000000:00:00 WestChk and
                                              Other Trans - 0000000108 Lines
07/14/2017   Daniel J. Werb    WESTLAW        WESTLAW Connect and Comm                $7,101.00
                                              Time - 000000:00:00 WestChk and
                                              Other Trans - 0000000129 Lines
07/14/2017   John E. Roberts   WESTLAW        WESTLAW Connect and Comm                 $543.00
                                              Time - 000000:00:00 WestChk and
                                              Other Trans - 0000000015 Lines
07/17/2017   Daniel J. Werb    WESTLAW        WESTLAW Connect and Comm                 $603.00
                                              Time - 000000:00:00 WestChk and
                                              Other Trans - 0000000018 Lines
07/18/2017   Daniel J. Werb    WESTLAW        WESTLAW Connect and Comm                $1,994.00
                                              Time - 000000:00:00 WestChk and
                                              Other Trans - 0000000096 Lines
07/19/2017   Daniel J. Werb    WESTLAW        WESTLAW Connect and Comm                 $336.00
                                              Time - 000000:00:00 WestChk and
                                              Other Trans - 0000000009 Lines
07/19/2017   John E. Roberts   WESTLAW        WESTLAW Connect and Comm                 $693.00
                                              Time - 000000:00:00 WestChk and
                                              Other Trans - 0000000029 Lines
07/20/2017   Pengtao Teng      WESTLAW        WESTLAW Connect and Comm                $1,534.00
                                              Time - 000000:00:00 WestChk and
                                              Other Trans - 0000000058 Lines
07/20/2017   John E. Roberts   WESTLAW        WESTLAW Connect and Comm                 $917.00
                                              Time - 000000:00:00 WestChk and
                                              Other Trans - 0000000029 Lines
07/21/2017   Daniel J. Werb    WESTLAW        WESTLAW Connect and Comm                $4,925.00
                                              Time - 000000:00:00 WestChk and
                                              Other Trans - 0000000099 Lines
07/21/2017   Evelyn Pang       WESTLAW        WESTLAW Connect and Comm                 $396.00
                                              Time - 000000:00:00 WestChk and
                                              Other Trans - 0000000053 Lines
07/22/2017   Daniel J. Werb    WESTLAW        WESTLAW Connect and Comm                 $474.00
                                              Time - 000000:00:00 WestChk and
                                              Other Trans - 0000000027 Lines
07/23/2017   Jonathan E.       WESTLAW        WESTLAW Connect and Comm                  $29.00
             Richman                          Time - 000000:00:00 WestChk and
                                              Other Trans - 0000000002 Lines
07/23/2017   Daniel J. Werb    WESTLAW        WESTLAW Connect and Comm                $2,012.00
                                              Time - 000000:00:00 WestChk and
                                              Other Trans - 0000000129 Lines
 Case:17-03283-LTS Doc#:2053-2 Filed:12/15/17 Entered:12/15/17 19:19:26 Desc:
33260 FOMB                Exhibit B Page 40 of 125             Invoice 170124300
PROFESSOR ARTHUR J. GONZALEZ, FOMB BOARD
MEMBER
   0022 PROMESA TITLE III: PREPA                                             Page 31

Date         Timekeeper             Type               Description            Amount
07/23/2017   John E. Roberts   WESTLAW     WESTLAW Connect and Comm           $891.00
                                           Time - 000000:00:00 WestChk and
                                           Other Trans - 0000000025 Lines
07/24/2017   Daniel J. Werb    WESTLAW     WESTLAW Connect and Comm          $4,195.00
                                           Time - 000000:00:00 WestChk and
                                           Other Trans - 0000000109 Lines
07/24/2017   Caroline L.       WESTLAW     WESTLAW Connect and Comm            $99.00
             Guensberg                     Time - 000000:00:00 WestChk and
                                           Other Trans - 0000000010 Lines
07/24/2017   Erica T. Jones    WESTLAW     WESTLAW Connect and Comm           $396.00
                                           Time - 000000:00:00 WestChk and
                                           Other Trans - 0000000024 Lines
07/24/2017   John E. Roberts   WESTLAW     WESTLAW Connect and Comm           $297.00
                                           Time - 000000:00:00 WestChk and
                                           Other Trans - 0000000017 Lines
07/25/2017   Jonathan E.       WESTLAW     WESTLAW Connect and Comm           $198.00
             Richman                       Time - 000000:00:00 WestChk and
                                           Other Trans - 0000000002 Lines
07/25/2017   Caroline L.       WESTLAW     WESTLAW Connect and Comm          $1,827.00
             Guensberg                     Time - 000000:00:00 WestChk and
                                           Other Trans - 0000000042 Lines
07/25/2017   Erica T. Jones    WESTLAW     WESTLAW Connect and Comm          $1,413.00
                                           Time - 000000:00:00 WestChk and
                                           Other Trans - 0000000033 Lines
07/25/2017   John E. Roberts   WESTLAW     WESTLAW Connect and Comm           $562.00
                                           Time - 000000:00:00 WestChk and
                                           Other Trans - 0000000025 Lines
07/26/2017   Pengtao Teng      WESTLAW     WESTLAW Connect and Comm           $128.00
                                           Time - 000000:00:00 WestChk and
                                           Other Trans - 0000000003 Lines
07/26/2017   John E. Roberts   WESTLAW     WESTLAW Connect and Comm            $99.00
                                           Time - 000000:00:00 WestChk and
                                           Other Trans - 0000000013 Lines
07/27/2017   John E. Roberts   WESTLAW     WESTLAW Connect and Comm           $297.00
                                           Time - 000000:00:00 WestChk and
                                           Other Trans - 0000000007 Lines
07/28/2017   Pengtao Teng      WESTLAW     WESTLAW Connect and Comm           $273.00
                                           Time - 000000:00:00 WestChk and
                                           Other Trans - 0000000050 Lines
07/28/2017   John E. Roberts   WESTLAW     WESTLAW Connect and Comm           $396.00
                                           Time - 000000:00:00 WestChk and
                                           Other Trans - 0000000016 Lines
07/29/2017   John E. Roberts   WESTLAW     WESTLAW Connect and Comm           $198.00
                                           Time - 000000:00:00 WestChk and
                                           Other Trans - 0000000005 Lines
07/30/2017   Jonathan E.       WESTLAW     WESTLAW Connect and Comm            $99.00
             Richman                       Time - 000000:00:00 WestChk and
                                           Other Trans - 0000000002 Lines
07/30/2017   John E. Roberts   WESTLAW     WESTLAW Connect and Comm            $99.00
                                           Time - 000000:00:00 WestChk and
                                           Other Trans - 0000000003 Lines
07/31/2017   Pengtao Teng      WESTLAW     WESTLAW Connect and Comm           $168.00
                                           Time - 000000:00:00 WestChk and
                                           Other Trans - 0000000052 Lines
 Case:17-03283-LTS Doc#:2053-2 Filed:12/15/17 Entered:12/15/17 19:19:26 Desc:
33260 FOMB                Exhibit B Page 41 of 125             Invoice 170124300
PROFESSOR ARTHUR J. GONZALEZ, FOMB BOARD
MEMBER
   0022 PROMESA TITLE III: PREPA                                                         Page 32

Date         Timekeeper             Type                         Description              Amount
07/31/2017   John E. Roberts   WESTLAW               WESTLAW Connect and Comm              $29.00
                                                     Time - 000000:00:00 WestChk and
                                                     Other Trans - 0000000003 Lines
                                                     Total for WESTLAW                  $36,162.00


Charges and Disbursements Summary

Type of Disbursements                                                                     Amount
REPRODUCTION                                                                                913.80
LEXIS                                                                                     4,768.75
WESTLAW                                                                                  36,162.00
                                    Total Expenses                                      $41,844.55

                                    Total Amount for this Matter                       $496,539.55
Case:17-03283-LTS Doc#:2053-2 Filed:12/15/17 Entered:12/15/17 19:19:26                                 Desc:
                         Exhibit B Page 42 of 125

                                  UNITED STATES DISTRICT COURT
                                    DISTRICT OF PUERTO RICO
     -------------------------------------------------------------x
     In re:
                                                                      PROMESA
     THE FINANCIAL OVERSIGHT AND                                      Title III
     MANAGEMENT BOARD FOR PUERTO RICO,

                 as representative of
                                                                      Case No. 17-04780 (LTS)
     PUERTO RICO ELECTRIC POWER
     AUTHORITY (“PREPA”),

                                  Debtor.1
     -------------------------------------------------------------x

  COVER SHEET TO SECOND MONTHLY FEE APPLICATION OF PROSKAUER
      ROSE LLP FOR COMPENSATION FOR SERVICES RENDERED AND
    REIMBURSEMENT OF EXPENSES AS ATTORNEYS TO THE FINANCIAL
       OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO, AS
REPRESENTATIVE OF DEBTOR, PUERTO RICO ELECTRIC POWER AUTHORITY
   (“PREPA”) FOR THE PERIOD AUGUST 1, 2017 THROUGH AUGUST 31, 2017

Name of Applicant:                                            Proskauer Rose LLP (“Proskauer”)

Authorized to Provide Professional Services                   Financial Oversight and Management Board,
to:                                                           as Representative for the Debtor Pursuant to
                                                              PROMESA Section 315(b)

Period for which compensation and                             August 1, 2017 through August 31, 2017
reimbursement is sought:

Amount of compensation sought as actual,                      $342,475.00
reasonable and necessary:

Amount of expense reimbursement sought as                     $11,022.00
actual, reasonable and necessary:

Total Amount for this Invoice:                                $353,497.00



This is a:     X monthly __ interim __ final application.

This is Proskauer’s second monthly fee application in this case.




1
    The last four (4) digits of PREPA’s federal tax identification number are 3747.
                                                          1
Case:17-03283-LTS Doc#:2053-2 Filed:12/15/17 Entered:12/15/17 19:19:26   Desc:
                         Exhibit B Page 43 of 125

On September 21, 2017 Sent to:
FOMB:
Financial Oversight and Management Board
40 Washington Square South, Office 314A
New York, NY 10012
Attn: Professor Arthur J. Gonzalez, FOMB Board Member
Co-Counsel for AAFAF:
O’Melveny & Myers LLP
Times Square Tower, 7 Times Square
New York, NY 10036
Attn: John J. Rapisardi, Esq.,
      Suzzanne Uhland, Esq.,
      Diana M. Perez, Esq.
            and
Greenberg Traurig, LLP
200 Park Avenue
New York, NY 10166
Attn: Nancy A. Mitchell, Esq.,
      Nathan A. Haynes, Esq.
Office of United States Trustee
Office of the United States Trustee for the District of Puerto Rico
Edificio Ochoa, 500 Tanca Street, Suite 301
San Juan, PR 00901
(In re: Commonwealth of Puerto Rico)
Co-Counsel for the Official Committee of Unsecured Creditors:
Paul Hastings LLP
200 Park Avenue
New York, NY 10166
Attn: Luc. A. Despins, Esq.,
      Andrew V. Tenzer, Esq.,
      Michael E. Comerford, Esq.,
      G. Alexander Bongartz, Esq.
             and
Casillas, Santiago & Torres, LLC (Proposed)
El Caribe Office Building
53 Palmeras Street, Suite. 1601
San Juan, Puerto Rico 00901-2419
Attn: Juan J. Casillas Ayala, Esq.,
      Diana M. Batlle-Barasorda, Esq.,
      Alberto J. E. Añeses Negrón, Esq.,
      Ericka C. Montull-Novoa, Esq.
Co-Counsel for U.S. Bank National Association:
Maslon LLP
90 South Seventh Street, Suite 3300
Minneapolis, MN 55402
Attn: Clark T. Whitmore, Esq.,
        William Z. Pentelovitch, Esq.,
        John T. Duffey, Esq.,
        Jason M. Reed, Esq.
           and
Rivera, Tulla & Ferrer, LLC
50 Quisqueya Street
San Juan, PR 00917
Attn: Eric A. Tulla, Esq.,
      Iris J. Cabrera-Góomz, Esq.

                                                           2
Case:17-03283-LTS Doc#:2053-2 Filed:12/15/17 Entered:12/15/17 19:19:26                      Desc:
                         Exhibit B Page 44 of 125
          Summary of Legal Fees for the Period August 1, 2017 through August 31, 2017



  Task                                                    Total Billed           Total Fees
                     Matter Description
  Code                                                      Hours                Requested
          Tasks relating to the Board, its Members, its
   201                                                              6.10                  $4,453.00
          Staff, its Advisors or its Consultants
   202    Legal Research                                           47.50                 $34,675.00
          Hearings and other non-filed
   203                                                              8.60                  $6,278.00
          communications with the Court

   204    Communications with Claimholders                         59.30                 $43,289.00

          Communications with the Commonwealth
   205    and its Representatives of the                           38.90                 $28,397.00
          Commonwealth or its Instrumentalities
   206    Documents Filed on Behalf of the Board                   80.60                 $58,838.00
   207    Non-Board Court Filings                                  63.90                 $46,647.00

   208    Stay Matters                                           117.30                  $85,629.00

   209    Adversary Proceeding                                      0.80                   $584.00

   210    Analysis and Strategy                                    42.10                 $30,733.00
   212    General Administration                                    6.10                  $2,149.00
   218    Employment and Fee Applications                           1.10                   $803.00

                                                 Total           472.30                 $342,475.00




                                                3
Case:17-03283-LTS Doc#:2053-2 Filed:12/15/17 Entered:12/15/17 19:19:26                          Desc:
                         Exhibit B Page 45 of 125
              Summary of Legal Fees for the Period August 1, 2017 through August 31, 2017

                                                             Hourly       Total Billed      Total
    Professional        Position/Title     Department
                                                           Billing Rate     Hours        Compensation

Ann M. Ashton          Partner           Litigation        $730.00              43.10       $31,463.00

Bradley R. Bobroff     Partner           Litigation        $730.00               1.10         $803.00
                                         Labor &
Guy Brenner            Partner                             $730.00               2.40        $1,752.00
                                         Employment
Jeffrey W. Levitan     Partner           BSGR & B          $730.00              43.10       $31,463.00
Jonathan E.
                       Partner           Litigation        $730.00              47.40       $34,602.00
Richman
Lary Alan
                       Partner           Litigation        $730.00               0.40         $292.00
Rappaport
Martin J.
                       Partner           BSGR & B          $730.00              20.90       $15,257.00
Bienenstock
Michael A.
                       Partner           Litigation        $730.00               0.30         $219.00
Firestein
Paul Possinger         Partner           BSGR & B          $730.00              39.80       $29,054.00

Ralph C. Ferrara       Partner           Litigation        $730.00              12.10        $8,833.00
                                         Labor &
Scott A. Faust         Partner                             $730.00               4.90        $3,577.00
                                         Employment
Stephen L. Ratner      Partner           Litigation        $730.00               6.00        $4,380.00

Steven O. Weise        Partner           BSGR & B          $730.00               9.50        $6,935.00
Timothy W.
                       Partner           Litigation        $730.00               9.10        $6,643.00
Mungovan
                       Senior
Chantel L. Febus                         Litigation        $730.00               0.80         $584.00
                       Counsel
Chris Theodoridis      Associate         BSGR & B          $730.00              44.40       $32,412.00

Daniel Desatnik        Associate         BSGR & B          $730.00               1.30         $949.00

Ehud Barak             Associate         BSGR & B          $730.00              46.60       $34,018.00

Jared Zajac            Associate         BSGR & B          $730.00              36.20       $26,426.00

John E. Roberts        Associate         Litigation        $730.00              37.40       $27,302.00

Joshua A. Esses        Associate         BSGR & B          $730.00               0.20         $146.00

Laura Stafford         Associate         Litigation        $730.00               8.50        $6,205.00


                                                  4
Case:17-03283-LTS Doc#:2053-2 Filed:12/15/17 Entered:12/15/17 19:19:26                           Desc:
                         Exhibit B Page 46 of 125
              Summary of Legal Fees for the Period August 1, 2017 through August 31, 2017

                                                             Hourly       Total Billed      Total
    Professional        Position/Title     Department
                                                           Billing Rate     Hours        Compensation

Maja Zerjal            Associate         BSGR & B          $730.00                7.50        $5,475.00

Matthew J. Morris      Associate         Litigation        $730.00              23.60        $17,228.00

Pengtao Teng           Associate         Corporate         $730.00                3.00        $2,190.00
                                         Labor &
Rebecca J. Sivitz      Associate                           $730.00                6.60        $4,818.00
                                         Employment
Vincent Indelicato     Associate         BSGR & B          $730.00                1.00         $730.00

William D. Dalsen      Associate         Litigation        $730.00              10.30         $7,519.00

                                                                 Total         467.50       $341,275.00



                                                            Hourly        Total Billed      Total
  Paraprofessional      Position/Title    Department
                                                          Billing Rate      Hours        Compensation

                       Legal
Casey Quinn                              BSGR & B         $250.00                0.50          $125.00
                       Assistant
                       Legal
Evelyn Rodriguez                         BSGR & B         $250.00                3.80          $950.00
                       Assistant
Shealeen E.            Legal             Labor &
                                                          $250.00                0.50          $125.00
Schaefer               Assistant         Employment
                                                                Total            4.80        $1,200.00




                                                                           Hours              Fees
SUMMARY OF LEGAL FEES
                                                                           472.30         $342,475.00




                                                  5
Case:17-03283-LTS Doc#:2053-2 Filed:12/15/17 Entered:12/15/17 19:19:26                         Desc:
                         Exhibit B Page 47 of 125
          Summary of Disbursements for the Period August 1, 2017 through August 31, 2017



EXPENSE CATEGORY                                                                   AMOUNTS

Reproduction                                                                                 $667.50
Lexis                                                                                       $2,416.50
Westlaw                                                                                     $7,938.00
                                                                    Total                  $11,022.00




                                                6
Case:17-03283-LTS Doc#:2053-2 Filed:12/15/17 Entered:12/15/17 19:19:26                   Desc:
                         Exhibit B Page 48 of 125




       Proskauer requests payment and reimbursement in accordance with the procedures set

forth in the Interim Compensation Order (i.e., payment of ninety percent (90%) of the

compensation sought, in the amount of $308,227.50, and reimbursement of one-hundred percent

(100%) of expenses incurred, in the amount of $11,022.00) in the total amount of $319,249.50.




                                               7
Case:17-03283-LTS Doc#:2053-2 Filed:12/15/17 Entered:12/15/17 19:19:26   Desc:
                         Exhibit B Page 49 of 125



                               Exhibit A
 Case:17-03283-LTS Doc#:2053-2 Filed:12/15/17 Entered:12/15/17 19:19:26 Desc:
33260 FOMB                Exhibit B Page 50 of 125             Invoice 170126125
PROFESSOR ARTHUR J. GONZALEZ, FOMB BOARD
MEMBER
   0022 PROMESA TITLE III: PREPA                                                                      Page 1


Summary of Time Billed by Task                                                           Hours          Value
201   Tasks relating to the Board, its Members, its Staff, its Advisors or its              6.10     $4,453.00
      Consultants
202   Legal Research                                                                       47.50    $34,675.00
203   Hearings and other non-filed communications with the Court                            8.60     $6,278.00
204   Communications with Claimholders                                                     59.30    $43,289.00
205   Communications with the Commonwealth, its Instrumentalities or                       38.90    $28,397.00
      Representatives of the Commonwealth or its Instrumentalities
206   Documents Filed on Behalf of the Board                                               80.60    $58,838.00
207   Non-Board Court Filings                                                              63.90    $46,647.00
208   Stay Matters                                                                        117.30    $85,629.00
209   Adversary Proceeding                                                                  0.80      $584.00
210   Analysis and Strategy                                                                42.10    $30,733.00
212   General Administration                                                                6.10     $2,149.00
218   Employment and Fee Applications                                                       1.10      $803.00
                                                                                 Total    472.30   $342,475.00
 Case:17-03283-LTS Doc#:2053-2 Filed:12/15/17 Entered:12/15/17 19:19:26 Desc:
33260 FOMB                Exhibit B Page 51 of 125             Invoice 170126125
PROFESSOR ARTHUR J. GONZALEZ, FOMB BOARD
MEMBER
   0022 PROMESA TITLE III: PREPA                                                                      Page 2


Tasks relating to the Board, its Members, its Staff, its Advisors or its Consultants -- 201


Date          Timekeeper             Task                Description                     Hours        Amount
08/10/17      Matthew J. Morris     201   Teleconference regarding UTIER                  0.90        $657.00
                                          complaint with J. Richman and other
                                          Proskauer and O'Neill lawyers.
08/10/17     Scott A. Faust       201     Participate in teleconference with                  0.90    $657.00
                                          O'Neill regarding collective bargaining
                                          complaint.
08/10/17     Guy Brenner          201     Call with O'Neill regarding collective              0.60    $438.00
                                          bargaining complaint and background
                                          facts.
08/10/17     Jonathan E. Richman 201      Teleconference with H. Bauer, C.                    0.60    $438.00
                                          Garcia, S. Faust, G. Brenner and M.
                                          Morris regarding UTIER complaint.
08/11/17     Rebecca J. Sivitz    201     Participate in call with Puerto Rico                1.30    $949.00
                                          counsel regarding collective bargaining
                                          case and review relevant materials.
08/15/17     Chris Theodoridis    201     Confer with C. George regarding                     0.40    $292.00
                                          collective bargaining agreements.
08/21/17     Chris Theodoridis    201     Teleconference with O'Neill regarding               0.50    $365.00
                                          PREPA cases.
08/25/17     Martin J.            201     Review US Trustee orders regarding                  0.90    $657.00
             Bienenstock                  PREPA and creditors' committee (0.30);
                                          E-mail to Board regarding same and
                                          analysis of orders (0.60).
Tasks relating to the Board and Associated Members                                            6.10   $4,453.00


Legal Research -- 202


Date          Timekeeper             Task                   Description                  Hours        Amount
08/06/17      Steven O. Weise       202      Prepare outline of issues regarding rate     2.40       $1,752.00
                                             covenant as collateral in PREPA matter.
08/07/17      Steven O. Weise       202      Prepare analysis of claims about                 5.80   $4,234.00
                                             security interest in rate covenant.
08/09/17      Rebecca J. Sivitz     202      Review PREPA collective bargaining               1.30    $949.00
                                             agreement.
08/09/17      Scott A. Faust        202      Review cases regarding collective                0.90    $657.00
                                             bargaining agreement in preparation for
                                             teleconference to discuss response to
                                             complaint.
08/09/17      Jonathan E. Richman 202        Review materials regarding special-              0.70    $511.00
                                             revenue issues.
08/09/17      Jeffrey W. Levitan    202      Review Greenberg Traurig                         1.50   $1,095.00
                                             memorandum addressing special
                                             revenues complaint (0.60); Review
                                             Proskauer analysis of arguments (0.30);
                                             Research 928(b) (0.60).
08/10/17      Ehud Barak            202      Review and revise PREPA                          3.30   $2,409.00
                                             memorandum.
 Case:17-03283-LTS Doc#:2053-2 Filed:12/15/17 Entered:12/15/17 19:19:26 Desc:
33260 FOMB                Exhibit B Page 52 of 125             Invoice 170126125
PROFESSOR ARTHUR J. GONZALEZ, FOMB BOARD
MEMBER
   0022 PROMESA TITLE III: PREPA                                                             Page 3


Date       Timekeeper            Task                    Description                Hours    Amount
08/10/17   Rebecca J. Sivitz    202     Conduct research related to collective       0.70    $511.00
                                        bargaining case.
08/10/17   Jared Zajac          202     Review relevant case law for special         2.10   $1,533.00
                                        revenue case (1.20); Analysis of
                                        classification of expenses (0.90).
08/11/17   Jeffrey W. Levitan   202     Analyze relevant case law for special        1.10    $803.00
                                        revenues issue.
08/11/17   Chris Theodoridis    202     Research regarding retention of              3.30   $2,409.00
                                        jurisdiction in bankruptcy cases.
08/11/17   Ralph C. Ferrara     202     Review facts in connection with special      0.20    $146.00
                                        reviews case.
08/14/17   Jeffrey W. Levitan   202     Research regarding section 928(b).           0.90    $657.00
08/16/17   Jeffrey W. Levitan   202     Research and analysis of application of      1.40   $1,022.00
                                        expenses in connection with section
                                        928.
08/16/17   John E. Roberts      202     Review and analyze complaint raising         0.90    $657.00
                                        issues under 922/928 in preparation for
                                        call with PREPA counsel.
08/17/17   John E. Roberts      202     Research legislative history of              1.20    $876.00
                                        PROMESA 305 and 306 for
                                        supplemental briefing on receivership
                                        lift-stay issue.
08/17/17   Jeffrey W. Levitan   202     Review E. Barak summary of call and          0.20    $146.00
                                        possible motion to dismiss arguments.
08/17/17   Jared Zajac          202     Research regarding special revenue           0.60    $438.00
                                        bankruptcy provisions.
08/17/17   Paul Possinger       202     Discuss research with PREPA team.            0.30    $219.00
08/18/17   Jared Zajac          202     Analysis of motion to dismiss                2.90   $2,117.00
                                        arguments (0.50); Review arguments in
                                        other cases and consider applicability to
                                        PREPA (0.80); Review case law,
                                        memoranda, and indenture trust
                                        agreement regarding expense issues
                                        (1.60).
08/21/17   Jeffrey W. Levitan   202     Review indenture expense definition.         0.20    $146.00
08/21/17   Jared Zajac          202     Review and analyze complaint and 928         1.70   $1,241.00
                                        issues (1.20); Review prior memos
                                        regarding same (0.50).
08/21/17   Pengtao Teng         202     Research Sections 305/306 of                 0.20    $146.00
                                        PROMESA for supplemental lift-stay
                                        brief.
08/21/17   Matthew J. Morris    202     Analyze UTIER collective bargaining          1.30    $949.00
                                        complaint and statutes referenced in
                                        same.
08/22/17   Pengtao Teng         202     Research PROMESA Sections 305 and            0.80    $584.00
                                        306 for supplemental brief.
08/23/17   Pengtao Teng         202     Research into PROMESA Sections 305           1.60   $1,168.00
                                        and 306.
08/23/17   Jeffrey W. Levitan   202     Review memorandum on PROMESA                 0.80    $584.00
                                        305 and cases cited in same.
08/23/17   Matthew J. Morris    202     Research for motion to dismiss UTIER         1.90   $1,387.00
                                        collective bargaining complaint.
 Case:17-03283-LTS Doc#:2053-2 Filed:12/15/17 Entered:12/15/17 19:19:26 Desc:
33260 FOMB                Exhibit B Page 53 of 125             Invoice 170126125
PROFESSOR ARTHUR J. GONZALEZ, FOMB BOARD
MEMBER
   0022 PROMESA TITLE III: PREPA                                                               Page 4


Date        Timekeeper              Task                 Description                 Hours     Amount
08/23/17    Ehud Barak             202     Research regarding special revenues        1.60    $1,168.00
                                           issues.
08/24/17    Pengtao Teng           202     Further review regarding PROMESA           0.40     $292.00
                                           sections 305 and 306 for supplemental
                                           brief.
08/24/17    Jeffrey W. Levitan     202     Review description of PREPA rate           0.20     $146.00
                                           process.
08/25/17    Jeffrey W. Levitan     202     Review PREPA factual materials for         0.30     $219.00
                                           special revenues case.
08/26/17    Steven O. Weise        202     Review issues regarding perfection of      1.30     $949.00
                                           UCC security interests.
08/27/17    Maja Zerjal         202        Review revised PREPA memo.                 0.50     $365.00
08/27/17    Jonathan E. Richman 202        Review materials regarding UTIER           1.10     $803.00
                                           CBA case.
08/29/17    Jonathan E. Richman 202        Research issues for UTIER motion.          0.60     $438.00
08/29/17    Jeffrey W. Levitan  202        Review memorandum regarding                1.30     $949.00
                                           motions to dismiss claims similar to
                                           Assured complaint.
Legal Research                                                                       47.50   $34,675.00


Hearings and other non-filed communications with the Court -- 203


Date        Timekeeper              Task                Description                  Hours     Amount
08/03/17    Stephen L. Ratner      203  Teleconferences and e-mail with               0.30     $219.00
                                        PREPA counsel regarding hearing
                                        (0.20); Teleconference with PREPA
                                        counsel and Judge's clerk regarding lift-
                                        stay hearing (0.10).
08/03/17   Paul Possinger       203     E-mail to Greenberg Traurig regarding         0.90     $657.00
                                        August 9 hearing (0.90).
08/07/17   Ann M. Ashton        203     Participate in call with M. Bienenstock,      1.40    $1,022.00
                                        Greenberg Traurig in preparation for
                                        hearing on motion to lift stay (1.10);
                                        Follow-up discussion with E. Barak
                                        regarding same (0.30).
08/07/17   Martin J.            203     Prepare for hearing on motion for stay        3.70    $2,701.00
           Bienenstock                  relief in PREPA.
08/09/17   Ehud Barak           203     Participate (telephonically) in portion of    0.90     $657.00
                                        hearing addressing lift-stay motion.
08/09/17   Jared Zajac          203     Participate (telephonically) in portion of    1.40    $1,022.00
                                        lift-stay hearing.
Hearings and other non-filed communications with the Court                            8.60    $6,278.00
 Case:17-03283-LTS Doc#:2053-2 Filed:12/15/17 Entered:12/15/17 19:19:26 Desc:
33260 FOMB                Exhibit B Page 54 of 125             Invoice 170126125
PROFESSOR ARTHUR J. GONZALEZ, FOMB BOARD
MEMBER
   0022 PROMESA TITLE III: PREPA                                                             Page 5


Communications with Claimholders -- 204


Date        Timekeeper           Task                    Description                Hours    Amount
08/01/17    Paul Possinger      204       Review correspondence between              0.30    $219.00
                                          bondholders and PREPA regarding
                                          document requests, payment demands.
08/02/17    Timothy W.          204       Communications with S. Ratner, A.          0.40    $292.00
            Mungovan                      Ashton, and M. Bienenstock regarding
                                          August 9 hearing on lift-stay motion
                                          (0.30); Follow-up e-mails with Kramer
                                          Levin (0.10).
08/14/17    Martin J.           204       Review PREPA mediation proposal and        4.40   $3,212.00
            Bienenstock                   related Citi materials (1.50); Research
                                          issues raised by format (2.90).
08/17/17    Paul Possinger      204       Review PREPA correspondence with           0.40    $292.00
                                          Assured, related e-mails.
08/22/17    Paul Possinger      204       Review correspondence with Assured.        0.40    $292.00
08/25/17    Paul Possinger      204       Call with bond trustee regarding           1.40   $1,022.00
                                          intervention in 922/928 action (0.20);
                                          Follow-up call with A. Ashton (0.30);
                                          E-mail with team regarding same
                                          (0.40); Teleconference with retiree
                                          committee counsel regarding US
                                          Trustee call regarding separate PREPA
                                          committee (0.30); Analysis of
                                          appointment of UCC in PREPA (0.20).
08/25/17    Ann M. Ashton       204       Participate in call with trustee for       0.20    $146.00
                                          PREPA bonds regarding motion to
                                          intervene.
08/25/17    Chris Theodoridis   204       Participate in PREPA call with U.S.        0.20    $146.00
                                          Bank regarding motion to intervene.
08/25/17    John E. Roberts     204       Call with Trustee counsel regarding        0.20    $146.00
                                          motion to intervene in 922/928 case.
08/26/17    Chris Theodoridis   204       Review PREPA mediation deck.               2.50   $1,825.00
08/30/17    Paul Possinger      204       Review PREPA mediation script (0.90);      2.20   $1,606.00
                                          Meeting with McKinsey and PREPA
                                          regarding preparation for mediation
                                          sessions (0.60); Discuss mediation deck
                                          with E. Barak (0.70).
08/31/17    Ann M. Ashton       204       Participate in portion of PREPA            5.10   $3,723.00
                                          mediation session.
08/31/17    Paul Possinger      204       Attend PREPA mediation sessions.           4.40   $3,212.00
08/31/17    Paul Possinger      204       Participate in PREPA mediation             2.40   $1,752.00
                                          session.
08/31/17    Ralph C. Ferrara    204       Participate in PREPA mediation.            4.90   $3,577.00
08/31/17    Chris Theodoridis   204       Attend portion of PREPA mediation          4.90   $3,577.00
                                          session.
08/31/17    Timothy W.          204       Attend portion of PREPA mediation          1.40   $1,022.00
            Mungovan                      (1.10); Communications with E. Barak
                                          and J. Richman regarding same (0.30).
 Case:17-03283-LTS Doc#:2053-2 Filed:12/15/17 Entered:12/15/17 19:19:26 Desc:
33260 FOMB                Exhibit B Page 55 of 125             Invoice 170126125
PROFESSOR ARTHUR J. GONZALEZ, FOMB BOARD
MEMBER
   0022 PROMESA TITLE III: PREPA                                                                Page 6


Date        Timekeeper            Task                  Description                  Hours      Amount
08/31/17    Ehud Barak           204     Prepare for PREPA mediation (0.80);          7.80     $5,694.00
                                         Participate in same (6.30); Follow-up
                                         discussion regarding mediation (0.70).
08/31/17    Jonathan E. Richman 204      Attend portion of mediation session on       5.10     $3,723.00
                                         PREPA.
08/31/17    Martin J.            204     Participate in mediations regarding          7.50     $5,475.00
            Bienenstock                  PREPA with creditors, advisors,
                                         mediators, and Board representatives.
08/31/17    Maja Zerjal          204     Attend part of PREPA mediation               3.20     $2,336.00
                                         meetings.
Communications with Claimholders                                                     59.30    $43,289.00


Communications with the Commonwealth, its Instrumentalities or Representatives of the Commonwealth or its
Instrumentalities -- 205


Date        Timekeeper            Task                  Description                  Hours      Amount
08/03/17    Chris Theodoridis    205     Review and comment on Greenberg              3.50     $2,555.00
                                         Traurig's response to motion to lift stay
                                         (1.80); Review and comment on
                                         Greenberg Traurig's reply to utilities
                                         objection (1.70).
08/04/17    Paul Possinger       205     E-mails with Greenberg Traurig               0.40       $292.00
                                         regarding utility motion objections.
08/17/17    Ann M. Ashton        205     Prepare for call on special revenues         1.40     $1,022.00
                                         case (0.30); Participate in call with
                                         Greenberg, E. Barak, J. Levitan, P.
                                         Possinger and R. Ferrara regarding
                                         response to complaint in Assured
                                         special revenues case (0.80); Follow-up
                                         discussion with E. Barak and J. Levitan
                                         (0.30).
08/17/17    John E. Roberts      205     Call with PREPA counsel regarding            1.80     $1,314.00
                                         922/928 issues (1.10); Preparation for
                                         same (0.40); Follow-up internal call and
                                         strategize next steps (0.30).
08/17/17    Jonathan E. Richman 205      Prepare for teleconference with              1.10       $803.00
                                         Proskauer and Greenberg Traurig teams
                                         regarding response to Assured
                                         complaint (0.30); Participate in same
                                         (0.80).
08/17/17    Chris Theodoridis    205     Participate in portion of call with          0.60       $438.00
                                         Greenberg Traurig regarding PREPA
                                         special resources case.
08/17/17    Ehud Barak           205     Participate in PREPA call with               1.10       $803.00
                                         Greenberg Traurig regarding monoline
                                         complaint (0.80); Follow-up internal
                                         call (0.30).
 Case:17-03283-LTS Doc#:2053-2 Filed:12/15/17 Entered:12/15/17 19:19:26 Desc:
33260 FOMB                Exhibit B Page 56 of 125             Invoice 170126125
PROFESSOR ARTHUR J. GONZALEZ, FOMB BOARD
MEMBER
   0022 PROMESA TITLE III: PREPA                                                            Page 7


Date       Timekeeper            Task                  Description                 Hours    Amount
08/17/17   Jeffrey W. Levitan   205     Prepare for call with Greenberg Traurig,    1.40   $1,022.00
                                        A. Ashton and E. Barak regarding
                                        Assured complaint issues and strategy
                                        (0.30); Participate in same (1.10).
08/17/17   Jared Zajac          205     Call with Greenberg Traurig regarding       1.40   $1,022.00
                                        complaint response (1.10); Review
                                        memorandum addressing same (0.30).
08/17/17   Paul Possinger       205     Call with Greenberg regarding special       1.20    $876.00
                                        revenue complaint.
08/21/17   Ann M. Ashton        205     Call with J. Roberts and Greenberg          0.60    $438.00
                                        Traurig regarding special revenues case.
08/23/17   Ann M. Ashton        205     Participate in call with Greenberg          2.30   $1,679.00
                                        Traurig attorneys, E. Barak, P.
                                        Possinger and R. Ferrara regarding
                                        responses to special revenues complaint
                                        (1.80); Follow-up discussions with E.
                                        Barak and R. Ferrara (0.50).
08/23/17   Jared Zajac          205     Call with N. Mitchell, D. Cleary, P.        1.50   $1,095.00
                                        Possinger, A. Ashton, J. Richman, and
                                        J. Levitan regarding special revenues
                                        case.
08/23/17   Paul Possinger       205     E-mails with Greenberg Traurig              0.30    $219.00
                                        regarding Assured correspondence.
08/23/17   Ehud Barak           205     Discussion with Greenberg regarding         1.80   $1,314.00
                                        Assured complaint.
08/23/17   Jonathan E. Richman 205      Participate in portion of teleconference    1.10    $803.00
                                        with Greenberg Traurig and Proskauer
                                        teams regarding Assured case (1.00);
                                        Draft and review e-mails regarding
                                        same (0.10).
08/23/17   Maja Zerjal          205     Participate in PREPA call with              1.80   $1,314.00
                                        Proskauer and Greenberg
                                        Traurig/PREPA regarding special
                                        revenues case.
08/23/17   Paul Possinger       205     Call with AAFAF advisors regarding          1.80   $1,314.00
                                        analysis for 922/928 dispute.
08/23/17   Ralph C. Ferrara     205     Participate in portion of PREPA call        0.80    $584.00
                                        regarding special revenues complaint.
08/23/17   John E. Roberts      205     Call with PREPA regarding special           2.00   $1,460.00
                                        revenues case (1.80); Preparation for
                                        same (0.20).
08/24/17   Paul Possinger       205     Call with Greenberg Traurig regulatory      2.40   $1,752.00
                                        team regarding special revenues case
                                        and defenses to same (1.00); Follow-up
                                        call with Greenberg Traurig regarding
                                        evidentiary matters in special revenues
                                        dispute (1.40).
08/24/17   John E. Roberts      205     Call with PREPA team regarding              1.50   $1,095.00
                                        strategy in special revenues case.
 Case:17-03283-LTS Doc#:2053-2 Filed:12/15/17 Entered:12/15/17 19:19:26 Desc:
33260 FOMB                Exhibit B Page 57 of 125             Invoice 170126125
PROFESSOR ARTHUR J. GONZALEZ, FOMB BOARD
MEMBER
   0022 PROMESA TITLE III: PREPA                                                                Page 8


Date         Timekeeper           Task              Description                       Hours     Amount
08/24/17     Jonathan E. Richman 205 Teleconference with K. Finger, D.                 1.50    $1,095.00
                                     Cleary, P. Possinger, A. Ashton, E.
                                     Barak, J. Roberts and J. Zajac regarding
                                     Assured case and strategy.
08/24/17  Chris Theodoridis   205    Participate in teleconference regarding           1.40    $1,022.00
                                     response to PREPA complaint with
                                     Greenberg Traurig.
08/24/17  Ehud Barak          205    Call with Greenberg regarding special             1.70    $1,241.00
                                     revenues complaint
08/24/17  Ralph C. Ferrara    205    Participate in portion of call regarding          0.30     $219.00
                                     PREPA special revenues complaint and
                                     defense to same.
08/24/17  Jared Zajac         205    Call with N. Mitchell, D. Cleary, P.              1.70    $1,241.00
                                     Possinger, A. Ashton, J. Richman, and
                                     J. Levitan regarding special revenues
                                     case strategy.
08/25/17  Jonathan E. Richman 205    Teleconference with trustee's counsel,            0.20     $146.00
                                     Greenberg Traurig, A. Ashton, P.
                                     Possinger regarding potential
                                     intervention.
08/29/17  Paul Possinger      205    Discuss PREPA issues with N.                      0.30     $219.00
                                     Mitchell.
Communications with the Commonwealth and its Representatives                          38.90   $28,397.00


Documents Filed on Behalf of the Board -- 206


Date         Timekeeper            Task                  Description                  Hours     Amount
08/03/17     Chris Theodoridis    206     Confer with P. Possinger and E. Barak        0.40     $292.00
                                          regarding reply to utilities objection.
08/04/17     Daniel Desatnik      206     Call with Greenberg Traurig regarding        1.30     $949.00
                                          utilities motion and other issues (0.40);
                                          Preparation of same (0.90).
08/04/17     Ehud Barak           206     Review and revise filings.                   2.80    $2,044.00
08/05/17     Jeffrey W. Levitan   206     Review bondholder response,                  1.40    $1,022.00
                                          declaration, and outline responses.
08/10/17     Jonathan E. Richman 206      Review materials for motion to dismiss       0.90     $657.00
                                          in UTIER case.
08/11/17     Ann M. Ashton        206     Review Assured complaint regarding           5.70    $4,161.00
                                          special revenue claims and related
                                          material in preparation for preparing
                                          response (5.10); E-mails and
                                          discussions with E. Barak, J. Levitan
                                          and J. Roberts regarding same (0.60).
08/11/17     Jonathan E. Richman 206      Draft and review e-mails regarding pro       2.30    $1,679.00
                                          hac filings and appearances (0.20);
                                          Review materials for UTIER collective
                                          bargaining case motion to dismiss
                                          (2.10).
 Case:17-03283-LTS Doc#:2053-2 Filed:12/15/17 Entered:12/15/17 19:19:26 Desc:
33260 FOMB                Exhibit B Page 58 of 125             Invoice 170126125
PROFESSOR ARTHUR J. GONZALEZ, FOMB BOARD
MEMBER
   0022 PROMESA TITLE III: PREPA                                                            Page 9


Date       Timekeeper            Task                  Description                 Hours    Amount
08/16/17   Jared Zajac          206     Meet with J. Levitan regarding Assured      0.30    $219.00
                                        complaint response (0.20);
                                        Teleconference with E. Barak regarding
                                        same (0.10).
08/16/17   John E. Roberts      206     Draft outline for supplemental lift-stay    1.60   $1,168.00
                                        brief on PROMESA 305/306 as
                                        requested by Judge Swain.
08/16/17   Jeffrey W. Levitan   206     Teleconference with A. Ashton               0.20    $146.00
                                        regarding response to Assured
                                        complaint.
08/18/17   Chris Theodoridis    206     Prepare joint administration motion.        4.30   $3,139.00
08/19/17   Chris Theodoridis    206     Revise joint administration motion.         2.10   $1,533.00
08/19/17   Ehud Barak           206     Review and e-mail comments on               0.80    $584.00
                                        PREPA joint administrative motion.
08/20/17   Jonathan E. Richman 206      Draft and review e-mails regarding          0.10     $73.00
                                        UTIER stipulation.
08/20/17   Chris Theodoridis    206     Revise joint administration motion.         3.40   $2,482.00
08/20/17   Paul Possinger       206     Review draft joint administration           1.20    $876.00
                                        motion for PREPA (0.40);
                                        Teleconference with team regarding
                                        same (0.80).
08/21/17   Paul Possinger       206     Review updated joint administration         0.70    $511.00
                                        motion and discuss with E. Barak.
08/21/17   Jeffrey W. Levitan   206     Teleconference with J. Zajac regarding      0.20    $146.00
                                        response to special revenues complaint.
08/21/17   Ehud Barak           206     Review and discuss internally issues        0.80    $584.00
                                        relating to PREPA joint administration
                                        motion.
08/21/17   John E. Roberts      206     Internal team call regarding potential      2.80   $2,044.00
                                        motion to dismiss arguments (0.50);
                                        Research regarding potential motion to
                                        dismiss arguments (1.70); Call with
                                        PREPA counsel regarding potential
                                        standing argument (0.60).
08/21/17   Jared Zajac          206     Review motion to dismiss arguments.         0.30    $219.00
08/22/17   Ehud Barak           206     Review and revise joint administrative      0.60    $438.00
                                        motion (0.40); Speak to C. Theodoridis
                                        about same (0.20).
08/22/17   Chris Theodoridis    206     Revise joint administration motion.         2.10   $1,533.00
08/23/17   Paul Possinger       206     Review PROMESA 305/306 research             0.60    $438.00
                                        for supplemental brief (0.20); E-mail
                                        team regarding same (0.10); Discuss
                                        with E. Barak (0.30).
08/23/17   John E. Roberts      206     Draft supplemental brief regarding          9.20   $6,716.00
                                        applicability of sections 305 and 306 to
                                        lift-stay motion to appoint receiver.
08/23/17   Lary Alan Rappaport 206      Review motion for joint administration.     0.20    $146.00
08/23/17   Michael A. Firestein 206     Review motion for joint administration.     0.30    $219.00
08/24/17   Matthew J. Morris    206     Draft outline of motion to dismiss          2.90   $2,117.00
                                        UTIER collective bargaining complaint.
 Case:17-03283-LTS Doc#:2053-2 Filed:12/15/17 Entered:12/15/17 19:19:26 Desc:
33260 FOMB                Exhibit B Page 59 of 125             Invoice 170126125
PROFESSOR ARTHUR J. GONZALEZ, FOMB BOARD
MEMBER
   0022 PROMESA TITLE III: PREPA                                                          Page 10


Date       Timekeeper            Task                  Description                Hours    Amount
08/24/17   Ann M. Ashton        206     Participate in call with Greenberg         1.70   $1,241.00
                                        Traurig, E. Barak, P. Possinger, J.
                                        Roberts and J. Richman regarding
                                        special revenues litigation.
08/25/17   Timothy W.           206     Review and revise supplemental             1.10    $803.00
           Mungovan                     opposition to lift-stay brief regarding
                                        sections PROMESA 305 and 306
                                        (0.90); Communications with J. Roberts
                                        regarding same (0.20).
08/25/17   Matthew J. Morris    206     Outline motion to dismiss UTIER            3.10   $2,263.00
                                        collective bargain complaint.
08/25/17   Stephen L. Ratner    206     Review draft supplemental brief            0.20    $146.00
                                        regarding PROMESA 305/306.
08/26/17   Jonathan E. Richman 206      Review and comment on outline of           2.50   $1,825.00
                                        motion to dismiss UTIER CBA
                                        complaint.
08/28/17   Matthew J. Morris    206     Revise outline for motion to dismiss       2.00   $1,460.00
                                        UTIER CBA case.
08/28/17   John E. Roberts      206     Call with A. Ashton regarding potential    1.50   $1,095.00
                                        arguments for dismissal of special
                                        revenues case (0.10); Related follow-up
                                        research (1.40).
08/29/17   Matthew J. Morris    206     Revise outline for motion to dismiss       1.90   $1,387.00
                                        UTIER CBA complaint.
08/29/17   Chris Theodoridis    206     Review creditor matrix and prepare         2.80   $2,044.00
                                        accompanying notice for filing.
08/29/17   Chantel L. Febus     206     Review UTIER CBA motion to dismiss         0.20    $146.00
                                        outline (0.10); E-mail J. Richman and
                                        others regarding same (0.10).
08/29/17   Jonathan E. Richman 206      Conference with M. Morris regarding        2.00   $1,460.00
                                        motion to dismiss UTIER CBA case
                                        (0.20); Revise outline of motion to
                                        dismiss UTIER complaint (1.80).
08/29/17   Jeffrey W. Levitan   206     Prepare outline of motion to dismiss       2.00   $1,460.00
                                        Assured complaint (1.60);
                                        Teleconference with A. Ashton, R.
                                        Ferrara, P. Possinger, J. Richman
                                        regarding motion to dismiss (0.40).
08/30/17   Jonathan E. Richman 206      Revise outline for motion to dismiss       4.80   $3,504.00
                                        UTIER CBA case (4.10); Review issues
                                        regarding response to Assured
                                        complaint (0.70).
08/30/17   Jeffrey W. Levitan   206     Revise motion to dismiss outline for       2.10   $1,533.00
                                        Assured complaint (1.80); E-mails with
                                        E. Barak, P. Possinger regarding
                                        response to complaint (0.20); E-mail
                                        with E. Barak regarding outline (0.10).
 Case:17-03283-LTS Doc#:2053-2 Filed:12/15/17 Entered:12/15/17 19:19:26 Desc:
33260 FOMB                Exhibit B Page 60 of 125             Invoice 170126125
PROFESSOR ARTHUR J. GONZALEZ, FOMB BOARD
MEMBER
   0022 PROMESA TITLE III: PREPA                                                             Page 11


Date        Timekeeper            Task                  Description                 Hours     Amount
08/30/17    Rebecca J. Sivitz    206     Review union complaint and related          1.10     $803.00
                                         correspondence based on bargaining
                                         agreement (0.70); Participate in
                                         conference call with L. Douthitt and S.
                                         Faust regarding same (0.10); Develop
                                         research strategy (0.30).
08/30/17    Paul Possinger       206     E-mails regarding dismissal theories in     0.30     $219.00
                                         special revenues case.
08/30/17    Jared Zajac          206     Meeting with J. Levitan regarding           0.60     $438.00
                                         motion to dismiss (0.40); Review
                                         indenture regarding pledge provisions
                                         for same (0.20).
08/31/17    Jeffrey W. Levitan   206     Revise Assured motion to dismiss            1.20     $876.00
                                         outline (1.10); E-mail with P. Possinger
                                         regarding motion to dismiss (0.10).
Documents Filed on Behalf of the Board                                              80.60   $58,838.00


Non-Board Court Filings -- 207


Date        Timekeeper            Task                 Description                  Hours     Amount
08/03/17    Paul Possinger       207     Review reply regarding utility order and    0.60     $438.00
                                         Assured objection (0.60).
08/04/17    Paul Possinger       207     Review status of utility motion             0.40     $292.00
                                         objections.
08/05/17    Jeffrey W. Levitan   207     E-mails with C. Theodoridis, A.             0.40     $292.00
                                         Ashton, and P. Possinger regarding
                                         bondholder response in lift-stay
                                         proceeding.
08/07/17    Stephen L. Ratner    207     Review new PREPA complaints (0.80);         1.00     $730.00
                                         Conferences with M. Bienenstock, T.
                                         Mungovan regarding same (0.20).
08/07/17    Paul Possinger       207     Review UTIER complaint regarding            0.70     $511.00
                                         Appointments Clause and related e-
                                         mails.
08/07/17    Maja Zerjal          207     Review and comment on lift-stay             0.30     $219.00
                                         objection.
08/07/17    Guy Brenner          207     Review and analyze new union                0.90     $657.00
                                         complaint based on collective
                                         bargaining agreement.
08/07/17    Jonathan E. Richman 207      Review UTIER complaints and cited           2.70    $1,971.00
                                         materials (2.40); Draft and review e-
                                         mails regarding UTIER complaints and
                                         cited materials (0.20); Conference with
                                         M. Morris regarding UTIER complaints
                                         and cited materials (0.10).
 Case:17-03283-LTS Doc#:2053-2 Filed:12/15/17 Entered:12/15/17 19:19:26 Desc:
33260 FOMB                Exhibit B Page 61 of 125             Invoice 170126125
PROFESSOR ARTHUR J. GONZALEZ, FOMB BOARD
MEMBER
   0022 PROMESA TITLE III: PREPA                                                           Page 12


Date       Timekeeper            Task                   Description                Hours    Amount
08/07/17   Ann M. Ashton        207     Review materials prepared addressing        7.40   $5,402.00
                                        bondholders' reply argument on lift-stay
                                        motion (0.70); Discussion with J.
                                        Levitan regarding same (0.20); Review
                                        UTIER collective bargaining complaint
                                        (3.80); Review UTIER Appointment
                                        Clause complaint (2.70).
08/08/17   Guy Brenner          207     Review and analyze UTIER complaint          0.50    $365.00
                                        against Board regarding Appointments
                                        Clause.
08/08/17   John E. Roberts      207     Review and analyze UTIER complaint          2.70   $1,971.00
                                        regarding Appointments Clause (2.40);
                                        Call with A. Ashton regarding planning
                                        and staffing for upcoming briefing
                                        deadlines (0.30).
08/08/17   Scott A. Faust       207     Review PREPA-UTIER complaint                1.20    $876.00
                                        based on collective bargaining
                                        agreement.
08/08/17   Jonathan E. Richman 207      Review new complaints.                      3.40   $2,482.00
08/08/17   Stephen L. Ratner   207      Review new complaints in PREPA              0.30    $219.00
                                        case.
08/08/17   Jeffrey W. Levitan   207     Begin review of Assured complaint.          0.20    $146.00
08/08/17   Jared Zajac          207     Review and analyze bondholder               2.30   $1,679.00
                                        complaint regarding special revenues
                                        (1.60); Review trust agreement and
                                        analyze provisions (0.70).
08/08/17   Vincent Indelicato   207     Analyze PREPA bondholder complaint          1.00    $730.00
                                        regarding special revenues.
08/09/17   Rebecca J. Sivitz    207     Review collective bargaining complaint      1.60   $1,168.00
                                        and related case law.
08/09/17   Jonathan E. Richman 207      Review new complaints and related           2.70   $1,971.00
                                        research.
08/09/17   Jeffrey W. Levitan   207     Analyze Assured complaint and prepare       1.60   $1,168.00
                                        list of issues.
08/09/17   Stephen L. Ratner    207     Review new PREPA complaints.                0.30    $219.00
08/10/17   Bradley R. Bobroff   207     Review PREPA special revenue                0.90    $657.00
                                        complaint.
08/10/17   Maja Zerjal          207     Review draft opposition to stay relief      0.50    $365.00
                                        motion.
08/10/17   Ann M. Ashton        207     Review Assured special revenues             6.00   $4,380.00
                                        complaint and related materials,
                                        including bankruptcy code sections
                                        cited.
08/10/17   Matthew J. Morris    207     Review UTIER collective bargaining          3.60   $2,628.00
                                        complaint and statutes it addresses.
08/11/17   Jonathan E. Richman 207      Review materials regarding UTIER            0.80    $584.00
                                        case.
08/11/17   Timothy W.           207     Review new PREPA complaints (0.30);         0.50    $365.00
           Mungovan                     Communications with S. Ratner
                                        regarding same (0.20).
 Case:17-03283-LTS Doc#:2053-2 Filed:12/15/17 Entered:12/15/17 19:19:26 Desc:
33260 FOMB                Exhibit B Page 62 of 125             Invoice 170126125
PROFESSOR ARTHUR J. GONZALEZ, FOMB BOARD
MEMBER
   0022 PROMESA TITLE III: PREPA                                                           Page 13


Date       Timekeeper            Task                  Description                Hours     Amount
08/11/17   Matthew J. Morris    207     Analysis of UTIER collective               4.10    $2,993.00
                                        bargaining complaint and statutes
                                        referenced in same (3.70); Call with
                                        Puerto Rico counsel regarding same
                                        (0.40).
08/14/17   Matthew J. Morris    207     Analyze UTIER collective bargaining        1.90    $1,387.00
                                        complaint, relevant statutes and case
                                        law.
08/15/17   Jeffrey W. Levitan   207     Review informative motion and order        0.30     $219.00
                                        regarding supplemental briefing on
                                        PROMESA sections 305 and 306.
08/16/17   Timothy W.           207     Review UTIER notice of constitutional      0.40     $292.00
           Mungovan                     challenge (0.20); Communications with
                                        C. Febus and A. Ashton regarding
                                        coordinating on Appointments Clause
                                        issues with Aurelius team (0.20).
08/16/17   Ehud Barak           207     Review complaint filed by monolines        2.40    $1,752.00
                                        and create issue list for same.
08/16/17   Jeffrey W. Levitan   207     Review Assured complaint to prepare        0.30     $219.00
                                        for call.
08/17/17   Ralph C. Ferrara     207     Review UTIER complaint on                  0.80     $584.00
                                        Appointment Clause litigation (0.60);
                                        Left message for M. Harris regarding
                                        same (0.10).
08/17/17   Paul Possinger       207     Review special revenue complaint.          1.00     $730.00
08/21/17   Ehud Barak           207     Review special revenues complaint and      2.80    $2,044.00
                                        trust agreement.
08/21/17   Paul Possinger       207     Detailed review of special revenues        0.90     $657.00
                                        complaint.
08/22/17   Chris Theodoridis    207     Review movants' supplemental briefing      1.40    $1,022.00
                                        regarding PROMESA sections 305 and
                                        306.
08/23/17   Stephen L. Ratner    207     Review supplemental brief regarding        0.40     $292.00
                                        lift-stay motion (0.30); E-mail with M.
                                        Bienenstock, A. Ashton regarding
                                        response brief (0.10).
08/23/17   Paul Possinger       207     Review PROMESA 305/306 brief from          0.50     $365.00
                                        bondholders.
08/24/17   Ralph C. Ferrara    207      Review Assured adversary complaint.        0.20     $146.00
08/26/17   Jonathan E. Richman 207      Review Assured complaint (0.50); Draft     0.60     $438.00
                                        and review e-mails regarding same
                                        (0.10).
08/30/17   Chris Theodoridis    207     Review stipulation with KDC Solar          1.40    $1,022.00
                                        PRC LLC (0.80); Review stipulation
                                        with Great Lakes Dredge and Dock Co.,
                                        LLC (0.60).
Non-Board Court Filings                                                           63.90   $46,647.00
 Case:17-03283-LTS Doc#:2053-2 Filed:12/15/17 Entered:12/15/17 19:19:26 Desc:
33260 FOMB                Exhibit B Page 63 of 125             Invoice 170126125
PROFESSOR ARTHUR J. GONZALEZ, FOMB BOARD
MEMBER
   0022 PROMESA TITLE III: PREPA                                                             Page 14


Stay Matters -- 208


Date         Timekeeper           Task                  Description                  Hours    Amount
08/01/17     Ann M. Ashton       208     Review materials in connection with          0.80    $584.00
                                         lift-stay motion in preparation for call
                                         with Kramer Levin (0.20); Participate in
                                         call with Kramer Levin regarding lift-
                                         stay motion (0.40); Participate in call
                                         with S. Ratner, T. Mungovan and J.
                                         Roberts regarding lift-stay motion
                                         (0.20).
08/01/17     Timothy W.          208     Communications with M. Luskin                1.90   $1,387.00
             Mungovan                    regarding response and opposition to
                                         lift-stay motion (.50); Conference call
                                         with Kramer Levin concerning August
                                         8 hearing on lift-stay (0.60);
                                         Communications with A. Ashton, S.
                                         Ratner, and M. Bienenstock regarding
                                         same (0.80).
08/01/17     Paul Possinger      208     Review UCC statement regarding               0.80    $584.00
                                         bonds' lift-stay motion (0.40);
                                         Discussion with N. Mitchell regarding
                                         same (0.40).
08/01/17     John E. Roberts     208     Call with creditor counsel regarding         0.80    $584.00
                                         proposal for hearing on lift-stay motion
                                         to appoint receiver (0.60); Participte in
                                         team call to prepare for call with
                                         creditor counsel (0.20).
08/01/17     Stephen L. Ratner   208     Conferences with T. Mungovan, A.             1.00    $730.00
                                         Ashton, J. Roberts regarding lift-stay
                                         motion (0.30); E-mail with M.
                                         Bienenstock, T. Mayer regarding same
                                         (0.10); Review motion papers regarding
                                         lift-stay motion (0.30); Teleconference
                                         with T. Mayer, A. Ashton, T.
                                         Mungovan, J. Roberts regarding lift-
                                         stay hearing (0.30).
08/02/17     Stephen L. Ratner   208     Teleconferences and e-mail with T.           0.30    $219.00
                                         Mungovan and M. Bienenstock
                                         regarding lift-stay motion.
08/02/17     Ann M. Ashton       208     Discussion with E. Barak regarding lift-     0.30    $219.00
                                         stay opposition (0.20); Follow-up
                                         discussions with J. Roberts regarding
                                         same (0.10).
08/02/17     Paul Possinger      208     E-mails with AAFAF and PREPA                 0.30    $219.00
                                         regarding evidentiary needs for August
                                         9 lift-stay hearing.
08/02/17     Ehud Barak          208     Review and revise objections to lift-stay    0.80    $584.00
                                         motions (0.40); Discussions with P.
                                         Possinger, A. Ashton and M. Zerjal
                                         regarding same (0.40).
 Case:17-03283-LTS Doc#:2053-2 Filed:12/15/17 Entered:12/15/17 19:19:26 Desc:
33260 FOMB                Exhibit B Page 64 of 125             Invoice 170126125
PROFESSOR ARTHUR J. GONZALEZ, FOMB BOARD
MEMBER
   0022 PROMESA TITLE III: PREPA                                                            Page 15


Date       Timekeeper            Task                   Description                 Hours    Amount
08/03/17   Paul Possinger       208     Review correspondence regarding lift-        0.30    $219.00
                                        stay motion (0.30).
08/03/17   Ehud Barak           208     Review draft objection to lift-stay          0.60    $438.00
                                        motion.
08/03/17   Stephen L. Ratner    208     Review materials regarding lift-stay         0.70    $511.00
                                        motions (0.40); Conferences and e-mail
                                        with T. Mungovan and M. Bienenstock
                                        regarding same (0.30).
08/03/17   Maja Zerjal          208     Review draft objection to lift-stay          0.80    $584.00
                                        motion (0.60); Discussion regarding
                                        same with E. Barak and C. Theodoridis
                                        (0.20).
08/03/17   Ralph C. Ferrara     208     Discussion with A. Ashton regarding          0.70    $511.00
                                        lift-stay hearing (0.20); Teleconference
                                        with M. Zerjal and A. Ashton regarding
                                        same (0.50).
08/04/17   Jared Zajac          208     Review bond trustee reply to stay            0.20    $146.00
                                        opposition.
08/04/17   Jeffrey W. Levitan   208     Conference and e-mail with C.                0.60    $438.00
                                        Theodoridis regarding case
                                        management order and response
                                        deadline regarding lift-stay papers
                                        (0.20); Review indenture trustee
                                        response to lift stay (0.30) E-mails with
                                        P. Possinger and C. Theodoridis
                                        regarding same (0.10).
08/04/17   Timothy W.           208     Communications with S. Ratner                0.30    $219.00
           Mungovan                     regarding August 9 hearing regarding
                                        lift-stay motion.
08/04/17   Paul Possinger       208     Review reply from creditors regarding        1.20    $876.00
                                        lift-stay motion and related e-mails.
08/05/17   Ann M. Ashton        208     Discussion with E. Barak regarding           0.30    $219.00
                                        reply to PREPA lift-stay opposition
                                        (0.10); Review same (0.10); E-mail to
                                        E. Barak regarding same and regarding
                                        preparation of arguments addressing
                                        lift-stay for hearing (0.10).
08/05/17   Jonathan E. Richman 208      Review filings regarding motion to lift      0.20    $146.00
                                        stay.
08/05/17   Jared Zajac          208     E-mail to A. Ashton regarding lift-stay      0.10     $73.00
                                        reply.
08/06/17   Jared Zajac          208     Review and analyze bondholders' lift-        1.30    $949.00
                                        stay reply (0.60); Review cases
                                        regarding same (0.40); Draft summary
                                        of analysis for J. Levitan and A. Ashton
                                        (0.30).
08/06/17   Jonathan E. Richman 208      Review reply regarding motion to lift        1.60   $1,168.00
                                        stay (1.20); Review research regarding
                                        same (0.40).
 Case:17-03283-LTS Doc#:2053-2 Filed:12/15/17 Entered:12/15/17 19:19:26 Desc:
33260 FOMB                Exhibit B Page 65 of 125             Invoice 170126125
PROFESSOR ARTHUR J. GONZALEZ, FOMB BOARD
MEMBER
   0022 PROMESA TITLE III: PREPA                                                           Page 16


Date       Timekeeper            Task                    Description               Hours    Amount
08/06/17   William D. Dalsen    208     Participate in team call regarding reply    4.40   $3,212.00
                                        to lift-stay motion in PREPA case
                                        (0.60); Call with L. Stafford regarding
                                        lift-stay motion (0.20); Review cases
                                        cited in lift-stay motion (1.80); Draft
                                        hearing outline (1.80).
08/06/17   Laura Stafford       208     Review and analyze lift-stay motion         3.60   $2,628.00
                                        (3.20); Call with A. Ashton, W. Dalsen,
                                        and J. Levitan regarding same (0.40).
08/06/17   Ann M. Ashton        208     Call with J. Levitan, E. Barak, W.          0.70    $511.00
                                        Dalsen and L. Stafford regarding reply
                                        filed by movants regarding lift-stay
                                        motion and preparation of outline of
                                        counter-arguments for hearing.
08/06/17   Jeffrey W. Levitan   208     Review J. Zajac and J. Richman              3.10   $2,263.00
                                        comments regarding analysis of lift-stay
                                        reply (0.20); Review section of Peaje
                                        opposition in connection with same
                                        (0.20); Participate in call with A.
                                        Ashton and E. Barak regarding hearing
                                        outline preparation (0.70); E-mails with
                                        E. Barak regarding PREPA arguments
                                        (0.20); Review cases cited in
                                        bondholder response and outline
                                        distinguishing factors (1.80).
08/07/17   Jared Zajac          208     Review and analyze summary of UCC           0.20    $146.00
                                        arguments.
08/07/17   Jonathan E. Richman 208      Draft and review e-mails regarding          2.20   $1,606.00
                                        motion to lift-stay (0.90);
                                        Teleconference with A. Ashton
                                        regarding same (0.10); Teleconference
                                        with Proskauer and O'Melveny teams to
                                        prepare for hearing on motion to lift
                                        stay (1.10); Teleconference with A.
                                        Ashton regarding same (0.10).
08/07/17   Stephen L. Ratner    208     Review materials regarding lift-stay        0.40    $292.00
                                        motion.
 Case:17-03283-LTS Doc#:2053-2 Filed:12/15/17 Entered:12/15/17 19:19:26 Desc:
33260 FOMB                Exhibit B Page 66 of 125             Invoice 170126125
PROFESSOR ARTHUR J. GONZALEZ, FOMB BOARD
MEMBER
   0022 PROMESA TITLE III: PREPA                                                            Page 17


Date       Timekeeper            Task                   Description                 Hours    Amount
08/07/17   Jeffrey W. Levitan   208     E-mail with E. Barak regarding hearing       8.60   $6,278.00
                                        outline for lift-stay hearing (0.10);
                                        Review W. Dalsen e-mail and draft
                                        hearing outline (0.30); Review cases
                                        cited by bondholder, compare to
                                        outline, and prepare revisions (3.10); E-
                                        mail and teleconference with W. Dalsen
                                        regarding revising outline (0.20);
                                        Teleconference with A. Ashton
                                        regarding outline revisions (0.10);
                                        Teleconference with A. Ashton to
                                        prepare for call with Greenberg
                                        regarding hearing (0.20); Edit outline
                                        and email same to W. Dalsen (1.80); E-
                                        mail with S. Weise regarding comments
                                        on outline (0.10); Participate in call
                                        with M. Bienenstock, N. Mitchell
                                        regarding preparation for lift-stay
                                        hearing (1.40); E-mail with S. Weise
                                        regarding UCC additions to outline
                                        (0.10); Edit revised outline (0.60);
                                        Teleconference with W. Dalsen
                                        regarding comments on revised outline
                                        (0.60).
08/07/17   William D. Dalsen    208     Continue review of cases cited in lift-      5.90   $4,307.00
                                        stay motion (4.90); Correspondence
                                        with team regarding same (0.10); Draft
                                        argument outline for omnibus hearing
                                        regarding same (0.90).
08/07/17   Laura Stafford       208     Review and analyze PREPA documents           4.90   $3,577.00
                                        cited in motion to lift stay to prepare
                                        outline for M. Bienenstock argument at
                                        omnibus hearing.
08/07/17   Ehud Barak           208     Draft summaries of pleadings and             3.30   $2,409.00
                                        talking points for lift-stay hearing.
08/08/17   Jeffrey W. Levitan   208     Review S. Weise revisions to lift-stay       2.90   $2,117.00
                                        outline (0.20); E-mail exchange with E.
                                        Barak regarding Greenberg Traurig
                                        comments to outline (0.20); Review
                                        relevant cases and analyze
                                        distinguishing factors (1.00); E-mail
                                        exchange with W. Dalsen regarding
                                        revisions to outline (0.40); E-mail with
                                        E. Barak regarding revisions to outline
                                        (0.10); Review Greenberg Traurig
                                        comments to outline (0.20); Conference
                                        with J. Zajac regarding outline (0.20);
                                        Conference with J. Zajac and E. Barak
                                        regarding outline revisions, legal issues
                                        (0.20); Review Greenberg Traurig
                                        summary (0.20); Review final revisions
                                        to outline (0.20).
 Case:17-03283-LTS Doc#:2053-2 Filed:12/15/17 Entered:12/15/17 19:19:26 Desc:
33260 FOMB                Exhibit B Page 67 of 125             Invoice 170126125
PROFESSOR ARTHUR J. GONZALEZ, FOMB BOARD
MEMBER
   0022 PROMESA TITLE III: PREPA                                                             Page 18


Date       Timekeeper            Task                   Description                  Hours    Amount
08/08/17   Maja Zerjal          208     Review objection to lift-stay motion.         0.40    $292.00
08/08/17   Jared Zajac          208     Review outline of lift-stay arguments         3.90   $2,847.00
                                        (0.40); Meetings with J. Levitan
                                        regarding same (0.20); Meeting with E.
                                        Barak regarding same (0.20); E-mail
                                        with W. Dalsen regarding outline
                                        (0.10); Review and analysis of
                                        Greenberg Traurig comments (0.90);
                                        Review and analysis of S. Weise
                                        comments (0.20); Revise outline (1.90).
08/08/17   Ehud Barak           208     Review outline of counter arguments to        3.90   $2,847.00
                                        lift-stay and review Greenberg Traurig's
                                        comments (2.20); Review PREPA
                                        memorandum for hearing (1.70).
08/09/17   Jared Zajac          208     Review facts from lift-stay motion.           0.30    $219.00
08/16/17   Ralph C. Ferrara     208     Review notices regarding PREPA                0.60    $438.00
                                        receiver and lift-stay motion.
08/18/17   Paul Possinger       208     Review 305/306 research for                   0.40    $292.00
                                        supplemental stay briefs.
08/22/17   Jeffrey W. Levitan   208     Review bondholders supplemental lift-         1.20    $876.00
                                        stay brief and cases cited.
08/22/17   Paul Possinger       208     Review 305/306 brief from lift-stay           0.40    $292.00
                                        movants.
08/23/17   Ann M. Ashton        208     E-mails with J. Roberts and P.                0.30    $219.00
                                        Possinger regarding response to lift-stay
                                        motion addressing PROMESA Section
                                        305/306.
08/23/17   Jonathan E. Richman 208      Draft and review e-mails regarding stay       0.20    $146.00
                                        issues.
08/24/17   Jonathan E. Richman 208      Review supplement to lift-stay motion         1.10    $803.00
                                        and related research.
08/24/17   John E. Roberts      208     Draft and revise supplemental brief           4.60   $3,358.00
                                        regarding application of PROMESA
                                        305/306 to lift-stay motion to appoint
                                        receiver.
08/24/17   Ann M. Ashton        208     Review draft supplement brief in              1.50   $1,095.00
                                        opposition to lift-stay motions (0.90);
                                        Review AAFAF draft regarding same
                                        (0.40); Discussions and e-mails with J.
                                        Roberts regarding same (0.20).
08/24/17   Chris Theodoridis    208     Review stipulation to modify stay.            1.30    $949.00
08/24/17   Ralph C. Ferrara     208     Review movants’ supplemental brief for        0.20    $146.00
                                        relief from automatic stay.
08/24/17   Paul Possinger       208     Review PROMESA 305/306 response               2.70   $1,971.00
                                        briefs (2.30); E-mails regarding lift-stay
                                        request (0.40).
 Case:17-03283-LTS Doc#:2053-2 Filed:12/15/17 Entered:12/15/17 19:19:26 Desc:
33260 FOMB                Exhibit B Page 68 of 125             Invoice 170126125
PROFESSOR ARTHUR J. GONZALEZ, FOMB BOARD
MEMBER
   0022 PROMESA TITLE III: PREPA                                                          Page 19


Date       Timekeeper            Task                   Description               Hours    Amount
08/24/17   Jared Zajac          208     Review and analyze draft Greenberg         4.30   $3,139.00
                                        section 305 brief (0.30); Review and
                                        analyze bondholder's 305 brief (0.50);
                                        Review and analyze draft 305 brief
                                        (0.90); Revise same (2.20); E-mails
                                        with P. Possinger, J. Levitan, and E.
                                        Barak regarding same (0.20); E-mail E.
                                        Barak regarding same (0.10); E-mail J.
                                        Levitan regarding same (0.10).
08/24/17   Ehud Barak           208     Review and revise PREPA                    1.40   $1,022.00
                                        supplemental brief on lift-stay motion.
08/25/17   Ehud Barak           208     Review and revise PREPA                    3.80   $2,774.00
                                        supplemental brief.
08/25/17   Jared Zajac          208     Revise supplemental brief (2.10);          5.40   $3,942.00
                                        Review cases cited in briefs (2.10);
                                        Analyze outline of brief for key points
                                        (0.30); E-mails with P. Possinger, E.
                                        Barak, and J. Levitan regarding brief
                                        (0.30); Call with E. Barak regarding
                                        same (0.10); Call with P. Possinger
                                        regarding same (0.10); Call with J.
                                        Levitan regarding same (0.40).
08/25/17   Paul Possinger       208     Review updated version of PROMESA          0.90    $657.00
                                        305/306 brief (0.70); Analysis of PV
                                        Properties lift-stay demand (0.20).
08/25/17   Jonathan E. Richman 208      Review and comment on supplemental         0.90    $657.00
                                        opposition to motion to lift stay.
08/25/17   John E. Roberts      208     Revise supplemental brief concerning       3.30   $2,409.00
                                        PROMESA sections 305 and 306 and
                                        effect on lift-stay motion per comments
                                        of A. Ashton, J. Richman, and
                                        bankruptcy team.
08/25/17   Chris Theodoridis    208     Review Greenberg Traurig's draft           2.90   $2,117.00
                                        supplemental brief regarding
                                        PROMESA sections 305 and 306
                                        (1.60); Review motion to enforce
                                        automatic stay in PV Properties case
                                        (1.30).
08/25/17   Jeffrey W. Levitan   208     E-mail with J. Zajac regarding revised     2.10   $1,533.00
                                        supplemental brief on lift-stay (0.10);
                                        Review M. Bienenstock memorandum
                                        regarding same (0.10); Review A.
                                        Ashton comments to same (0.10);
                                        Review and revise draft supplement and
                                        prepare list of comments (1.20); Review
                                        Greenberg Traurig draft supplemental
                                        brief (0.20); Conference with J. Zajac
                                        regarding revisions to supplemental
                                        brief (0.40).
08/26/17   Stephen L. Ratner    208     Review draft supplemental brief.           0.40    $292.00
08/26/17   Paul Possinger       208     Review updated draft of PROMESA            1.20    $876.00
                                        305/306 brief.
 Case:17-03283-LTS Doc#:2053-2 Filed:12/15/17 Entered:12/15/17 19:19:26 Desc:
33260 FOMB                Exhibit B Page 69 of 125             Invoice 170126125
PROFESSOR ARTHUR J. GONZALEZ, FOMB BOARD
MEMBER
   0022 PROMESA TITLE III: PREPA                                                               Page 20


Date        Timekeeper            Task                   Description                 Hours      Amount
08/26/17    Martin J.            208     Review, research, revise, and draft          4.40     $3,212.00
            Bienenstock                  supplemental PREPA brief regarding
                                         stay litigation and PROMESA sections
                                         305 and 306.
08/26/17    Timothy W.           208     Review supplemental brief addressing          0.40     $292.00
            Mungovan                     PROMESA 305/306 and revisions from
                                         M. Bienenstock regarding same.
08/27/17    Timothy W.           208     Review supplemental brief addressing          0.60     $438.00
            Mungovan                     PROMESA 305/306 (0.20);
                                         Communications with J. Roberts
                                         regarding same (0.10); Review edits
                                         from J. Levitan on same (0.30).
08/27/17    Jared Zajac          208     Review P. Possinger edits to                  0.10      $73.00
                                         supplemental brief.
08/27/17    Ann M. Ashton        208     E-mails with T. Mungovan, J. Roberts          0.40     $292.00
                                         and P. Possinger regarding
                                         supplemental brief in opposition to lift-
                                         stay motion.
08/27/17    Jeffrey W. Levitan   208     E-mail with T. Mungovan regarding             0.40     $292.00
                                         supplemental receiver brief (0.10);
                                         Review revised supplemental receiver
                                         brief (0.30).
08/27/17    John E. Roberts      208     Revise supplemental brief concerning          1.70    $1,241.00
                                         motion to lift stay per comments of
                                         Martin Bienenstock, Tim Mungovan,
                                         and co-counsel.
08/28/17    Paul Possinger       208     Review argument regarding PREPA               0.80     $584.00
                                         bondholder lift-stay motion.
08/28/17    Jeffrey W. Levitan   208     Review revised supplemental brief             0.40     $292.00
                                         (0.30); E-mail J. Roberts regarding
                                         same (0.10).
08/28/17    John E. Roberts      208     Revise supplemental brief for lift-stay       0.90     $657.00
                                         motion per comments of partners and
                                         cite checkers.
08/29/17    Jared Zajac          208     Review supplemental brief (0.50); Call        0.80     $584.00
                                         with J. Levitan regarding same (0.10);
                                         Meeting with E. Barak regarding same
                                         (0.10); E-mail J. Roberts regarding
                                         same (0.10).
08/29/17    John E. Roberts      208     Proofread, revise and prepare for filing      0.70     $511.00
                                         supplemental brief concerning
                                         PROMESA 305/306.
Stay Matters                                                                         117.30   $85,629.00


Adversary Proceeding -- 209


Date        Timekeeper           Task                   Description                  Hours      Amount
08/18/17    Jonathan E. Richman 209      Draft stipulation regarding UTIER            0.80      $584.00
                                         complaint (0.60); Draft and review e-
                                         mails regarding status of case (0.20).
 Case:17-03283-LTS Doc#:2053-2 Filed:12/15/17 Entered:12/15/17 19:19:26 Desc:
33260 FOMB                Exhibit B Page 70 of 125             Invoice 170126125
PROFESSOR ARTHUR J. GONZALEZ, FOMB BOARD
MEMBER
   0022 PROMESA TITLE III: PREPA                                                            Page 21


Adversary Proceeding                                                                 0.80    $584.00


Analysis and Strategy -- 210


Date         Timekeeper            Task                 Description                 Hours   Amount
08/02/17     Ralph C. Ferrara     210     E-mail to T. Mungovan and S. Ratner        0.60   $438.00
                                          regarding hearing on lift-stay motion
                                          and strategy going forward (0.20);
                                          Review materials regarding same
                                          (0.40).
08/07/17     Ann M. Ashton        210     Discussion and follow-up with J.           0.70    $511.00
                                          Richman and T. Mungovan regarding
                                          newly-filed PREPA complaints.
08/08/17     Ann M. Ashton        210     Discussion with J. Roberts regarding       0.80    $584.00
                                          newly-filed complaints and strategy for
                                          same (0.60); E-mails with S. Faust
                                          regarding UTIER complaint based on
                                          collective bargaining agreement (0.20).
08/08/17     Jonathan E. Richman 210      Teleconference with L. Stafford            0.60    $438.00
                                          regarding UTIER complaints (0.10);
                                          Draft e-mail regarding same (0.10);
                                          Teleconference with J. Levitan
                                          regarding new Assured case (0.10);
                                          Teleconference with A. Ashton
                                          regarding new suits (0.20); Conference
                                          with M. Morris regarding UTIER
                                          collective bargaining complaint (0.10).
08/08/17     Jeffrey W. Levitan   210     Teleconference with J. Richman             0.60    $438.00
                                          regarding Assured complaint (0.10);
                                          Conference with J. Zajac regarding
                                          Assured complaint (0.30); E-mail
                                          exchange with E. Barak regarding
                                          analysis of Assured complaint (0.20).
08/09/17     Jeffrey W. Levitan   210     Conferences with J. Zajac regarding        0.70    $511.00
                                          complaint (0.40); Conference with E.
                                          Barak and J. Zajac regarding analysis
                                          for complaint (0.30).
08/09/17     Scott A. Faust       210     Meeting with R. Sivitz regarding           0.40    $292.00
                                          UTIER collective bargaining complaint.
08/09/17     Jonathan E. Richman 210      Conferences with M. Morris regarding       0.20    $146.00
                                          UTIER collective bargaining complaint.
08/09/17     Jared Zajac          210     Meetings with J. Levitan regarding         1.10    $803.00
                                          special revenues complaint (0.60);
                                          Meeting with E. Barak regarding
                                          special revenues complaint (0.10); Call
                                          with J. Levitan and E. Barak regarding
                                          same (0.30); E-mail with E. Barak
                                          regarding service of complaint (0.10).
 Case:17-03283-LTS Doc#:2053-2 Filed:12/15/17 Entered:12/15/17 19:19:26 Desc:
33260 FOMB                Exhibit B Page 71 of 125             Invoice 170126125
PROFESSOR ARTHUR J. GONZALEZ, FOMB BOARD
MEMBER
   0022 PROMESA TITLE III: PREPA                                                           Page 22


Date       Timekeeper            Task                   Description                Hours    Amount
08/10/17   Jeffrey W. Levitan   210     E-mail and conference with E. Barak         0.70    $511.00
                                        regarding analysis for Assured action
                                        (0.20); Teleconference with A. Ashton
                                        regarding response to Assured action
                                        (0.20); Conferences with J. Zajac
                                        regarding section 928 (0.30)
08/10/17   Ann M. Ashton        210     Prepare for and participate in call with    1.50   $1,095.00
                                        S. Faust, J. Richman, G. Brenner and
                                        M. Morris regarding UTIER collective
                                        bargaining complaint (0.90); Participate
                                        in call with J. Levitan regarding
                                        Assured special revenues complaint
                                        (0.20); Discussion with T. Mungovan
                                        regarding same (0.30); E-mails with B.
                                        Bobroff regarding same (0.10).
08/10/17   Timothy W.           210     Communications with S. Ratner and M.        0.40    $292.00
           Mungovan                     Harris regarding UTIER Appointments
                                        Clause claims.
08/10/17   Bradley R. Bobroff   210     Correspondence with team regarding          0.20    $146.00
                                        PREPA special revenue complaint.
08/10/17   Guy Brenner          210     Strategy call regarding UTIER               0.40    $292.00
                                        collective bargaining complaint with A.
                                        Ashton, J. Richman, S. Faust and M.
                                        Morris.
08/10/17   Jonathan E. Richman 210      Teleconference with S. Faust, R. Sivitz,    0.40    $292.00
                                        A. Ashton, M. Morris and G. Brenner
                                        regarding UTIER collective bargaining
                                        complaint.
08/10/17   Rebecca J. Sivitz    210     Prepare for call with team for PREPA        0.60    $438.00
                                        collective bargaining case (0.20);
                                        Participate in call regarding same
                                        (0.40).
08/10/17   Scott A. Faust       210     Prepare for call regarding UTIER            0.60    $438.00
                                        collective bargaining complaint (0.20);
                                        Teleconference with Proskauer
                                        litigation team regarding collective
                                        bargaining complaint (0.40).
08/11/17   Jonathan E. Richman 210      Conference with M. Morris regarding         0.30    $219.00
                                        collection bargain case (0.20);
                                        Teleconference with R. Ferrara
                                        regarding status of cases (0.10).
08/11/17   Jeffrey W. Levitan   210     E-mail with E. Barak regarding              0.20    $146.00
                                        financial analysis (0.10);
                                        Teleconference with A. Ashton
                                        regarding section 928 issues (0.10).
08/11/17   Timothy W.           210     Communications with A. Ashton               0.80    $584.00
           Mungovan                     regarding motion to lift-stay and new
                                        adversary proceedings.
08/11/17   Scott A. Faust       210     Teleconference with C. George, M.           0.90    $657.00
                                        Morris and R. Sivitz regarding
                                        collective bargaining case.
 Case:17-03283-LTS Doc#:2053-2 Filed:12/15/17 Entered:12/15/17 19:19:26 Desc:
33260 FOMB                Exhibit B Page 72 of 125             Invoice 170126125
PROFESSOR ARTHUR J. GONZALEZ, FOMB BOARD
MEMBER
   0022 PROMESA TITLE III: PREPA                                                          Page 23


Date       Timekeeper            Task                  Description                Hours   Amount
08/14/17   Chris Theodoridis    210     Confer with E. Barak regarding PREPA       0.40   $292.00
                                        cases.
08/14/17   Ehud Barak           210     Discuss PREPA cases with C.                0.40    $292.00
                                        Theodoridis.
08/15/17   Jonathan E. Richman 210      Draft and review e-mails regarding         0.30    $219.00
                                        Assured and UTIER cases.
08/15/17   Jeffrey W. Levitan   210     E-mails with E. Barak regarding budget     0.20    $146.00
                                        issues.
08/15/17   Ann M. Ashton        210     Discussions with R. Ferrara regarding      0.20    $146.00
                                        special revenue litigation.
08/15/17   Lary Alan Rappaport 210      Review order regarding supplemental        0.20    $146.00
                                        briefing on PROMESA sections 305
                                        and 306 (0.10); E-mail with M.
                                        Firestein regarding same (0.10).
08/16/17   Ehud Barak           210     Participate in PREPA call with R.          0.30    $219.00
                                        Ferrara.
08/16/17   Ann M. Ashton        210     Discussion with J. Levitan regarding       0.70    $511.00
                                        response in Assured special revenues
                                        case (0.20); Discussion with R. Ferrara
                                        regarding same (0.30); Discussion with
                                        T. Mungovan regarding same (0.20).
08/16/17   Jeffrey W. Levitan   210     E-mail with E. Barak regarding Assured     0.80    $584.00
                                        issues (0.10); Conferences with E.
                                        Barak and J. Zajac regarding Assured
                                        special revenues case (0.40);
                                        Conference with J. Zajac regarding
                                        comments to Assured complaint (0.30).
08/16/17   Ralph C. Ferrara     210     Discussions with A. Ashton regarding       0.60    $438.00
                                        PREPA special revenues case (0.30);
                                        Prepare for call regarding special
                                        revenues complaint (0.30).
08/17/17   Paul Possinger       210     Review PREPA task list (0.30); Discuss     0.60    $438.00
                                        joint administration with E. Barak
                                        (0.30).
08/17/17   Jeffrey W. Levitan   210     Teleconference with A. Ashton              0.30    $219.00
                                        regarding applying arguments from
                                        other cases to Assured complaint.
08/17/17   Jonathan E. Richman 210      Draft and review e-mails regarding         0.40    $292.00
                                        UTIER and Assured cases.
08/17/17   Ralph C. Ferrara     210     Participate in call with Greenberg         0.70    $511.00
                                        Traurig regarding special revenue
                                        complaint.
08/17/17   Jared Zajac          210     E-mails with J. Levitan and E. Barak       0.20    $146.00
                                        regarding special revenue provisions.
08/17/17   Timothy W.           210     Communications with A. Ashton              0.40    $292.00
           Mungovan                     regarding Appointments Clause case,
                                        UTIER complaint regarding collective
                                        bargaining agreement.
 Case:17-03283-LTS Doc#:2053-2 Filed:12/15/17 Entered:12/15/17 19:19:26 Desc:
33260 FOMB                Exhibit B Page 73 of 125             Invoice 170126125
PROFESSOR ARTHUR J. GONZALEZ, FOMB BOARD
MEMBER
   0022 PROMESA TITLE III: PREPA                                                          Page 24


Date       Timekeeper           Task                  Description                 Hours    Amount
08/18/17   Jonathan E. Richman 210     Draft and review e-mails regarding          0.70    $511.00
                                       section 306 issues, and review filings
                                       and memos regarding same (0.60);
                                       Teleconference with A. Ashton
                                       regarding same (0.10).
08/18/17   Jeffrey W. Levitan   210    Conference with J. Zajac regarding          0.50    $365.00
                                       special revenue and bankruptcy
                                       provision decisions (0.30); Conference
                                       with J. Zajac and E. Barak regarding
                                       strategy (0.20).
08/18/17   Jared Zajac          210    Meet with J. Levitan regarding              0.50    $365.00
                                       complaint response (0.30);
                                       Teleconference with E. Barak and J.
                                       Levitan regarding same (0.20).
08/20/17   Chris Theodoridis    210    Confer with P. Possinger, E. Barak, and     0.90    $657.00
                                       M. Zerjal regarding joint
                                       administration.
08/21/17   Jonathan E. Richman 210     Teleconference with A. Ashton, P.           0.70    $511.00
                                       Possinger, E. Barak, J. Roberts and J.
                                       Zajac regarding motion to dismiss
                                       Assured case (0.50); Draft and review
                                       e-mails regarding UTIER collective
                                       bargaining case (0.20).
08/21/17   Ann M. Ashton        210    Prepare for call with Proskauer team        1.00    $730.00
                                       regarding response to special revenues
                                       case (0.20); Participate in same (0.50);
                                       Follow-up calls and e-mails with team
                                       regarding same (0.30).
08/21/17   Chantel L. Febus     210    E-mails with M. Harris and P. Possinger     0.30    $219.00
                                       regarding UTIER complaints.
08/21/17   Jared Zajac          210    E-mail with J. Levitan on current           1.00    $730.00
                                       expense definition (0.20); Call with J.
                                       Levitan, E. Barak, P. Possinger and A.
                                       Ashton regarding complaint (0.60); Call
                                       with J. Levitan regarding same (0.20).
08/21/17   Ehud Barak           210    Call with litigators regarding motion to    0.50    $365.00
                                       dismiss and next steps in special
                                       revenues case.
08/21/17   Paul Possinger       210    Teleconference with PREPA litigation        1.10    $803.00
                                       team regarding potential dismissal
                                       theories.
08/22/17   Jonathan E. Richman 210     Draft and review e-mails regarding          0.20    $146.00
                                       Assured case (0.10); Conference with
                                       M. Morris regarding UTIER collective
                                       bargaining case (0.10).
08/23/17   Chris Theodoridis    210    Participate in internal Proskauer call      1.80   $1,314.00
                                       regarding PREPA complaint response.
 Case:17-03283-LTS Doc#:2053-2 Filed:12/15/17 Entered:12/15/17 19:19:26 Desc:
33260 FOMB                Exhibit B Page 74 of 125             Invoice 170126125
PROFESSOR ARTHUR J. GONZALEZ, FOMB BOARD
MEMBER
   0022 PROMESA TITLE III: PREPA                                                           Page 25


Date       Timekeeper            Task                  Description                 Hours    Amount
08/23/17   Ralph C. Ferrara     210     Follow-up discussion with A. Ashton         0.50    $365.00
                                        regarding special revenues case (0.20);
                                        Left message for E. Barak regarding
                                        same (0.10); Teleconference with P.
                                        Possinger and A. Ashton regarding
                                        same (0.20).
08/24/17   Timothy W.           210     Communications with J. Richman, A.          0.50    $365.00
           Mungovan                     Ashton, and S. Ratner regarding status
                                        of complaints in PREPA and responses
                                        to same.
08/25/17   Ann M. Ashton        210     Participate in call with S. Ratner, T.      0.50    $365.00
                                        Mungovan and J. Richman regarding
                                        PREPA cases.
08/25/17   Stephen L. Ratner    210     Conferences and e-mail with T.              0.70    $511.00
                                        Mungovan, A. Ashton, J. Richman, P.
                                        Possinger and J. Roberts regarding
                                        PREPA cases and draft brief regarding
                                        PROMESA 305/306.
08/25/17   Jonathan E. Richman 210      Teleconference with T. Mungovan, S.         0.70    $511.00
                                        Ratner, A. Ashton regarding status of
                                        cases (0.50); Draft and review e-mails
                                        regarding strategy for Assured case
                                        (0.20).
08/25/17   Paul Possinger       210     Discuss dismissal theories with PREPA       0.50    $365.00
                                        team.
08/25/17   Jeffrey W. Levitan   210     Conference with J. Zajac regarding          0.10     $73.00
                                        response to special revenues complaint.
08/26/17   Paul Possinger       210     E-mails with PREPA team regarding           1.50   $1,095.00
                                        bondholder claims of property interest
                                        in revenues (0.40); E-mails with M.
                                        Bienenstock and team regarding trustee
                                        intervention request and dismissal
                                        theories for complaint (1.50).
08/26/17   Jeffrey W. Levitan   210     E-mail with A. Ashton regarding             0.20    $146.00
                                        motion to dismiss special revenues case.
08/27/17   Ann M. Ashton        210     E-mails with P. Possinger regarding         0.20    $146.00
                                        trustee request to intervene in special
                                        revenues case.
08/27/17   Jonathan E. Richman 210      Draft and review e-mails regarding          0.20    $146.00
                                        Assured case.
08/27/17   Ehud Barak           210     Review and revise PREPA strategy            3.20   $2,336.00
                                        memo
08/28/17   Jeffrey W. Levitan   210     Review P. Possinger e-mail regarding        0.30    $219.00
                                        motion to dismiss (0.10); Conference
                                        with A. Ashton regarding intervention
                                        (0.20).
08/28/17   Ann M. Ashton        210     Discussions with R. Ferrara regarding       0.50    $365.00
                                        response in special revenues case
                                        (0.20); E-mail to team regarding same
                                        (0.30).
08/28/17   Jonathan E. Richman 210      Draft and review e-mails regarding          0.20    $146.00
                                        strategy for Assured case.
 Case:17-03283-LTS Doc#:2053-2 Filed:12/15/17 Entered:12/15/17 19:19:26 Desc:
33260 FOMB                Exhibit B Page 75 of 125             Invoice 170126125
PROFESSOR ARTHUR J. GONZALEZ, FOMB BOARD
MEMBER
   0022 PROMESA TITLE III: PREPA                                                              Page 26


Date        Timekeeper           Task                  Description                   Hours     Amount
08/29/17    Ann M. Ashton       210      E-mails with J. Levitan and P.               0.90     $657.00
                                         Possinger regarding response to special
                                         revenues case (0.60); Conference call
                                         with R. Ferrara, P. Possinger, J. Levitan
                                         and J. Richman regarding same (0.30).
08/29/17    Paul Possinger      210      Discuss trustee intervention with team       1.10     $803.00
                                         regarding special revenues action
                                         (0.40); Discuss dismissal theories with
                                         J. Levitan, R Ferrara for special
                                         revenues case (0.70).
08/29/17    Jonathan E. Richman 210      Review correspondence regarding              0.50     $365.00
                                         Assured case (0.20); Conference with
                                         R. Ferrara, A. Ashton, and
                                         teleconference with P. Possinger, J.
                                         Levitan regarding Assured case strategy
                                         (0.30).
08/29/17    Ralph C. Ferrara    210      Left messages for, e-mail to and             1.00     $730.00
                                         teleconference with P. Possinger
                                         regarding motion to dismiss draft
                                         (0.40); Follow-up teleconference with
                                         P. Possinger and J. Levitan (0.60).
08/30/17    Jonathan E. Richman 210      Draft and review e-mails regarding           0.20     $146.00
                                         Assured case.
Analysis and Strategy                                                                42.10   $30,733.00


General Administration -- 212


Date        Timekeeper            Task                  Description                  Hours     Amount
08/01/17    Shealeen E. Schaefer 212     Review PREPA PACER filings.                  0.30      $75.00
08/02/17    Shealeen E. Schaefer 212     Review PREPA PACER filings in                0.20      $50.00
                                         matter.
08/02/17    Evelyn Rodriguez    212      E-mail exchanges regarding upcoming          3.80     $950.00
                                         hearings regarding PREPA lift-stay
                                         motion (0.20); Assist with preparation
                                         of Table of Authorities and Table of
                                         Contents for brief (1.40); Pull and
                                         organize electronic filings (0.80);
                                         Review filings for deadlines (1.40).
08/14/17    Chantel L. Febus    212      E-mails with M. DiGrande, S. Williams        0.30     $219.00
                                         and others regarding PREPA deadlines.
08/16/17    Chris Theodoridis   212      Confer with N. Haynes and L. Muchnik         0.10      $73.00
                                         regarding PREPA's case management
                                         order.
08/23/17    Chris Theodoridis   212      Review notice of amendment to utility        0.50     $365.00
                                         provider list.
08/24/17    Casey Quinn         212      Prepare working lists for J. Esses.          0.50     $125.00
08/28/17    Chris Theodoridis   212      Review amendment to utility provider         0.40     $292.00
                                         list.
General Administration                                                                6.10    $2,149.00
 Case:17-03283-LTS Doc#:2053-2 Filed:12/15/17 Entered:12/15/17 19:19:26 Desc:
33260 FOMB                Exhibit B Page 76 of 125             Invoice 170126125
PROFESSOR ARTHUR J. GONZALEZ, FOMB BOARD
MEMBER
   0022 PROMESA TITLE III: PREPA                                                       Page 27



Employment and Fee Applications -- 218


Date         Timekeeper            Task                 Description          Hours      Amount
08/16/17     Chris Theodoridis    218     Revise interim compensation         0.90      $657.00
                                          procedures order for PREPA.
08/18/17     Joshua A. Esses      218     Draft PREPA interim compensation    0.20       $146.00
                                          procedures for PREPA.
Employment and Fee Applications                                               1.10       $803.00


Total for Professional Services                                                      $342,475.00
 Case:17-03283-LTS Doc#:2053-2 Filed:12/15/17 Entered:12/15/17 19:19:26 Desc:
33260 FOMB                Exhibit B Page 77 of 125             Invoice 170126125
PROFESSOR ARTHUR J. GONZALEZ, FOMB BOARD
MEMBER
   0022 PROMESA TITLE III: PREPA                                         Page 28


Timekeeper Summary

Timekeeper                   Status                 Hours      Rate          Value
ANN M. ASHTON                PARTNER                 43.10    730.00    $31,463.00
BRADLEY R. BOBROFF           PARTNER                  1.10    730.00      $803.00
GUY BRENNER                  PARTNER                  2.40    730.00     $1,752.00
JEFFREY W. LEVITAN           PARTNER                 43.10    730.00    $31,463.00
JONATHAN E. RICHMAN          PARTNER                 47.40    730.00    $34,602.00
LARY ALAN RAPPAPORT          PARTNER                  0.40    730.00      $292.00
MARTIN J. BIENENSTOCK        PARTNER                 20.90    730.00    $15,257.00
MICHAEL A. FIRESTEIN         PARTNER                  0.30    730.00      $219.00
PAUL POSSINGER               PARTNER                 39.80    730.00    $29,054.00
RALPH C. FERRARA             PARTNER                 12.10    730.00     $8,833.00
SCOTT A. FAUST               PARTNER                  4.90    730.00     $3,577.00
STEPHEN L. RATNER            PARTNER                  6.00    730.00     $4,380.00
STEVEN O. WEISE              PARTNER                  9.50    730.00     $6,935.00
TIMOTHY W. MUNGOVAN          PARTNER                  9.10    730.00     $6,643.00
  Total for PARTNER                                 240.10             $175,273.00

CHANTEL L. FEBUS             SENIOR COUNSEL           0.80    730.00      $584.00
 Total for SENIOR COUNSEL                             0.80                $584.00

CHRIS THEODORIDIS            ASSOCIATE               44.40    730.00    $32,412.00
DANIEL DESATNIK              ASSOCIATE                1.30    730.00      $949.00
EHUD BARAK                   ASSOCIATE               46.60    730.00    $34,018.00
JARED ZAJAC                  ASSOCIATE               36.20    730.00    $26,426.00
JOHN E. ROBERTS              ASSOCIATE               37.40    730.00    $27,302.00
JOSHUA A. ESSES              ASSOCIATE                0.20    730.00      $146.00
LAURA STAFFORD               ASSOCIATE                8.50    730.00     $6,205.00
MAJA ZERJAL                  ASSOCIATE                7.50    730.00     $5,475.00
MATTHEW J. MORRIS            ASSOCIATE               23.60    730.00    $17,228.00
PENGTAO TENG                 ASSOCIATE                3.00    730.00     $2,190.00
REBECCA J. SIVITZ            ASSOCIATE                6.60    730.00     $4,818.00
VINCENT INDELICATO           ASSOCIATE                1.00    730.00      $730.00
WILLIAM D. DALSEN            ASSOCIATE               10.30    730.00     $7,519.00
  Total for ASSOCIATE                               226.60             $165,418.00

CASEY QUINN                  LEGAL ASSISTANT          0.50    250.00      $125.00
EVELYN RODRIGUEZ             LEGAL ASSISTANT          3.80    250.00      $950.00
SHEALEEN E. SCHAEFER         LEGAL ASSISTANT          0.50    250.00      $125.00
 Total for LEGAL ASSISTANT                            4.80               $1,200.00

                                Total               472.30             $342,475.00
 Case:17-03283-LTS Doc#:2053-2 Filed:12/15/17 Entered:12/15/17 19:19:26 Desc:
33260 FOMB                Exhibit B Page 78 of 125             Invoice 170126125
PROFESSOR ARTHUR J. GONZALEZ, FOMB BOARD
MEMBER
   0022 PROMESA TITLE III: PREPA                                        Page 29


For Charges and Disbursements

Date         Timekeeper               Type             Description       Amount
08/01/2017   Pengtao Teng       REPRODUCTION   REPRODUCTION                $8.10
08/01/2017   Pengtao Teng       REPRODUCTION   REPRODUCTION                $9.30
08/04/2017   Jonathan E.        REPRODUCTION   REPRODUCTION               $13.50
             Richman
08/06/2017   Jared Zajac        REPRODUCTION   REPRODUCTION                $3.45
08/07/2017   Jonathan E.        REPRODUCTION   REPRODUCTION                $7.20
             Richman
08/07/2017   Jonathan E.        REPRODUCTION   REPRODUCTION                $6.15
             Richman
08/08/2017   Jared Zajac        REPRODUCTION   REPRODUCTION                $2.40
08/08/2017   Jared Zajac        REPRODUCTION   REPRODUCTION                $7.80
08/09/2017   Jared Zajac        REPRODUCTION   REPRODUCTION                $6.30
08/09/2017   Jonathan E.        REPRODUCTION   REPRODUCTION               $12.30
             Richman
08/09/2017   Jared Zajac        REPRODUCTION   REPRODUCTION                $3.00
08/09/2017   Jared Zajac        REPRODUCTION   REPRODUCTION                $4.50
08/09/2017   Jared Zajac        REPRODUCTION   REPRODUCTION                $0.60
08/10/2017   Jared Zajac        REPRODUCTION   REPRODUCTION                $0.30
08/10/2017   Jared Zajac        REPRODUCTION   REPRODUCTION                $0.75
08/10/2017   Jared Zajac        REPRODUCTION   REPRODUCTION                $0.45
08/10/2017   Jared Zajac        REPRODUCTION   REPRODUCTION                $6.30
08/10/2017   Jared Zajac        REPRODUCTION   REPRODUCTION                $6.30
08/10/2017   Jared Zajac        REPRODUCTION   REPRODUCTION                $4.95
08/11/2017   Jonathan E.        REPRODUCTION   REPRODUCTION                $5.10
             Richman
08/11/2017   Eamon Wizner       REPRODUCTION   REPRODUCTION                $2.55
08/11/2017   Jonathan E.        REPRODUCTION   REPRODUCTION                $0.60
             Richman
08/11/2017   Eamon Wizner       REPRODUCTION   REPRODUCTION                $2.10
08/13/2017   Jonathan E.        REPRODUCTION   REPRODUCTION               $18.60
             Richman
08/13/2017   Jonathan E.        REPRODUCTION   REPRODUCTION               $16.80
             Richman
08/14/2017   Jonathan E.        REPRODUCTION   REPRODUCTION               $10.20
             Richman
08/14/2017   Jonathan E.        REPRODUCTION   REPRODUCTION                $0.60
             Richman
08/14/2017   Jonathan E.        REPRODUCTION   REPRODUCTION               $11.25
             Richman
08/15/2017   Eamon Wizner       REPRODUCTION   REPRODUCTION               $12.30
08/15/2017   Eamon Wizner       REPRODUCTION   REPRODUCTION                $0.90
08/15/2017   Eamon Wizner       REPRODUCTION   REPRODUCTION                $0.90
08/15/2017   Eamon Wizner       REPRODUCTION   REPRODUCTION                $0.90
08/15/2017   Eamon Wizner       REPRODUCTION   REPRODUCTION                $0.90
08/15/2017   Eamon Wizner       REPRODUCTION   REPRODUCTION                $0.90
08/15/2017   Eamon Wizner       REPRODUCTION   REPRODUCTION                $0.90
08/15/2017   Eamon Wizner       REPRODUCTION   REPRODUCTION                $0.90
08/15/2017   Eamon Wizner       REPRODUCTION   REPRODUCTION                $0.90
08/15/2017   Eamon Wizner       REPRODUCTION   REPRODUCTION                $0.90
08/15/2017   Eamon Wizner       REPRODUCTION   REPRODUCTION                $1.50
 Case:17-03283-LTS Doc#:2053-2 Filed:12/15/17 Entered:12/15/17 19:19:26 Desc:
33260 FOMB                Exhibit B Page 79 of 125             Invoice 170126125
PROFESSOR ARTHUR J. GONZALEZ, FOMB BOARD
MEMBER
   0022 PROMESA TITLE III: PREPA                                        Page 30


Date         Timekeeper           Type             Description           Amount
08/15/2017   Eamon Wizner   REPRODUCTION   REPRODUCTION                   $14.40
08/15/2017   Eamon Wizner   REPRODUCTION   REPRODUCTION                    $0.60
08/15/2017   Eamon Wizner   REPRODUCTION   REPRODUCTION                    $0.60
08/15/2017   Eamon Wizner   REPRODUCTION   REPRODUCTION                    $0.90
08/15/2017   Eamon Wizner   REPRODUCTION   REPRODUCTION                    $0.90
08/15/2017   Eamon Wizner   REPRODUCTION   REPRODUCTION                    $0.90
08/15/2017   Eamon Wizner   REPRODUCTION   REPRODUCTION                    $0.90
08/15/2017   Eamon Wizner   REPRODUCTION   REPRODUCTION                    $0.90
08/15/2017   Eamon Wizner   REPRODUCTION   REPRODUCTION                    $0.90
08/15/2017   Eamon Wizner   REPRODUCTION   REPRODUCTION                    $0.90
08/15/2017   Eamon Wizner   REPRODUCTION   REPRODUCTION                    $0.90
08/15/2017   Eamon Wizner   REPRODUCTION   REPRODUCTION                    $0.90
08/15/2017   Eamon Wizner   REPRODUCTION   REPRODUCTION                    $1.20
08/15/2017   Eamon Wizner   REPRODUCTION   REPRODUCTION                    $0.60
08/15/2017   Eamon Wizner   REPRODUCTION   REPRODUCTION                    $0.60
08/15/2017   Eamon Wizner   REPRODUCTION   REPRODUCTION                    $0.30
08/15/2017   Eamon Wizner   REPRODUCTION   REPRODUCTION                    $5.40
08/15/2017   Eamon Wizner   REPRODUCTION   REPRODUCTION                   $14.40
08/15/2017   Eamon Wizner   REPRODUCTION   REPRODUCTION                    $0.15
08/15/2017   Eamon Wizner   REPRODUCTION   REPRODUCTION                    $0.30
08/16/2017   Eamon Wizner   REPRODUCTION   REPRODUCTION                    $0.60
08/16/2017   Eamon Wizner   REPRODUCTION   REPRODUCTION                    $0.15
08/16/2017   Eamon Wizner   REPRODUCTION   REPRODUCTION                    $1.05
08/16/2017   Eamon Wizner   REPRODUCTION   REPRODUCTION                    $1.05
08/16/2017   Eamon Wizner   REPRODUCTION   REPRODUCTION                    $0.75
08/16/2017   Eamon Wizner   REPRODUCTION   REPRODUCTION                    $0.90
08/16/2017   Eamon Wizner   REPRODUCTION   REPRODUCTION                    $7.80
08/16/2017   Eamon Wizner   REPRODUCTION   REPRODUCTION                    $0.90
08/16/2017   Eamon Wizner   REPRODUCTION   REPRODUCTION                    $5.85
08/16/2017   Eamon Wizner   REPRODUCTION   REPRODUCTION                    $1.35
08/16/2017   Eamon Wizner   REPRODUCTION   REPRODUCTION                    $2.85
08/16/2017   Eamon Wizner   REPRODUCTION   REPRODUCTION                    $0.30
08/16/2017   Eamon Wizner   REPRODUCTION   REPRODUCTION                    $0.45
08/16/2017   Eamon Wizner   REPRODUCTION   REPRODUCTION                    $1.20
08/16/2017   Eamon Wizner   REPRODUCTION   REPRODUCTION                    $0.90
08/16/2017   Eamon Wizner   REPRODUCTION   REPRODUCTION                    $0.45
08/16/2017   Eamon Wizner   REPRODUCTION   REPRODUCTION                    $3.60
08/16/2017   Eamon Wizner   REPRODUCTION   REPRODUCTION                    $2.55
08/16/2017   Eamon Wizner   REPRODUCTION   REPRODUCTION                    $7.80
08/16/2017   Eamon Wizner   REPRODUCTION   REPRODUCTION                    $1.20
08/16/2017   Eamon Wizner   REPRODUCTION   REPRODUCTION                    $2.85
08/16/2017   Eamon Wizner   REPRODUCTION   REPRODUCTION                    $9.15
08/16/2017   Eamon Wizner   REPRODUCTION   REPRODUCTION                    $3.90
08/16/2017   Eamon Wizner   REPRODUCTION   REPRODUCTION                    $2.40
08/16/2017   Eamon Wizner   REPRODUCTION   REPRODUCTION                    $0.45
08/16/2017   Eamon Wizner   REPRODUCTION   REPRODUCTION                    $5.25
08/16/2017   Eamon Wizner   REPRODUCTION   REPRODUCTION                    $0.45
08/16/2017   Eamon Wizner   REPRODUCTION   REPRODUCTION                    $1.65
08/16/2017   Eamon Wizner   REPRODUCTION   REPRODUCTION                    $2.40
08/16/2017   Eamon Wizner   REPRODUCTION   REPRODUCTION                    $1.20
08/16/2017   Eamon Wizner   REPRODUCTION   REPRODUCTION                    $4.35
08/16/2017   Eamon Wizner   REPRODUCTION   REPRODUCTION                    $1.80
 Case:17-03283-LTS Doc#:2053-2 Filed:12/15/17 Entered:12/15/17 19:19:26 Desc:
33260 FOMB                Exhibit B Page 80 of 125             Invoice 170126125
PROFESSOR ARTHUR J. GONZALEZ, FOMB BOARD
MEMBER
   0022 PROMESA TITLE III: PREPA                                        Page 31


Date         Timekeeper           Type             Description           Amount
08/16/2017   Eamon Wizner   REPRODUCTION   REPRODUCTION                    $3.45
08/16/2017   Eamon Wizner   REPRODUCTION   REPRODUCTION                    $1.35
08/16/2017   Eamon Wizner   REPRODUCTION   REPRODUCTION                   $20.85
08/16/2017   Eamon Wizner   REPRODUCTION   REPRODUCTION                    $0.45
08/16/2017   Eamon Wizner   REPRODUCTION   REPRODUCTION                    $7.05
08/16/2017   Eamon Wizner   REPRODUCTION   REPRODUCTION                   $12.75
08/16/2017   Eamon Wizner   REPRODUCTION   REPRODUCTION                    $4.65
08/16/2017   Eamon Wizner   REPRODUCTION   REPRODUCTION                    $5.10
08/16/2017   Eamon Wizner   REPRODUCTION   REPRODUCTION                    $1.50
08/16/2017   Eamon Wizner   REPRODUCTION   REPRODUCTION                    $3.00
08/16/2017   Eamon Wizner   REPRODUCTION   REPRODUCTION                    $1.95
08/16/2017   Eamon Wizner   REPRODUCTION   REPRODUCTION                    $1.35
08/16/2017   Eamon Wizner   REPRODUCTION   REPRODUCTION                    $3.00
08/16/2017   Eamon Wizner   REPRODUCTION   REPRODUCTION                    $6.90
08/16/2017   Eamon Wizner   REPRODUCTION   REPRODUCTION                    $3.45
08/16/2017   Eamon Wizner   REPRODUCTION   REPRODUCTION                    $1.05
08/16/2017   Eamon Wizner   REPRODUCTION   REPRODUCTION                    $0.45
08/16/2017   Eamon Wizner   REPRODUCTION   REPRODUCTION                    $1.05
08/16/2017   Eamon Wizner   REPRODUCTION   REPRODUCTION                    $0.30
08/16/2017   Eamon Wizner   REPRODUCTION   REPRODUCTION                    $0.30
08/16/2017   Eamon Wizner   REPRODUCTION   REPRODUCTION                    $2.70
08/16/2017   Eamon Wizner   REPRODUCTION   REPRODUCTION                    $0.45
08/16/2017   Eamon Wizner   REPRODUCTION   REPRODUCTION                    $0.60
08/16/2017   Eamon Wizner   REPRODUCTION   REPRODUCTION                    $7.80
08/16/2017   Eamon Wizner   REPRODUCTION   REPRODUCTION                    $3.75
08/16/2017   Eamon Wizner   REPRODUCTION   REPRODUCTION                    $5.70
08/16/2017   Eamon Wizner   REPRODUCTION   REPRODUCTION                    $4.65
08/16/2017   Eamon Wizner   REPRODUCTION   REPRODUCTION                    $3.75
08/16/2017   Eamon Wizner   REPRODUCTION   REPRODUCTION                    $0.45
08/16/2017   Eamon Wizner   REPRODUCTION   REPRODUCTION                    $1.05
08/16/2017   Eamon Wizner   REPRODUCTION   REPRODUCTION                    $2.25
08/16/2017   Eamon Wizner   REPRODUCTION   REPRODUCTION                    $2.55
08/16/2017   Eamon Wizner   REPRODUCTION   REPRODUCTION                    $1.50
08/16/2017   Eamon Wizner   REPRODUCTION   REPRODUCTION                    $2.85
08/16/2017   Eamon Wizner   REPRODUCTION   REPRODUCTION                    $1.20
08/16/2017   Eamon Wizner   REPRODUCTION   REPRODUCTION                    $1.65
08/16/2017   Eamon Wizner   REPRODUCTION   REPRODUCTION                    $7.50
08/16/2017   Eamon Wizner   REPRODUCTION   REPRODUCTION                    $3.00
08/16/2017   Eamon Wizner   REPRODUCTION   REPRODUCTION                    $5.70
08/17/2017   Eamon Wizner   REPRODUCTION   REPRODUCTION                    $0.60
08/17/2017   Eamon Wizner   REPRODUCTION   REPRODUCTION                    $0.60
08/17/2017   Eamon Wizner   REPRODUCTION   REPRODUCTION                    $0.60
08/17/2017   Eamon Wizner   REPRODUCTION   REPRODUCTION                   $23.70
08/17/2017   Eamon Wizner   REPRODUCTION   REPRODUCTION                    $1.20
08/17/2017   Eamon Wizner   REPRODUCTION   REPRODUCTION                    $0.30
08/17/2017   Eamon Wizner   REPRODUCTION   REPRODUCTION                    $4.95
08/17/2017   Eamon Wizner   REPRODUCTION   REPRODUCTION                    $2.25
08/17/2017   Eamon Wizner   REPRODUCTION   REPRODUCTION                    $0.60
08/17/2017   Eamon Wizner   REPRODUCTION   REPRODUCTION                    $0.60
08/17/2017   Eamon Wizner   REPRODUCTION   REPRODUCTION                    $5.25
08/17/2017   Eamon Wizner   REPRODUCTION   REPRODUCTION                    $4.20
08/17/2017   Eamon Wizner   REPRODUCTION   REPRODUCTION                    $2.25
 Case:17-03283-LTS Doc#:2053-2 Filed:12/15/17 Entered:12/15/17 19:19:26 Desc:
33260 FOMB                Exhibit B Page 81 of 125             Invoice 170126125
PROFESSOR ARTHUR J. GONZALEZ, FOMB BOARD
MEMBER
   0022 PROMESA TITLE III: PREPA                                        Page 32


Date         Timekeeper                Type             Description      Amount
08/17/2017   Eamon Wizner        REPRODUCTION   REPRODUCTION               $1.20
08/17/2017   Eamon Wizner        REPRODUCTION   REPRODUCTION               $1.95
08/17/2017   Eamon Wizner        REPRODUCTION   REPRODUCTION               $0.15
08/18/2017   Chris Theodoridis   REPRODUCTION   REPRODUCTION               $2.10
08/18/2017   Chris Theodoridis   REPRODUCTION   REPRODUCTION               $0.60
08/18/2017   Chris Theodoridis   REPRODUCTION   REPRODUCTION               $2.10
08/18/2017   Chris Theodoridis   REPRODUCTION   REPRODUCTION               $0.90
08/18/2017   Chris Theodoridis   REPRODUCTION   REPRODUCTION               $0.60
08/18/2017   Jared Zajac         REPRODUCTION   REPRODUCTION              $14.40
08/18/2017   Jared Zajac         REPRODUCTION   REPRODUCTION               $9.30
08/18/2017   Chris Theodoridis   REPRODUCTION   REPRODUCTION               $3.30
08/19/2017   Chris Theodoridis   REPRODUCTION   REPRODUCTION               $9.00
08/19/2017   Chris Theodoridis   REPRODUCTION   REPRODUCTION               $4.80
08/19/2017   Chris Theodoridis   REPRODUCTION   REPRODUCTION               $2.40
08/20/2017   Chris Theodoridis   REPRODUCTION   REPRODUCTION               $0.90
08/20/2017   Chris Theodoridis   REPRODUCTION   REPRODUCTION               $9.00
08/20/2017   Chris Theodoridis   REPRODUCTION   REPRODUCTION               $3.30
08/20/2017   Chris Theodoridis   REPRODUCTION   REPRODUCTION               $0.90
08/20/2017   Chris Theodoridis   REPRODUCTION   REPRODUCTION               $4.80
08/20/2017   Chris Theodoridis   REPRODUCTION   REPRODUCTION               $4.80
08/20/2017   Chris Theodoridis   REPRODUCTION   REPRODUCTION               $3.45
08/20/2017   Chris Theodoridis   REPRODUCTION   REPRODUCTION               $0.15
08/22/2017   Eamon Wizner        REPRODUCTION   REPRODUCTION               $0.30
08/22/2017   Eamon Wizner        REPRODUCTION   REPRODUCTION               $0.75
08/22/2017   Eamon Wizner        REPRODUCTION   REPRODUCTION               $0.45
08/22/2017   Eamon Wizner        REPRODUCTION   REPRODUCTION               $0.45
08/22/2017   Eamon Wizner        REPRODUCTION   REPRODUCTION               $0.30
08/22/2017   Eamon Wizner        REPRODUCTION   REPRODUCTION               $0.30
08/22/2017   Eamon Wizner        REPRODUCTION   REPRODUCTION               $0.30
08/22/2017   Eamon Wizner        REPRODUCTION   REPRODUCTION               $0.30
08/22/2017   Eamon Wizner        REPRODUCTION   REPRODUCTION               $0.30
08/22/2017   Eamon Wizner        REPRODUCTION   REPRODUCTION               $0.30
08/22/2017   Eamon Wizner        REPRODUCTION   REPRODUCTION               $0.30
08/22/2017   Eamon Wizner        REPRODUCTION   REPRODUCTION               $0.30
08/22/2017   Eamon Wizner        REPRODUCTION   REPRODUCTION               $0.30
08/22/2017   Eamon Wizner        REPRODUCTION   REPRODUCTION               $0.30
08/22/2017   Eamon Wizner        REPRODUCTION   REPRODUCTION               $0.30
08/22/2017   Eamon Wizner        REPRODUCTION   REPRODUCTION               $0.30
08/22/2017   Eamon Wizner        REPRODUCTION   REPRODUCTION               $0.30
08/22/2017   Eamon Wizner        REPRODUCTION   REPRODUCTION               $1.35
08/22/2017   Chris Theodoridis   REPRODUCTION   REPRODUCTION               $0.15
08/22/2017   Chris Theodoridis   REPRODUCTION   REPRODUCTION               $4.20
08/23/2017   Chris Theodoridis   REPRODUCTION   REPRODUCTION               $0.30
08/23/2017   Chris Theodoridis   REPRODUCTION   REPRODUCTION               $1.50
08/23/2017   Chris Theodoridis   REPRODUCTION   REPRODUCTION               $3.00
08/23/2017   Chris Theodoridis   REPRODUCTION   REPRODUCTION               $0.30
08/23/2017   Chris Theodoridis   REPRODUCTION   REPRODUCTION               $0.60
08/23/2017   Chris Theodoridis   REPRODUCTION   REPRODUCTION               $9.15
08/23/2017   Chris Theodoridis   REPRODUCTION   REPRODUCTION               $3.90
08/23/2017   Chris Theodoridis   REPRODUCTION   REPRODUCTION               $0.60
08/24/2017   Chris Theodoridis   REPRODUCTION   REPRODUCTION               $0.90
08/25/2017   Chris Theodoridis   REPRODUCTION   REPRODUCTION               $4.80
 Case:17-03283-LTS Doc#:2053-2 Filed:12/15/17 Entered:12/15/17 19:19:26 Desc:
33260 FOMB                Exhibit B Page 82 of 125             Invoice 170126125
PROFESSOR ARTHUR J. GONZALEZ, FOMB BOARD
MEMBER
   0022 PROMESA TITLE III: PREPA                                                        Page 33


Date         Timekeeper                Type             Description                      Amount
08/25/2017   Jared Zajac         REPRODUCTION   REPRODUCTION                               $1.35
08/25/2017   Chris Theodoridis   REPRODUCTION   REPRODUCTION                               $2.25
08/26/2017   Chris Theodoridis   REPRODUCTION   REPRODUCTION                              $17.70
08/28/2017   Chris Theodoridis   REPRODUCTION   REPRODUCTION                               $4.50
08/28/2017   Chris Theodoridis   REPRODUCTION   REPRODUCTION                               $2.70
08/28/2017   Chris Theodoridis   REPRODUCTION   REPRODUCTION                               $0.15
08/28/2017   Chris Theodoridis   REPRODUCTION   REPRODUCTION                               $0.15
08/29/2017   Jared Zajac         REPRODUCTION   REPRODUCTION                               $0.45
08/31/2017   Jonathan E.         REPRODUCTION   REPRODUCTION                               $0.30
             Richman
08/31/2017   Jonathan E.         REPRODUCTION   REPRODUCTION                               $2.40
             Richman
08/31/2017   Jonathan E.         REPRODUCTION   REPRODUCTION                               $7.05
             Richman
08/31/2017   Jonathan E.         REPRODUCTION   REPRODUCTION                               $2.40
             Richman
08/31/2017   Jonathan E.         REPRODUCTION   REPRODUCTION                               $5.70
             Richman
                                                Total for REPRODUCTION                   $667.50

Date         Timekeeper                  Type                Description                 Amount
08/06/2017   Jared Zajac         LEXIS          LEXIS Connect and Comm Time -            $192.00
                                                0:26:29 Searches - 0 Shepards and
                                                Autocite - 0 Lexsees and Lexstat - 8
08/08/2017   Jared Zajac         LEXIS          LEXIS Connect and Comm Time -             $96.00
                                                0:45:49 Searches - 0 Shepards and
                                                Autocite - 0 Lexsees and Lexstat - 4
08/24/2017   Jared Zajac         LEXIS          LEXIS Connect and Comm Time -             $48.00
                                                0:30:00 Searches - 0 Shepards and
                                                Autocite - 0 Lexsees and Lexstat - 2
08/25/2017   Jared Zajac         LEXIS          LEXIS Connect and Comm Time -             $48.00
                                                0:30:00 Searches - 0 Shepards and
                                                Autocite - 0 Lexsees and Lexstat - 2
08/27/2017   Jared Zajac         LEXIS          LEXIS Connect and Comm Time -            $681.00
                                                1:46:41 Searches - 3 Shepards and
                                                Autocite - 0 Lexsees and Lexstat - 14
08/28/2017   Jared Zajac         LEXIS          LEXIS Connect and Comm Time -            $765.75
                                                2:25:08 Searches - 2 Shepards and
                                                Autocite - 1 Lexsees and Lexstat - 22
08/29/2017   Jared Zajac         LEXIS          LEXIS Connect and Comm Time -            $585.75
                                                1:42:19 Searches - 1 Shepards and
                                                Autocite - 5 Lexsees and Lexstat - 18
                                                Total for LEXIS                         $2,416.50

Date         Timekeeper               Type                  Description                  Amount
08/01/2017   Jonathan E.         WESTLAW        WESTLAW Connect and Comm                  $99.00
             Richman                            Time - 000000:00:00 WestChk and
                                                Other Trans - 0000000004 Lines
08/01/2017   Pengtao Teng        WESTLAW        WESTLAW Connect and Comm                 $128.00
                                                Time - 000000:00:00 WestChk and
                                                Other Trans - 0000000043 Lines
 Case:17-03283-LTS Doc#:2053-2 Filed:12/15/17 Entered:12/15/17 19:19:26 Desc:
33260 FOMB                Exhibit B Page 83 of 125             Invoice 170126125
PROFESSOR ARTHUR J. GONZALEZ, FOMB BOARD
MEMBER
   0022 PROMESA TITLE III: PREPA                                             Page 34


Date         Timekeeper             Type               Description            Amount
08/02/2017   Jonathan E.       WESTLAW     WESTLAW Connect and Comm           $355.00
             Richman                       Time - 000000:00:00 WestChk and
                                           Other Trans - 0000000020 Lines
08/02/2017   Pengtao Teng      WESTLAW     WESTLAW Connect and Comm           $534.00
                                           Time - 000000:00:00 WestChk and
                                           Other Trans - 0000000089 Lines
08/03/2017   Pengtao Teng      WESTLAW     WESTLAW Connect and Comm           $771.00
                                           Time - 000000:00:00 WestChk and
                                           Other Trans - 0000000029 Lines
08/04/2017   Pengtao Teng      WESTLAW     WESTLAW Connect and Comm           $693.00
                                           Time - 000000:00:00 WestChk and
                                           Other Trans - 0000000038 Lines
08/06/2017   Jonathan E.       WESTLAW     WESTLAW Connect and Comm          $1,733.00
             Richman                       Time - 000000:00:00 WestChk and
                                           Other Trans - 0000000049 Lines
08/07/2017   Jonathan E.       WESTLAW     WESTLAW Connect and Comm           $174.00
             Richman                       Time - 000000:00:00 WestChk and
                                           Other Trans - 0000000013 Lines
08/07/2017   Pengtao Teng      WESTLAW     WESTLAW Connect and Comm           $297.00
                                           Time - 000000:00:00 WestChk and
                                           Other Trans - 0000000047 Lines
08/08/2017   Jonathan E.       WESTLAW     WESTLAW Connect and Comm            $87.00
             Richman                       Time - 000000:00:00 WestChk and
                                           Other Trans - 0000000008 Lines
08/08/2017   Eamon Wizner      WESTLAW     WESTLAW Connect and Comm            $29.00
                                           Time - 000000:00:00 WestChk and
                                           Other Trans - 0000000101 Lines
08/09/2017   Jonathan E.       WESTLAW     WESTLAW Connect and Comm           $413.00
             Richman                       Time - 000000:00:00 WestChk and
                                           Other Trans - 0000000012 Lines
08/14/2017   Jonathan E.       WESTLAW     WESTLAW Connect and Comm            $99.00
             Richman                       Time - 000000:00:00 WestChk and
                                           Other Trans - 0000000012 Lines
08/14/2017   Pengtao Teng      WESTLAW     WESTLAW Connect and Comm          $1,251.00
                                           Time - 000000:00:00 WestChk and
                                           Other Trans - 0000000061 Lines
08/20/2017   John E. Roberts   WESTLAW     WESTLAW Connect and Comm           $297.00
                                           Time - 000000:00:00 WestChk and
                                           Other Trans - 0000000010 Lines
08/21/2017   John E. Roberts   WESTLAW     WESTLAW Connect and Comm           $425.00
                                           Time - 000000:00:00 WestChk and
                                           Other Trans - 0000000025 Lines
08/23/2017   John E. Roberts   WESTLAW     WESTLAW Connect and Comm            $29.00
                                           Time - 000000:00:00 WestChk and
                                           Other Trans - 0000000015 Lines
08/25/2017   Pengtao Teng      WESTLAW     WESTLAW Connect and Comm           $396.00
                                           Time - 000000:00:00 WestChk and
                                           Other Trans - 0000000019 Lines
08/28/2017   John E. Roberts   WESTLAW     WESTLAW Connect and Comm            $29.00
                                           Time - 000000:00:00 WestChk and
                                           Other Trans - 0000000013 Lines
 Case:17-03283-LTS Doc#:2053-2 Filed:12/15/17 Entered:12/15/17 19:19:26 Desc:
33260 FOMB                Exhibit B Page 84 of 125             Invoice 170126125
PROFESSOR ARTHUR J. GONZALEZ, FOMB BOARD
MEMBER
   0022 PROMESA TITLE III: PREPA                                               Page 35


Date         Timekeeper               Type               Description            Amount
08/29/2017   Matthew J. Morris   WESTLAW     WESTLAW Connect and Comm            $99.00
                                             Time - 000000:00:00 WestChk and
                                             Other Trans - 0000000006 Lines
                                             Total for WESTLAW                 $7,938.00
 Case:17-03283-LTS Doc#:2053-2 Filed:12/15/17 Entered:12/15/17 19:19:26 Desc:
33260 FOMB                Exhibit B Page 85 of 125             Invoice 170126125
PROFESSOR ARTHUR J. GONZALEZ, FOMB BOARD
MEMBER
   0022 PROMESA TITLE III: PREPA                                        Page 36


Charges and Disbursements Summary

Type of Disbursements                                                    Amount
REPRODUCTION                                                               667.50
LEXIS                                                                    2,416.50
WESTLAW                                                                  7,938.00
                                    Total Expenses                     $11,022.00

                                    Total Amount for this Matter      $353,497.00
Case:17-03283-LTS Doc#:2053-2 Filed:12/15/17 Entered:12/15/17 19:19:26                                Desc:
                         Exhibit B Page 86 of 125

                                  UNITED STATES DISTRICT COURT
                                    DISTRICT OF PUERTO RICO
     -------------------------------------------------------------x
     In re:
                                                                      PROMESA
     THE FINANCIAL OVERSIGHT AND                                      Title III
     MANAGEMENT BOARD FOR PUERTO RICO,

                 as representative of
                                                                      Case No. 17-04780 (LTS)
     PUERTO RICO ELECTRIC POWER
     AUTHORITY (“PREPA”),

                                  Debtor.1
     -------------------------------------------------------------x

COVER SHEET TO THIRD MONTHLY FEE APPLICATION OF PROSKAUER ROSE
LLP FOR COMPENSATION FOR SERVICES RENDERED AND REIMBURSEMENT
    OF EXPENSES AS ATTORNEYS TO THE FINANCIAL OVERSIGHT AND
MANAGEMENT BOARD FOR PUERTO RICO, AS REPRESENTATIVE OF DEBTOR,
 PUERTO RICO ELECTRIC POWER AUTHORITY (“PREPA”) FOR THE PERIOD
           SEPTEMBER 1, 2017 THROUGH SEPTEMBER 30, 2017

Name of Applicant:                                            Proskauer Rose LLP (“Proskauer”)

Authorized to Provide Professional Services                   Financial Oversight and Management Board,
to:                                                           as Representative for the Debtor Pursuant to
                                                              PROMESA Section 315(b)

Period for which compensation and                             September 1, 2017 through September 30,
reimbursement is sought:                                      2017

Amount of compensation sought as actual,                      $302,718.00
reasonable and necessary:

Amount of expense reimbursement sought as                     $14,408.70
actual, reasonable and necessary:

Total Amount for this Invoice:                                $317,126.70



This is a:     X monthly __ interim __ final application.

This is Proskauer’s third monthly fee application in this case.




1
    The last four (4) digits of PREPA’s federal tax identification number are 3747.
                                                          1
Case:17-03283-LTS Doc#:2053-2 Filed:12/15/17 Entered:12/15/17 19:19:26                                                  Desc:
                         Exhibit B Page 87 of 125

On October 6, 2017 Sent to:

FOMB:
Financial Oversight and Management Board
40 Washington Square South
Office 314A
New York, NY 10012
Attn: Professor Arthur J. Gonzalez
      FOMB Board Member

                                           Office of United States Trustee

Office of the United States Trustee for the District of             Office of the United States Trustee for Region 21
Puerto Rico,                                                        75 Spring Street, SW, Room 362
Edificio Ochoa, 500 Tanca                                           Atlanta, GA 30303
Street, Suite 301                                                   Attn: Guy G. Gebhardt
San Juan, PR 00901                                                        Acting United States Trustee (Region 21)
(In re: Commonwealth of Puerto Rico)                                (In re: Commonwealth of Puerto Rico)
                                                          and


                         Co-Counsel for the Official Committee of Unsecured Creditors:

Paul Hastings LLP                                                   Casillas, Santiago & Torres, LLC (Proposed)
200 Park Avenue                                                     El Caribe Office Building
New York, NY 10166                                                  53 Palmeras Street, Ste. 1601
Attn: Luc. A. Despins, Esq.                                         San Juan, Puerto Rico 00901-2419
      Andrew V. Tenzer, Esq.                                        Attn: Juan J. Casillas Ayala, Esq.
      Michael E. Comerford, Esq.                                          Diana M. Batlle-Barasorda, Esq.
      G. Alexander Bongartz, Esq.                                         Alberto J. E. Añeses Negrón, Esq.
Attn: Luc. A. Despins, Esq.                                               Ericka C. Montull-Novoa, Esq.
                                                          and


                                  Co-Counsel for U.S. Bank National Association:

Maslon LLP                                                          Rivera, Tulla & Ferrer, LLC
90 South Seventh Street, Suite 3300                                 50 Quisqueya Street
Minneapolis, MN 55402                                               San Juan, PR 00917
Attn: Clark T. Whitmore, Esq.,                                      Attn: Eric A. Tulla, Esq.,
      William Z. Pentelovitch, Esq.,                                      Iris J. Cabrera-Góomz, Esq.
       John T. Duffey, Esq.,
       Jason M. Reed, Esq.
                                                          and


                                               Co-Counsel for AAFAF:

O’Melveny & Myers LLP                                               Greenberg Traurig, LLP
Times Square Tower, 7 Times Square                                  200 Park Avenue
New York, NY 10036                                                  New York, NY 10166
Attn: John J. Rapisardi, Esq.,                                      Attn: Nancy A. Mitchell, Esq.,
      Suzzanne Uhland, Esq.,                                              Nathan A. Haynes, Esq.
       Diana M. Perez, Esq.
                                                          and




                                                                2
Case:17-03283-LTS Doc#:2053-2 Filed:12/15/17 Entered:12/15/17 19:19:26                          Desc:
                         Exhibit B Page 88 of 125
         Summary of Legal Fees for the Period September 1, 2017 through September 30, 2017



  Task                                                     Total Billed           Total Fees
                      Matter Description
  Code                                                       Hours                Requested
           Tasks relating to the Board, its Members, its
   201                                                                0.90                     $657.00
           Staff, its Advisors or its Consultants
   202     Legal Research                                           50.80                    $27,436.00

   204     Communications with Claimholders                         37.60                    $27,448.00
           Communications with the Commonwealth
   205     and its Representatives of the                           25.50                    $18,615.00
           Commonwealth or its Instrumentalities
   206     Documents Filed on Behalf of the Board                  216.80                $157,928.00
   207     Non-Board Court Filings                                  19.90                    $14,527.00

   208     Stay Matters                                               8.20                    $5,986.00

   209     Adversary Proceeding                                       9.30                    $6,789.00

   210     Analysis and Strategy                                    37.70                    $27,521.00

   212     General Administration                                     7.30                    $1,969.00
           Plan of Adjustment and Disclosure
   215                                                              20.40                    $13,644.00
           Statement
   218     Employment and Fee Applications                            0.50                     $125.00
   219     Appeal                                                     0.10                      $73.00

                                                  Total            435.00                $302,718.00




                                                 3
   Case:17-03283-LTS Doc#:2053-2 Filed:12/15/17 Entered:12/15/17 19:19:26                              Desc:
                            Exhibit B Page 89 of 125
                 Summary of Legal Fees for the Period September 1, 2017 through September 30, 2017



                                                                  Hourly       Total Billed        Total
     Professional            Position/Title     Department
                                                                Billing Rate     Hours          Compensation

Ann M. Ashton              Partner            Litigation         $730.00             33.10            $24,163.00
Brian S. Rosen             Partner            BSGR & B           $730.00              0.60               $438.00
Jeffrey W. Levitan         Partner            BSGR & B           $730.00             20.80            $15,184.00
Jonathan E. Richman        Partner            Litigation         $730.00             40.90            $29,857.00
Lary Alan Rappaport        Partner            Litigation         $730.00              0.30               $219.00
Mark Harris                Partner            Litigation         $730.00              6.00             $4,380.00
Martin J. Bienenstock      Partner            BSGR & B           $730.00              6.50             $4,745.00

Michael A. Firestein       Partner            Litigation         $730.00              0.30               $219.00

Paul Possinger             Partner            BSGR & B           $730.00             30.10            $21,973.00
Ralph C. Ferrara           Partner            Litigation         $730.00             11.10             $8,103.00
                                              Labor &
Scott A. Faust             Partner                               $730.00              3.80             $2,774.00
                                              Employment
Stephen L. Ratner          Partner            Litigation         $730.00              5.10             $3,723.00
Timothy W. Mungovan        Partner            Litigation         $730.00              6.80             $4,964.00
Chantel L. Febus           Senior Counsel     Litigation         $730.00             26.10            $19,053.00
Chris Theodoridis          Associate          BSGR & B           $730.00             45.10            $32,923.00
Daniel Desatnik            Associate          BSGR & B           $730.00              8.10             $5,913.00

Ehud Barak                 Associate          BSGR & B           $730.00              9.40             $6,862.00

Jared Zajac                Associate          BSGR & B           $730.00             35.90            $26,207.00
Jennifer L. Roche          Associate          Litigation         $730.00              0.30               $219.00
Jeramy Webb                Associate          BSGR & B           $730.00              0.30               $219.00

John E. Roberts            Associate          Litigation         $730.00             27.30            $19,929.00

Laura Stafford             Associate          Litigation         $730.00             21.50            $15,695.00
Maja Zerjal                Associate          BSGR & B           $730.00              2.30             $1,679.00
Matthew J. Morris          Associate          Litigation         $730.00             46.60            $34,018.00
Steve Ma                   Associate          BSGR & B           $730.00             14.10            $10,293.00
Vincent Indelicato         Associate          BSGR & B           $730.00              1.70             $1,241.00
                                                                  TOTAL            404.10            $294,993.00




                                                           4
   Case:17-03283-LTS Doc#:2053-2 Filed:12/15/17 Entered:12/15/17 19:19:26                               Desc:
                            Exhibit B Page 90 of 125
                 Summary of Legal Fees for the Period September 1, 2017 through September 30, 2017




                                                                  Hourly       Total Billed        Total
      Law Clerk              Position/Title     Department
                                                                Billing Rate     Hours          Compensation

Elliot Stevens             Law Clerk          BSGR & B           $250.00             23.40                  $5,850.00
                                                                  TOTAL            230.40               $5,850.00


                                                                  Hourly       Total Billed        Total
   Paraprofessional          Position/Title     Department
                                                                Billing Rate     Hours          Compensation

Casey Quinn                Legal Assistant    BSGR & B           $250.00              1.40                    $350.00
Lawrence T. Silvestro      Legal Assistant    Litigation         $250.00              0.50                    $125.00
Magali Giddens             Legal Assistant    BSGR & B           $250.00              5.10                  $1,275.00
Natasha Petrov             Legal Assistant    Corporate          $250.00              0.50                    $125.00
                                                                  TOTAL               7.50              $1,875.00




                                                                                Hours                Fees
   SUMMARY OF LEGAL FEES
                                                                                435.00        $302,718.00




                                                        5
Case:17-03283-LTS Doc#:2053-2 Filed:12/15/17 Entered:12/15/17 19:19:26                          Desc:
                         Exhibit B Page 91 of 125
        Summary of Disbursements for the Period September 1, 2017 through September 30, 2017



EXPENSE CATEGORY                                                                   AMOUNTS

Reproduction                                                                                   $183.90
Lexis                                                                                     $9,934.50
Westlaw                                                                                   $4,283.00
Printing, Binding, Etc.                                                                          $7.30
                                                                    Total                $14,408.70




                                                 6
Case:17-03283-LTS Doc#:2053-2 Filed:12/15/17 Entered:12/15/17 19:19:26                   Desc:
                         Exhibit B Page 92 of 125




       Proskauer requests payment and reimbursement in accordance with the procedures set

forth in the Interim Compensation Order (i.e., payment of ninety percent (90%) of the

compensation sought, in the amount of $272,446.20, and reimbursement of one-hundred percent

(100%) of expenses incurred, in the amount of $14,408.70) in the total amount of $286,854.90.




                                               7
Case:17-03283-LTS Doc#:2053-2 Filed:12/15/17 Entered:12/15/17 19:19:26   Desc:
                         Exhibit B Page 93 of 125



                               Exhibit A
 Case:17-03283-LTS Doc#:2053-2 Filed:12/15/17 Entered:12/15/17 19:19:26 Desc:
33260 FOMB                Exhibit B Page 94 of 125             Invoice 170129717
PROFESSOR ARTHUR J. GONZALEZ, FOMB BOARD
MEMBER
   0022 PROMESA TITLE III: PREPA                                                                      Page 1


Summary of Time Billed by Task                                                           Hours          Value
201   Tasks relating to the Board, its Members, its Staff, its Advisors or its              0.90      $657.00
      Consultants
202   Legal Research                                                                       50.80    $27,436.00
204   Communications with Claimholders                                                     37.60    $27,448.00
205   Communications with the Commonwealth, its Instrumentalities or                       25.50    $18,615.00
      Representatives of the Commonwealth or its Instrumentalities
206   Documents Filed on Behalf of the Board                                              216.80   $157,928.00
207   Non-Board Court Filings                                                              19.90    $14,527.00
208   Stay Matters                                                                          8.20     $5,986.00
209   Adversary Proceeding                                                                  9.30     $6,789.00
210   Analysis and Strategy                                                                37.70    $27,521.00
212   General Administration                                                                7.30     $1,969.00
215   Plan of Adjustment and Disclosure Statement                                          20.40    $13,644.00
218   Employment and Fee Applications                                                       0.50      $125.00
219   Appeal                                                                                0.10        $73.00
                                                                                 Total    435.00   $302,718.00
 Case:17-03283-LTS Doc#:2053-2 Filed:12/15/17 Entered:12/15/17 19:19:26 Desc:
33260 FOMB                Exhibit B Page 95 of 125             Invoice 170129717
PROFESSOR ARTHUR J. GONZALEZ, FOMB BOARD
MEMBER
   0022 PROMESA TITLE III: PREPA                                                                      Page 2


Tasks relating to the Board, its Members, its Staff, its Advisors or its Consultants -- 201


Date          Timekeeper             Task                 Description                    Hours        Amount
09/18/17      Ann M. Ashton         201    E-mails with H. Bauer regarding                0.20        $146.00
                                           stipulation addressing motion to
                                           intervene.
09/28/17     Chantel L. Febus      201     E-mails and call with G. Anders and C.             0.70    $511.00
                                           Golder regarding informative motion
                                           regarding briefing schedule in UTIER
                                           v. PREPA Appointments Clause case
                                           and implications with respect to
                                           Aurelius case (0.40); E-mails with H.
                                           Bauer and local counsel regarding
                                           informative schedule in UTIER v.
                                           PREPA Appointments Clause case
                                           (0.30).
Tasks relating to the Board, its Members, its Staff, its Advisors or its                      0.90    $657.00
Consultants


Legal Research -- 202


Date          Timekeeper             Task                   Description                  Hours        Amount
09/01/17      Jeffrey W. Levitan    202      Review 928 legal argument from other         0.40        $292.00
                                             cases (0.30); E-mail with A. Ashton
                                             regarding same (0.10).
09/04/17      Mark Harris           202      Email to L. Stafford regarding                   0.30    $219.00
                                             additional research on UTIER
                                             Appointments Clause.
09/05/17      Ralph C. Ferrara      202      Research on bankruptcy provisions in             0.30    $219.00
                                             connection with proposed response
                                             Assured special revenues complaint.
09/05/17      Jared Zajac           202      Research regarding legislative history           2.70   $1,971.00
                                             and law reviews regarding 922(d)
                                             (1.20); Research regarding legislative
                                             history and law reviews regarding 928
                                             (0.60); Draft memorandum regarding
                                             same (0.90).
09/06/17      Jared Zajac           202      Review prior pleadings in other                  1.70   $1,241.00
                                             PROMESA cases regarding 922/928
                                             issue (0.90); Additional research on
                                             same (0.80).
09/06/17      Jeffrey W. Levitan    202      Review J. Zajac summary of 928                   0.50    $365.00
                                             research (0.30); E-mail with J. Zajac
                                             regarding same (0.20).
09/06/17      Martin J.             202      Review, revise, and research outline of          4.30   $3,139.00
              Bienenstock                    grounds to move to dismiss PREPA
                                             special revenues case.
09/07/17      Ralph C. Ferrara      202      Review summary notices regarding                 0.70    $511.00
                                             PREPA fiscal plan and potential
                                             revisions to same.
 Case:17-03283-LTS Doc#:2053-2 Filed:12/15/17 Entered:12/15/17 19:19:26 Desc:
33260 FOMB                Exhibit B Page 96 of 125             Invoice 170129717
PROFESSOR ARTHUR J. GONZALEZ, FOMB BOARD
MEMBER
   0022 PROMESA TITLE III: PREPA                                                             Page 3

Date       Timekeeper            Task                   Description                 Hours    Amount
09/08/17   Jared Zajac          202     Review HTA opinion regarding 922(d)          0.30    $219.00
                                        analysis and applicability of Assured
                                        case.
09/08/17   Jonathan E. Richman 202      Review statutes regarding UTIER case.        1.10    $803.00
09/08/17   Jeffrey W. Levitan  202      Review Peaje decision in connection          0.80    $584.00
                                        with application to Assured case (0.60);
                                        E-mail with A. Ashton regarding same
                                        (0.20).
09/14/17   Jeffrey W. Levitan   202     E-mail with E. Stevens regarding             0.20    $146.00
                                        research for dismissal cases.
09/14/17   Elliot Stevens       202     Research decisions on dismissal of           4.50   $1,125.00
                                        duplication proceedings.
09/14/17   Chris Theodoridis    202     Review debt documentation and cases          3.90   $2,847.00
                                        related to necessary operating expenses.
09/15/17   Chris Theodoridis    202     Review debt documentation and cases          3.30   $2,409.00
                                        addressing necessary operating
                                        expenses.
09/15/17   Elliot Stevens       202     Research requirements for and cases on       3.90    $975.00
                                        permissive intervention and intervention
                                        as of right for PREPA case.
09/15/17   Jeffrey W. Levitan   202     Review C. Theodoridis analysis of fuel       1.50   $1,095.00
                                        line position (0.30); Review E. Stevens
                                        memorandum and cases regarding
                                        dismissal proceedings (0.60); E-mail to
                                        J. Richman regarding research of
                                        duplicative proceedings issue (0.60).
09/16/17   Jared Zajac          202     Review and analyze of E. Stevens             0.30    $219.00
                                        research summaries for motion to
                                        dismiss arguments in special revenue
                                        case.
09/16/17   Elliot Stevens       202     Research motion to intervene issues for      6.40   $1,600.00
                                        responding to fuel line lenders' motion
                                        to intervene.
09/16/17   Chris Theodoridis    202     Review debt documentation and cases          1.40   $1,022.00
                                        related to necessary operating expenses.
09/17/17   Paul Possinger       202     Analyze interests of fuel line lenders in    0.50    $365.00
                                        Assured adversary in connection with
                                        motion to intervene (0.40); Related e-
                                        mails (0.10).
09/17/17   Jeffrey W. Levitan   202     Review C. Theodoridis analysis of            0.20    $146.00
                                        special revenues cases (0.10); Edit draft
                                        intervention opposition (0.10).
09/18/17   Chris Theodoridis    202     Review net pledge cases.                     1.60   $1,168.00
09/19/17   Paul Possinger       202     Review intervention research conducted       0.40    $292.00
                                        by E. Stevens.
09/25/17   Daniel Desatnik      202     Discussion with C. Theodoridis               2.60   $1,898.00
                                        regarding classification of insured and
                                        uninsured bondholders (0.10); Research
                                        case law regarding same (0.60); Review
                                        other bankruptcy dockets for precedent
                                        regarding same (1.90).
09/26/17   Jared Zajac          202     Research regarding legislative history       0.60    $438.00
                                        for special revenues provisions.
 Case:17-03283-LTS Doc#:2053-2 Filed:12/15/17 Entered:12/15/17 19:19:26 Desc:
33260 FOMB                Exhibit B Page 97 of 125             Invoice 170129717
PROFESSOR ARTHUR J. GONZALEZ, FOMB BOARD
MEMBER
   0022 PROMESA TITLE III: PREPA                                                              Page 4

Date        Timekeeper           Task                    Description                Hours     Amount
09/27/17    Jared Zajac         202       Call with J. Esses regarding dismissal     0.10      $73.00
                                          research regarding duplicative
                                          proceedings.
09/28/17    Daniel Desatnik     202       Research case law regarding                0.30     $219.00
                                          classification of bondholders.
09/29/17    Elliot Stevens      202       Research regarding classification of       5.30    $1,325.00
                                          bondholders in plan of adjustment
                                          reorganization (4.90); Draft e-mail
                                          regarding same to C. Theodoridis
                                          (0.40).
09/29/17    Jared Zajac         202       Research for motion to dismiss PREPA       0.70     $511.00
                                          special revenues case.
Legal Research                                                                      50.80   $27,436.00


Communications with Claimholders -- 204


Date        Timekeeper           Task                    Description                Hours     Amount
09/02/17    Chris Theodoridis   204       Review portion of PREPA RSA                1.70    $1,241.00
                                          addressing Ratings Condition.
09/03/17    Martin J.           204       Teleconference with B. Houser              1.60    $1,168.00
            Bienenstock                   regarding upcoming PREPA sessions
                                          and issues to be resolved (0.50);
                                          Teleconference with B. Houser, D.
                                          Marerro and N. Mitchell regarding
                                          PREPA issues and mediation (1.10).
09/04/17    Mark Harris         204       E-mail with UCC regarding setting up       0.50     $365.00
                                          call regarding Appointments Clause
                                          case.
09/06/17    Chris Theodoridis   204       Review classification memorandum in        1.20     $876.00
                                          connection with potential PREPA plan
                                          of adjustment.
09/07/17    Ann M. Ashton       204       Discussion with U.S. Bank counsel          0.80     $584.00
                                          regarding motion to extend time for
                                          response (0.30); E-mails with
                                          Greenberg Traurig regarding status
                                          (0.50).
09/07/17    Paul Possinger      204       E-mail to plaintiffs’ counsel regarding    0.10      $73.00
                                          extension.
09/08/17    Jonathan E. Richman 204       Revise stipulation regarding trustee's     0.40     $292.00
                                          intervention in Assured case.
09/08/17    Paul Possinger      204       E-mails with plaintiffs in adversary       1.50    $1,095.00
                                          proceeding 17-232 regarding extension
                                          of answer date (0.30); Calls with A.
                                          Ashton regarding same (0.30); Call with
                                          US Bank counsel regarding same
                                          (0.20); Review and revise motion to
                                          extend answer date (0.70).
 Case:17-03283-LTS Doc#:2053-2 Filed:12/15/17 Entered:12/15/17 19:19:26 Desc:
33260 FOMB                Exhibit B Page 98 of 125             Invoice 170129717
PROFESSOR ARTHUR J. GONZALEZ, FOMB BOARD
MEMBER
   0022 PROMESA TITLE III: PREPA                                                            Page 5

Date       Timekeeper            Task                   Description                Hours    Amount
09/08/17   Ann M. Ashton        204     Leave voice message for bondholder          0.90    $657.00
                                        counsel regarding stipulation on
                                        intervention (0.10); Review U.S. Banks
                                        proposed stipulation on intervention
                                        (0.60); E-mails with P. Possinger, J.
                                        Richman and J. Levitan regarding same
                                        (0.10); Leave message for trustee
                                        counsel regarding same (0.10).
09/15/17   Jeffrey W. Levitan   204     Review E. Kleinhaus e-mail (0.30);          0.60    $438.00
                                        Teleconference with A. Baker, E.
                                        Kleinhaus, R. Mason and A. Ashton
                                        regarding fuel line lenders intervention
                                        (0.30).
09/15/17   Ann M. Ashton        204     Multiple discussions with fuel line         0.80    $584.00
                                        lenders regarding motion to intervene
                                        (0.60); Follow-up e-mails regarding
                                        same (0.20).
09/17/17   Ann M. Ashton        204     E-mails with fuel line lenders regarding    0.60    $438.00
                                        intervention stipulation (0.20); Review
                                        comments from fuel line lenders on
                                        draft stipulation (0.40).
09/18/17   Ann M. Ashton        204     Comments on bondholder and fuel line        2.60   $1,898.00
                                        lenders' request regarding stipulation
                                        (0.60); Review edits to stipulation
                                        regarding motion to intervene provided
                                        by same (1.40); E-mails and discussions
                                        with J. Levitan, P. Possinger and T.
                                        Mungovan regarding same (0.60).
09/18/17   Jeffrey W. Levitan   204     Teleconference with N. Baker and T.         0.40    $292.00
                                        Curtin regarding fuel line lenders
                                        intervention stipulation.
09/19/17   Paul Possinger       204     Review proposed potential terms for         1.60   $1,168.00
                                        settlement with bondholders (0.70); Call
                                        with T. Green regarding same (0.50);
                                        Follow-up discussion with C.
                                        Theodoridis (0.40).
09/19/17   Chris Theodoridis    204     Confer with P. Possinger and T. Green       6.10   $4,453.00
                                        regarding PREPA mediation issues
                                        (0.50); Research concerning PREPA
                                        mediation issues discussed with P.
                                        Possinger and T. Green (5.60).
09/20/17   Chris Theodoridis    204     E-mail with T. Green regarding PREPA        3.90   $2,847.00
                                        mediation issues (0.40); E-mail to P.
                                        Possinger regarding PREPA mediation
                                        issues (1.20); Review Peabody Energy
                                        plan in preparation for PREPA
                                        mediation (2.30).
09/20/17   Matthew J. Morris    204     Draft pre-motion letter for motion to       0.90    $657.00
                                        dismiss UTIER CBA complaint.
09/21/17   Jonathan E. Richman 204      Revise pre-motion letter regarding          0.90    $657.00
                                        UTIER CBA case (0.80);
                                        Teleconference with M. Morris
                                        regarding same (0.10).
 Case:17-03283-LTS Doc#:2053-2 Filed:12/15/17 Entered:12/15/17 19:19:26 Desc:
33260 FOMB                Exhibit B Page 99 of 125             Invoice 170129717
PROFESSOR ARTHUR J. GONZALEZ, FOMB BOARD
MEMBER
   0022 PROMESA TITLE III: PREPA                                                             Page 6

Date       Timekeeper           Task                  Description                  Hours     Amount
09/23/17   Jonathan E. Richman 204     Draft and review e-mails regarding pre-      0.40     $292.00
                                       motion letter in UTIER case (0.20);
                                       Revise same (0.20).
09/23/17   Timothy W.           204    Review and revise “meet and confer”          0.50     $365.00
           Mungovan                    letter to counsel for UTIER in CBA
                                       case (0.30); Communications with J.
                                       Richman regarding same (0.20).
09/25/17   Ralph C. Ferrara     204    Review letter to UTIER counsel               0.30     $219.00
                                       requesting meet and confer session
                                       (0.10); Teleconference with J. Richman
                                       with comments on same (0.20).
09/25/17   Paul Possinger       204    E-mails regarding potential plan             0.30     $219.00
                                       structure.
09/25/17   Stephen L. Ratner    204    E-mail with J. Richman, UTIER                0.30     $219.00
                                       counsel, T. Mungovan, Greenberg
                                       Traurig regarding UTIER schedule.
09/26/17   Laura Stafford       204    Draft meet and confer letter regarding       1.80    $1,314.00
                                       motion to dismiss UTIER
                                       Appointments Clause complaint.
09/26/17   Paul Possinger       204    Review DIP financing proposal from           0.40     $292.00
                                       bondholders.
09/26/17   Chantel L. Febus     204    Review and revise draft meet and             2.20    $1,606.00
                                       confer letter for UTIER v. PREPA
                                       Appointment Clause Case (1.90); E-
                                       mails and call with B. Sushon regarding
                                       UTIER v. PREPA meet and confer
                                       addressing UTIER Appointment Clause
                                       case (0.30).
09/26/17   Jeffrey W. Levitan   204    Review e-mails regarding PREPA               0.10      $73.00
                                       bondholder communication.
09/27/17   Chantel L. Febus     204    Review, revise and finalize UTIER v.         3.50    $2,555.00
                                       PREPA meet and confer letter in
                                       Appointment Clause case (1.30); E-
                                       mails and calls with T. Mungovan, S.
                                       Ratner and M. Harris and others
                                       regarding same (0.70); E-mails and call
                                       with B. Sushon regarding meet and
                                       confer in UTIER v. PREPA
                                       Appointment Clause case (0.30); E-
                                       mails and calls with M. Harris, H.
                                       Bauer, plaintiff’s counsel to discuss and
                                       negotiate plaintiff’s adjournment
                                       request in UTIER v. PREPA
                                       Appointment Clause case (1.20).
09/28/17   Chantel L. Febus     204    Teleconference and e-mails with B.           0.30     $219.00
                                       Sushon regarding informative motion
                                       regarding briefing schedule in UTIER
                                       v. PREPA Appointments Clause case
                                       and implications with respect to
                                       Aurelius case.
09/29/17   Ralph C. Ferrara     204    Review summary regarding AAFAF’s             0.40     $292.00
                                       rejection of DIP loan offer to PREPA.
Communications with Claimholders                                                   37.60   $27,448.00
 Case:17-03283-LTS Doc#:2053-2 Filed:12/15/17 Entered:12/15/17 19:19:26 Desc:
33260 FOMB                Exhibit B Page 100 of 125            Invoice 170129717
PROFESSOR ARTHUR J. GONZALEZ, FOMB BOARD
MEMBER
   0022 PROMESA TITLE III: PREPA                                                                Page 7


Communications with the Commonwealth, its Instrumentalities or Representatives of the Commonwealth or its
Instrumentalities -- 205


Date        Timekeeper            Task                  Description                 Hours       Amount
09/01/17    Ann M. Ashton        205     E-mails with D. Cleary regarding            0.20       $146.00
                                         extension for deadline for filing motion
                                         to dismiss in Assured special revenues
                                         case.
09/01/17    Paul Possinger       205     Teleconference with PREPA counsel           0.60        $438.00
                                         regarding various coordination tasks.
09/01/17    Jeramy Webb          205     Review updated PREPA transformation         0.30        $219.00
                                         plan.
09/01/17    Ehud Barak           205     Participate in weekly call with             0.70        $511.00
                                         Greenberg (0.50); Follow up internally
                                         (0.20).
09/01/17    Chris Theodoridis    205     Participate in weekly PREPA call with       0.60        $438.00
                                         Greenberg Traurig.
09/01/17    Maja Zerjal          205     Participate in weekly call with             0.40        $292.00
                                         Proskauer and Greenberg teams.
09/05/17    John E. Roberts      205     Participate in call with PREPA counsel      1.00        $730.00
                                         regarding special revenues adversary
                                         proceeding.
09/05/17    Ralph C. Ferrara     205     Participate in conference call with         1.50      $1,095.00
                                         Greenberg & Traurig, McKinsey and
                                         Proskauer teams regarding response
                                         strategy for Assured complaint (1.10);
                                         Follow-up discussion with A. Ashton,
                                         P. Possinger regarding same (0.40).
09/05/17    Jared Zajac          205     Prepare for teleconference regarding        1.30        $949.00
                                         complaint response (0.20);
                                         Teleconference with N. Mitchell, K.
                                         Finger, P. Possinger, and A. Ashton
                                         regarding same (1.10).
09/05/17    Jonathan E. Richman 205      Teleconference with Greenberg and           0.90        $657.00
                                         Proskauer teams regarding response to
                                         Assured special revenues complaint.
09/06/17    Ann M. Ashton        205     E-mails with Greenberg Traurig              0.20        $146.00
                                         regarding response for special revenues
                                         case.
09/06/17    Ralph C. Ferrara     205     Initial review of PREPA transformation      1.00        $730.00
                                         plan.
09/06/17    Paul Possinger       205     Review draft motion to approve              0.90        $657.00
                                         contract rejection procedures for fuel
                                         contracts (0.40); Related e-mails with
                                         Greenberg Traurig (0.20); Review e-
                                         mails regarding Energy Answers
                                         contract (0.30).
09/08/17    Maja Zerjal          205     Participate in weekly call with             0.50        $365.00
                                         Proskauer and Greenberg teams
                                         regarding PREPA status.
09/08/17    Paul Possinger       205     Participate in weekly status call with      0.50        $365.00
                                         Greenberg Traurig regarding PREPA.
 Case:17-03283-LTS Doc#:2053-2 Filed:12/15/17 Entered:12/15/17 19:19:26 Desc:
33260 FOMB                Exhibit B Page 101 of 125            Invoice 170129717
PROFESSOR ARTHUR J. GONZALEZ, FOMB BOARD
MEMBER
   0022 PROMESA TITLE III: PREPA                                                             Page 8

Date       Timekeeper            Task                   Description                 Hours    Amount
09/08/17   Chris Theodoridis    205     Participate in PREPA weekly call with        0.50    $365.00
                                        Greenberg Traurig.
09/08/17   Ehud Barak           205     Participate in weekly call with              0.50    $365.00
                                        Greenberg.
09/13/17   Chris Theodoridis    205     Participate in PREPA working group           2.00   $1,460.00
                                        call.
09/15/17   Chris Theodoridis    205     Participate in weekly PREPA call with        0.80    $584.00
                                        Greenberg Traurig.
09/15/17   Ann M. Ashton        205     Discussion with Greenberg Traurig            1.60   $1,168.00
                                        regarding response to motion to
                                        intervene in special revenues case
                                        (0.90); Follow-up discussion regarding
                                        same after speaking to fuel line lenders
                                        (0.70).
09/15/17   Maja Zerjal          205     Participate in PREPA weekly call with        0.60    $438.00
                                        Proskauer and Greenberg teams.
09/15/17   Jeffrey W. Levitan   205     Participate in call with Greenberg           1.20    $876.00
                                        Traurig, A. Ashton, and P. Possinger
                                        regarding fuel line lenders, motion to
                                        dismiss, operations (0.80);
                                        Teleconference with A. Ashton and
                                        Greenberg Traurig representatives
                                        regarding fuel line intervention (0.40).
09/15/17   Paul Possinger       205     Participate in weekly call with AAFAF        1.20    $876.00
                                        and PREPA regarding litigation matters
                                        and status (0.90); Teleconference and e-
                                        mails with Greenberg Traurig regarding
                                        draft stipulation regarding intervention
                                        (0.30).
09/18/17   Chris Theodoridis    205     Confer with Greenberg Traurig                0.40    $292.00
                                        regarding contract rejection procedures
                                        motion.
09/18/17   Paul Possinger       205     E-mails with Greenberg Traurig               0.30    $219.00
                                        regarding contract rejection procedures.
09/19/17   Brian S. Rosen       205     Memorandum to N. Mitchell regarding          0.60    $438.00
                                        legislation (0.10); Review same (0.20);
                                        Review memorandum regarding
                                        applicability of legislation to Title III
                                        case (0.10); Memorandum to N.
                                        Mitchell regarding same (0.10);
                                        Memorandum to M. Bienenstock
                                        regarding same (0.10).
09/21/17   Paul Possinger       205     Participate in PREPA weekly call             1.60   $1,168.00
                                        (0.70); E-mail to team summarizing
                                        discussion (0.90).
09/22/17   Paul Possinger       205     Call with Greenberg Traurig regarding        0.90    $657.00
                                        state of PREPA, various motions and
                                        pending litigation.
09/22/17   Ann M. Ashton        205     Prepare for call with Greenberg Traurig      1.90   $1,387.00
                                        regarding PREPA issues (1.20);
                                        Participate in same (0.70).
 Case:17-03283-LTS Doc#:2053-2 Filed:12/15/17 Entered:12/15/17 19:19:26 Desc:
33260 FOMB                Exhibit B Page 102 of 125            Invoice 170129717
PROFESSOR ARTHUR J. GONZALEZ, FOMB BOARD
MEMBER
   0022 PROMESA TITLE III: PREPA                                                               Page 9

Date         Timekeeper            Task                Description                   Hours     Amount
09/29/17     Maja Zerjal          205   Participate in weekly PREPA update            0.80     $584.00
                                        call with Proskauer team and Greenberg
                                        team (0.30); Discuss same with C.
                                        Theodoridis (0.20); Review follow up
                                        correspondence (0.30).
Communications with the Commonwealth, its Instrumentalities or                       25.50   $18,615.00
Representatives of the Commonwealth or its Instrumentalities


Documents Filed on Behalf of the Board -- 206


Date         Timekeeper            Task                  Description                 Hours     Amount
09/01/17     Jared Zajac          206     Call with J. Levitan, P. Possinger, and     1.00     $730.00
                                          A. Ashton regarding complaint response
                                          (0.10); Call with N. Mitchell, P.
                                          Possinger, and A. Ashton regarding
                                          same (0.40); Review and analyze
                                          outline of motion to dismiss (0.50).
09/01/17     John E. Roberts      206     Participate in call with PREPA team         1.60    $1,168.00
                                          regarding strategy for motion to dismiss
                                          Assured special revenues case (0.90);
                                          Follow-up regarding same (0.40); Draft
                                          bullet points for litigation summary
                                          describing relief sought in Assured
                                          adversary proceeding (0.30).
09/01/17     Jonathan E. Richman 206      Teleconference with J. Levitan, A.          1.70    $1,241.00
                                          Ashton, P. Possinger, and J. Roberts
                                          regarding Assured special revenues
                                          complaint (0.20); Teleconference with
                                          J. Levitan, A. Ashton, J. Zajac, P.
                                          Possinger, and J. Roberts regarding
                                          Assured strategy (1.10); Review
                                          materials regarding motion for dismiss
                                          in Assured special revenues case (0.40).
09/01/17     Ann M. Ashton        206     Review J. Levitan outline for motion to     1.90    $1,387.00
                                          dismiss Assured special revenues case
                                          (0.80); Participate in call with
                                          bankruptcy team regarding same (1.10).
09/01/17     Scott A. Faust       206     Review and comment on outline of            0.70     $511.00
                                          motion to dismiss UTIER complaint.
09/01/17     Jeffrey W. Levitan   206     Prepare for call on Assured motion to       1.80    $1,314.00
                                          dismiss special revenues case (0.30);
                                          Conference with P. Possinger, A.
                                          Ashton, J. Zajac and J. Richman
                                          regarding motion to dismiss Assured
                                          complaint (1.10); Review follow-up e-
                                          mails on Assured complaint (0.10);
                                          Review note comments on revised
                                          outline for motion to dismiss Assured
                                          action (0.30).
 Case:17-03283-LTS Doc#:2053-2 Filed:12/15/17 Entered:12/15/17 19:19:26 Desc:
33260 FOMB                Exhibit B Page 103 of 125            Invoice 170129717
PROFESSOR ARTHUR J. GONZALEZ, FOMB BOARD
MEMBER
   0022 PROMESA TITLE III: PREPA                                                           Page 10

Date       Timekeeper            Task                  Description                 Hours    Amount
09/01/17   Paul Possinger       206     Calls with A. Ashton and J. Richman         2.10   $1,533.00
                                        regarding adversary dismissal
                                        arguments (1.40); Review and comment
                                        on argument (0.70).
09/04/17   Jared Zajac          206     E-mails with P. Possinger and J.            0.20    $146.00
                                        Levitan regarding request to extend
                                        time.
09/05/17   Chris Theodoridis    206     Prepare supplemental affidavit              3.10   $2,263.00
                                        regarding joint administration motion.
09/05/17   Matthew J. Morris    206     Revise outline for motion to dismiss        3.10   $2,263.00
                                        UTIER CBA complaint.
09/05/17   Jonathan E. Richman 206      Revise outline of motion to dismiss         0.80    $584.00
                                        UTIER CBA case.
09/05/17   Jeffrey W. Levitan   206     Conference with J. Zajac regarding          0.90    $657.00
                                        research follow-up for motion to
                                        dismiss (0.10); Participate in call with
                                        P. Possinger, A. Ashton and Greenberg
                                        Traurig counsel regarding motion to
                                        dismiss strategy (0.80).
09/05/17   Ralph C. Ferrara     206     Review proposed revision to outline for     0.40    $292.00
                                        motion to dismiss (0.30);
                                        Teleconference with P. Possinger
                                        regarding same (0.10).
09/05/17   Paul Possinger       206     Review UTIER CBA complaint and              2.60   $1,898.00
                                        outline for motion to dismiss (2.20);
                                        Review affidavit regarding PREPA
                                        joint administration (0.40).
09/06/17   Jeffrey W. Levitan   206     Review M. Bienenstock revisions to          0.40    $292.00
                                        motion to dismiss Assured outline
                                        (0.30); Teleconference with P.
                                        Possinger regarding answer to Assured
                                        complaint (0.10).
09/06/17   Stephen L. Ratner    206     Review outline regarding motion to          0.70    $511.00
                                        dismiss UTIER CBA complaint (0.40);
                                        E-mail with J. Richman, R. Ferrara, P.
                                        Possinger, J. Alonzo, T. Mungovan
                                        regarding same (0.30).
09/06/17   Matthew J. Morris    206     Discuss UTIER CBA proceeding                4.60   $3,358.00
                                        motion to dismiss with J. Richman and
                                        P. Possinger (0.40); Draft same (4.20).
09/06/17   John E. Roberts      206     Call with A. Ashton, P. Possinger, and      0.40    $292.00
                                        J. Zajac regarding motion to dismiss
                                        special revenues adversary proceeding.
09/06/17   Jonathan E. Richman 206      Conference with M. Morris regarding         1.40   $1,022.00
                                        UTIER CBA motion to dismiss (0.10);
                                        Conference with M. Morris and
                                        teleconference with P. Possinger
                                        regarding same (0.50); Revise outline of
                                        UTIER motion (0.60); Review
                                        memorandum regarding special-revenue
                                        issues (0.20).
 Case:17-03283-LTS Doc#:2053-2 Filed:12/15/17 Entered:12/15/17 19:19:26 Desc:
33260 FOMB                Exhibit B Page 104 of 125            Invoice 170129717
PROFESSOR ARTHUR J. GONZALEZ, FOMB BOARD
MEMBER
   0022 PROMESA TITLE III: PREPA                                                           Page 11

Date       Timekeeper            Task                  Description                 Hours    Amount
09/06/17   Paul Possinger       206     Review updated outline for UTIER            1.80   $1,314.00
                                        CBA motion to dismiss (0.40); Call
                                        with J. Richman regarding same (0.70);
                                        E-mail to M. Bienenstock regarding
                                        same (0.20); Call with PREPA team
                                        regarding motion to dismiss special
                                        revenues case 17-232 (0.50).
09/06/17   Ralph C. Ferrara     206     Review and revise motion to dismiss         1.10    $803.00
                                        UTIER complaint outline (0.80); Left
                                        message for P. Possinger regarding
                                        same (0.10); E-mail to P. Possinger
                                        regarding comments to same (0.20).
09/06/17   Jared Zajac          206     Prepare for call with P. Possinger, A.      0.70    $511.00
                                        Ashton, and J. Roberts regarding
                                        response to complaint (0.20);
                                        Participate in same (0.30); E-mails with
                                        J. Levitan regarding same (0.20).
09/06/17   Chris Theodoridis    206     Revise supplemental affidavit regarding     2.40   $1,752.00
                                        joint administration motion.
09/07/17   Chris Theodoridis    206     Review and revise motion regarding          1.80   $1,314.00
                                        procedures to assume or reject
                                        contracts.
09/07/17   Jared Zajac          206     Meeting with J. Levitan regarding           0.20    $146.00
                                        response to complaint.
09/07/17   Ann M. Ashton        206     Review revised outline for motion to        0.60    $438.00
                                        dismiss Assured complaint.
09/07/17   Jonathan E. Richman 206      Conference with M. Morris regarding         2.20   $1,606.00
                                        outline of UTIER CBA motion to
                                        dismiss (0.10); Revise outline (1.60);
                                        Draft and review e-mails regarding
                                        same (0.10); Teleconference with R.
                                        Ferrara regarding same (0.10);
                                        Conference with M. Morris regarding
                                        same (0.30).
09/07/17   Jeffrey W. Levitan   206     Conference with J. Zajac regarding          0.30    $219.00
                                        motion to dismiss Assured action
                                        (0.20); Review e-mails regarding timing
                                        of response to Assured action (0.10).
09/08/17   Jonathan E. Richman 206      Conference with M. Morris regarding         1.60   $1,168.00
                                        motion to dismiss UTIER case (0.10);
                                        Draft and review e-mails regarding
                                        same (0.30); Revise outline of motion
                                        (0.80); Review and comment on motion
                                        for extension in Assured case (0.30).
                                        Draft and review e-mails regarding
                                        same (0.10).
09/08/17   Matthew J. Morris    206     Draft motion to dismiss UTIER CBA           2.80   $2,044.00
                                        complaint.
09/08/17   Stephen L. Ratner    206     E-mail with J. Richman, P. Possinger        0.50    $365.00
                                        regarding UTIER CBA motion to
                                        dismiss (0.20); Review outline
                                        regarding same (0.30).
09/08/17   Ann M. Ashton        206     Edit motion for extension of time.          2.40   $1,752.00
 Case:17-03283-LTS Doc#:2053-2 Filed:12/15/17 Entered:12/15/17 19:19:26 Desc:
33260 FOMB                Exhibit B Page 105 of 125            Invoice 170129717
PROFESSOR ARTHUR J. GONZALEZ, FOMB BOARD
MEMBER
   0022 PROMESA TITLE III: PREPA                                                           Page 12

Date       Timekeeper            Task                 Description                  Hours    Amount
09/08/17   Jared Zajac          206     Draft extension motion (3.80); Review       4.60   $3,358.00
                                        P. Possinger edits to motion (0.30); E-
                                        mails with P. Possinger, A. Ashton, and
                                        J. Levitan regarding motion to intervene
                                        (0.20); Call with E. Barak regarding
                                        same (0.10); Call with J. Esses
                                        regarding same (0.10); E-mail with J.
                                        Levitan regarding same (0.10).
09/09/17   Ehud Barak           206     Review and revise motion to extend          0.40    $292.00
                                        time.
09/09/17   Matthew J. Morris    206     Draft motion to dismiss UTIER CBA           2.50   $1,825.00
                                        complaint.
09/09/17   Jonathan E. Richman 206      Draft and review e-mails regarding          0.40    $292.00
                                        UTIER CBA motion to dismiss.
09/09/17   Paul Possinger       206     Review outline for motion to dismiss        0.60    $438.00
                                        UTIER CBA complaint (0.50); Related
                                        e-mails (0.10).
09/10/17   Jared Zajac          206     Revise urgent extension motion (0.20);      0.30    $219.00
                                        E-mail A. Ashton, P. Possinger, and J.
                                        Levitan regarding same (0.10).
09/10/17   Jonathan E. Richman 206      Review materials for UTIER motion to        1.70   $1,241.00
                                        dismiss.
09/11/17   Jonathan E. Richman 206      Draft and review e-mails regarding          1.10    $803.00
                                        Assured motion (0.10); Conference with
                                        M. Morris regarding UTIER CBA
                                        motion (0.10); Review issues for same
                                        (0.90).
09/11/17   Matthew J. Morris    206     Draft motion to dismiss UTIER CBA           1.40   $1,022.00
                                        complaint.
09/11/17   Jeffrey W. Levitan   206     Conference with J. Zajac regarding          0.10     $73.00
                                        Assured motion to dismiss.
09/11/17   Paul Possinger       206     Attention to motion to extend answer        0.20    $146.00
                                        date in adversary proceeding.
09/11/17   Jared Zajac          206     Revise urgent extension motion (0.30);      1.10    $803.00
                                        E-mail J. Levitan regarding same
                                        (0.10); E-mails with A. Ashton, J.
                                        Levitan, and P. Possinger regarding
                                        same (0.20); Meeting with J. Levitan
                                        regarding motion to dismiss (0.10); Call
                                        and e-mails with P. Possinger regarding
                                        urgent motion (0.20); E-mail U.
                                        Fernandez regarding urgent motion
                                        (0.10); E-mail A. Ashton regarding
                                        same (0.10).
09/12/17   Jared Zajac          206     Call with A. Ashton, P. Possinger, J.       1.10    $803.00
                                        Levitan, and J. Roberts regarding
                                        motion to dismiss.
09/12/17   Jeffrey W. Levitan   206     Review of outline motion to dismiss in      1.30    $949.00
                                        Assured case (0.20); Teleconference
                                        with A. Ashton, J. Zajac and J. Roberts
                                        regarding Assured motion to dismiss
                                        (1.10).
09/12/17   Matthew J. Morris    206     Draft motion to dismiss UTIER CBA           4.00   $2,920.00
                                        complaint.
 Case:17-03283-LTS Doc#:2053-2 Filed:12/15/17 Entered:12/15/17 19:19:26 Desc:
33260 FOMB                Exhibit B Page 106 of 125            Invoice 170129717
PROFESSOR ARTHUR J. GONZALEZ, FOMB BOARD
MEMBER
   0022 PROMESA TITLE III: PREPA                                                            Page 13

Date       Timekeeper           Task                  Description                   Hours    Amount
09/12/17   Jonathan E. Richman 206     Review materials for UTIER CBA                2.10   $1,533.00
                                       motion to dismiss.
09/12/17   John E. Roberts      206    Call with A, Ashton, P. Possinger, J.         5.10   $3,723.00
                                       Levitan, and J. Zajac to discuss motion
                                       to dismiss special revenues adversary
                                       proceeding (1.10); Draft motion to
                                       dismiss special revenues adversary
                                       proceeding (4.00).
09/13/17   John E. Roberts      206    Call with team to discuss outline for         0.50    $365.00
                                       motion to dismiss special revenues case
                                       (0.20); Revise outline for motion to
                                       dismiss special revenues case (0.30).
09/13/17   Matthew J. Morris    206    Draft motion to dismiss UTIER CBA             4.70   $3,431.00
                                       complaint.
09/13/17   Jeffrey W. Levitan   206    Edit revised motion to dismiss Assured        0.60    $438.00
                                       outline (0.20); Conference with J. Zajac
                                       regarding outline (0.10); E-mail with J.
                                       Roberts regarding outline (0.10); Edit
                                       revised outline (0.10); Conference and
                                       e-mail with J. Zajac (0.10).
09/13/17   Jonathan E. Richman 206     Conference with M. Morris regarding           0.10     $73.00
                                       UTIER CBA motion to dismiss.
09/13/17   Jared Zajac          206    Meetings with J. Levitan regarding            1.80   $1,314.00
                                       motion to dismiss outline (0.20);
                                       Review and further analyze revised
                                       outline (0.20); Revise outline (0.30);
                                       Call with J. Roberts regarding same
                                       (0.20); Review other adversary cases
                                       regarding applicable arguments for
                                       motion to dismiss (0.90).
09/13/17   Ann M. Ashton        206    Participate in discussion with J. Levitan,    0.90    $657.00
                                       J. Roberts and J. Zajac regarding
                                       motion to dismiss special revenues case
                                       and fuel leaders motion to intervene
                                       (0.40); Follow-up review of materials
                                       for same (0.50).
09/14/17   Chantel L. Febus     206    Draft notes outline for motion to             1.00    $730.00
                                       dismiss UTIER Appointment Clause
                                       case complaint.
09/14/17   Jared Zajac          206    Meetings with J. Levitan regarding            0.40    $292.00
                                       motion to dismiss outline.
09/14/17   Matthew J. Morris    206    Review decision denying appointment           2.20   $1,606.00
                                       of receiver to consider impact for
                                       UTIER CBA motion to dismiss (0.80);
                                       Draft portion of brief addressing same
                                       (1.40).
09/14/17   John E. Roberts      206    Draft motion to dismiss special               4.50   $3,285.00
                                       revenues adversary proceeding.
09/15/17   Jared Zajac          206    Meeting with J. Levitan regarding             0.50    $365.00
                                       motion to dismiss outline (0.20); Call
                                       with E. Stevens regarding intervention
                                       opposition (0.20); E-mail J. Roberts
                                       regarding same (0.10).
 Case:17-03283-LTS Doc#:2053-2 Filed:12/15/17 Entered:12/15/17 19:19:26 Desc:
33260 FOMB                Exhibit B Page 107 of 125            Invoice 170129717
PROFESSOR ARTHUR J. GONZALEZ, FOMB BOARD
MEMBER
   0022 PROMESA TITLE III: PREPA                                                            Page 14

Date       Timekeeper           Task                  Description                   Hours    Amount
09/15/17   Jonathan E. Richman 206     Begin review of UTIER CBA motion to           0.80    $584.00
                                       dismiss.
09/15/17   Ann M. Ashton        206    Review materials in preparation for           1.90   $1,387.00
                                       drafting stipulation addressing fuel line
                                       lenders motion to intervene (1.10);
                                       Draft same (0.80).
09/15/17   Matthew J. Morris    206    Draft motion to dismiss UTIER CBA             1.40   $1,022.00
                                       complaint.
09/15/17   John E. Roberts      206    Draft motion to dismiss special               3.80   $2,774.00
                                       revenues proceeding.
09/15/17   Jeffrey W. Levitan   206    Conference with J. Zajac regarding            0.20    $146.00
                                       motion to dismiss Assured special
                                       revenues case.
09/15/17   Paul Possinger       206    Review draft stipulation addressing           0.20    $146.00
                                       intervention.
09/16/17   Elliot Stevens       206    Review and edit opposition to                 0.70    $175.00
                                       intervention.
09/16/17   Paul Possinger       206    Review draft stipulation to hold motion       0.60    $438.00
                                       to intervene in abeyance (0.40); Revise
                                       language regarding agreement to
                                       consult with UCC on contract rejection
                                       decisions (0.20).
09/16/17   Matthew J. Morris    206    Address inquiries by J. Richman               1.10    $803.00
                                       regarding motion to dismiss UTIER
                                       CBA complaint.
09/16/17   Jonathan E. Richman 206     Revise motion to dismiss UTIER CBA            8.80   $6,424.00
                                       case (7.60); Draft and review e-mails
                                       regarding same (1.20).
09/16/17   John E. Roberts      206    Draft opposition to fuel line lenders'        5.90   $4,307.00
                                       motion to intervene.
09/16/17   Jared Zajac          206    E-mails with P. Possinger, J. Levitan,        1.40   $1,022.00
                                       and J. Roberts regarding opposition to
                                       intervention (0.20); Analysis of
                                       arguments (0.30); Review and analyze
                                       motion to intervene (0.90).
09/16/17   Ann M. Ashton        206    Prepare stipulation addressing fuel line      3.20   $2,336.00
                                       lenders' motion to intervene (2.40);
                                       Follow-up edits to reflect comments
                                       received from team and Greenberg
                                       Traurig (0.40); E-mails with team
                                       regarding status of discussion with fuel
                                       line lenders regarding motion to
                                       intervene (0.40).
09/17/17   Jeffrey W. Levitan   206    Edit draft intervention opposition            1.60   $1,168.00
                                       (0.80); E-mail with A. Ashton regarding
                                       opposition to intervention (0.10);
                                       Review lender stipulation comments to
                                       stipulation (0.10); E-mail with A.
                                       Ashton regarding same (0.10); E-mail
                                       with J. Zajac regarding comments to
                                       intervention opposition (0.20); Review
                                       J. Zajac insert to intervention opposition
                                       (0.20); Review A. Ashton e-mails
                                       regarding opposition (0.10).
 Case:17-03283-LTS Doc#:2053-2 Filed:12/15/17 Entered:12/15/17 19:19:26 Desc:
33260 FOMB                Exhibit B Page 108 of 125            Invoice 170129717
PROFESSOR ARTHUR J. GONZALEZ, FOMB BOARD
MEMBER
   0022 PROMESA TITLE III: PREPA                                                             Page 15

Date       Timekeeper            Task                  Description                   Hours    Amount
09/17/17   Jared Zajac          206     Review draft opposition to intervention       2.20   $1,606.00
                                        (0.30); Review and analyze case law
                                        cited by intervenors (0.60); E-mails
                                        with P. Possinger, J. Levitan, J. Roberts,
                                        and A. Ashton regarding opposition
                                        (0.40); Draft insert for opposition
                                        addressing movants' interest (0.90).
09/17/17   Jonathan E. Richman 206      Draft and review e-mails regarding            0.10     $73.00
                                        UTIER CBA motion to dismiss.
09/17/17   John E. Roberts      206     Revise opposition to fuel line lenders'       2.10   $1,533.00
                                        motion to intervene per comments.
09/17/17   Ann M. Ashton        206     Review and comment on draft                   0.80    $584.00
                                        opposition to intervene (0.60); E-mails
                                        with T. Mungovan and team regarding
                                        same (0.20).
09/17/17   Mark Harris          206     Review and edit summary of outline            0.90    $657.00
                                        responding to UTIER Appointments
                                        Clause case (0.80); E-mail with S. Fiur
                                        regarding same (0.10).
09/18/17   Matthew J. Morris    206     Revise UTIER CBA motion to dismiss            3.90   $2,847.00
                                        (3.40); Discuss same with J. Richman
                                        (0.50).
09/18/17   Jeffrey W. Levitan   206     Review revised fuel line lenders              0.40    $292.00
                                        intervention stipulation and relevant e-
                                        mails addressing same (0.30); E-mail to
                                        A. Ashton regarding intervention
                                        stipulation (0.10).
09/18/17   Jonathan E. Richman 206      Conference with M. Morris regarding           0.40    $292.00
                                        UTIER CBA motion to dismiss.
09/19/17   Jeffrey W. Levitan   206     Review fuel line lender stipulation           0.80    $584.00
                                        revisions (0.10); E-mails with A.
                                        Ashton regarding stipulation (0.20);
                                        Review plaintiffs' stipulation revisions
                                        (0.10); E-mail to A. Ashton regarding
                                        same (0.10); Conference with J. Zajac
                                        regarding motion to dismiss (0.10);
                                        Review e-mails regarding intervention
                                        stipulation (0.20).
09/19/17   Matthew J. Morris    206     Revise UTIER CBA motion to dismiss            4.40   $3,212.00
                                        (4.20); Discuss with J. Richman (0.20).
09/19/17   John E. Roberts      206     Review stipulation concerning fuel line       0.40    $292.00
                                        lenders' motion to intervene.
09/19/17   Jonathan E. Richman 206      Conference with M. Morris regarding           3.10   $2,263.00
                                        UTIER CBA motion to dismiss (0.10);
                                        Teleconference with R. Ferrara
                                        regarding same (0.10); Revise motion to
                                        dismiss (2.40); Conference with M.
                                        Morris regarding same (0.20);
                                        Teleconference with M. Morris
                                        regarding same (0.30).
09/19/17   Ann M. Ashton        206     Finalize stipulation regarding fuel line      0.80    $584.00
                                        lenders' motion to intervene (0.60); E-
                                        mails with bondholders and fuel line
                                        lenders regarding same (0.20).
 Case:17-03283-LTS Doc#:2053-2 Filed:12/15/17 Entered:12/15/17 19:19:26 Desc:
33260 FOMB                Exhibit B Page 109 of 125            Invoice 170129717
PROFESSOR ARTHUR J. GONZALEZ, FOMB BOARD
MEMBER
   0022 PROMESA TITLE III: PREPA                                                           Page 16

Date       Timekeeper           Task                  Description                  Hours    Amount
09/19/17   Ralph C. Ferrara    206     Review C. Theodoridis analysis               1.60   $1,168.00
                                       regarding fuel line lenders claim (0.40);
                                       Review UTIER CBA motion to dismiss
                                       (1.20).
09/19/17   Jared Zajac         206     Meeting with J. Levitan regarding            0.10     $73.00
                                       motion to dismiss special revenues
                                       cases.
09/19/17   Paul Possinger      206     Review final version of fuel line            0.30    $219.00
                                       stipulation.
09/20/17   Ann M. Ashton       206     Review draft motion to dismiss in            1.40   $1,022.00
                                       collective bargaining case (1.20);
                                       Discussion with J. Roberts regarding
                                       motion to dismiss special revenues case
                                       (0.20).
09/20/17   Chantel L. Febus    206     Call with L. Stafford regarding              0.20    $146.00
                                       preparation of motion to dismiss in
                                       UTIER Appointments Clause
                                       complaint.
09/20/17   Jonathan E. Richman 206     Revise motion to dismiss UTIER CBA           0.90    $657.00
                                       case.
09/22/17   Laura Stafford      206     Review and analyze UTIER complaint           3.00   $2,190.00
                                       in preparation for drafting motion to
                                       dismiss for UTIER Appointments
                                       Clause case (1.40); Draft motion to
                                       dismiss template (1.60).
09/23/17   Stephen L. Ratner   206     E-mail with T. Mungovan, J. Richman          0.40    $292.00
                                       regarding UTIER CBA motion to
                                       dismiss (0.10); Review draft letter
                                       addressing motion to dismiss letter
                                       (0.30).
09/24/17   Scott A. Faust      206     Review and comment on draft motion           2.80   $2,044.00
                                       to dismiss UTIER CBA complaint.
09/24/17   Stephen L. Ratner   206     E-mail with T. Mungovan, J. Richman          1.20    $876.00
                                       regarding draft UTIER CBA motion to
                                       dismiss (0.30); Review same and
                                       review draft pre-motion letter (0.90).
09/24/17   Jonathan E. Richman 206     Revise motion to dismiss UTIER CBA           1.70   $1,241.00
                                       complaint (1.40); Revise pre-motion
                                       letter (0.30).
09/24/17   Timothy W.          206     Continue to review and revise motion to      2.60   $1,898.00
           Mungovan                    dismiss UTIER CBA complaint (2.40);
                                       Follow-up communications with J.
                                       Richman and M. Morris regarding
                                       motion to dismiss UTIER CBA
                                       complaint (0.20).
09/25/17   Matthew J. Morris   206     Draft urgent motion to adjourn               2.70   $1,971.00
                                       deadlines for motion to dismiss UTIER
                                       CBA complaint (1.50); Teleconference
                                       regarding same (0.40); Analysis
                                       regarding same (0.80).
 Case:17-03283-LTS Doc#:2053-2 Filed:12/15/17 Entered:12/15/17 19:19:26 Desc:
33260 FOMB                Exhibit B Page 110 of 125            Invoice 170129717
PROFESSOR ARTHUR J. GONZALEZ, FOMB BOARD
MEMBER
   0022 PROMESA TITLE III: PREPA                                                           Page 17

Date       Timekeeper           Task                  Description                  Hours    Amount
09/25/17   Jonathan E. Richman 206     Draft and review e-mails regarding           4.90   $3,577.00
                                       CBA motion to dismiss and pre-motion
                                       letter in UTIER case (0.40);
                                       Teleconference with M. Morris
                                       regarding joint motion for extension
                                       (0.10); Revise UTIER motion to
                                       dismiss (2.40); Teleconference with K.
                                       Finger, D. Cleary, J. Davis regarding
                                       UTIER motion to dismiss (0.40);
                                       Teleconference with T. Mungovan, S.
                                       Ratner, M. Harris, C. Febus regarding
                                       UTIER Appointments case (0.40);
                                       Teleconference with R. Ferrara
                                       regarding CBA case (0.10); Revise
                                       motion to extend deadlines in CBA case
                                       (0.90); Draft and review e-mails
                                       regarding same (0.20).
09/25/17   Laura Stafford      206     Work on draft motion to dismiss              7.10   $5,183.00
                                       UTIER Appointment Clause complaint.
09/25/17   Stephen L. Ratner   206     Review draft UTIER motion to dismiss         0.40    $292.00
                                       and pre-motion letter.
09/25/17   Ralph C. Ferrara    206     Initial review of current draft motion to    0.30    $219.00
                                       dismiss UTIER CBA case (0.20);
                                       Teleconference with J. Richman on
                                       same (0.10).
09/25/17   Jared Zajac         206     Meeting with J. Levitan regarding            1.00    $730.00
                                       motion to dismiss in special revenues
                                       case (0.10); Review and analyze draft
                                       motion to dismiss (0.90).
09/25/17   Chantel L. Febus    206     Review and revise draft motion to            1.90   $1,387.00
                                       dismiss UTIER Appointments Clause
                                       case.
09/26/17   Chantel L. Febus    206     Review and edit draft motion to dismiss      1.30    $949.00
                                       UTIER Appointment Clause Case.
09/26/17   Jared Zajac         206     Draft insert for motion to dismiss           4.80   $3,504.00
                                       addressing sections 922 and 928.
09/26/17   Jonathan E. Richman 206     Finalize stipulation regarding extension     2.50   $1,825.00
                                       in UTIER CBA case (0.40); Draft and
                                       review e-mails regarding same (0.20);
                                       Revise motion to dismiss UTIER CBA
                                       case (1.90).
09/26/17   Ehud Barak          206     Review materials regarding motion to         0.90    $657.00
                                       dismiss special revenues case.
09/27/17   Chantel L. Febus    206     Draft and revise urgent informative          2.80   $2,044.00
                                       motion regarding briefing schedule in
                                       UTIER v. PREPA Appointments Clause
                                       case.
09/27/17   Laura Stafford      206     Draft urgent motion regarding                4.10   $2,993.00
                                       extending time for motion to dismiss
                                       UTIER Appointments Clause adversary
                                       proceeding (1.90); Review and revise
                                       draft motion to dismiss UTIER
                                       Appointments Clause case (2.20).
 Case:17-03283-LTS Doc#:2053-2 Filed:12/15/17 Entered:12/15/17 19:19:26 Desc:
33260 FOMB                Exhibit B Page 111 of 125            Invoice 170129717
PROFESSOR ARTHUR J. GONZALEZ, FOMB BOARD
MEMBER
   0022 PROMESA TITLE III: PREPA                                                               Page 18

Date       Timekeeper            Task                   Description                 Hours       Amount
09/27/17   Stephen L. Ratner    206      Review draft UTIER CBA meet and             0.80       $584.00
                                         confer letter regarding motion to
                                         dismiss (0.40); Conferences and e-mail
                                         with T. Mungovan, C. Febus regarding
                                         same (0.40).
09/27/17   Timothy W.           206      Review and revise meet and confer            0.80      $584.00
           Mungovan                      letter concerning UTIER’s complaint
                                         based on Appointments Clause (0.60);
                                         Communications with S. Ratner and C.
                                         Febus regarding same (0.20).
09/28/17   Mark Harris          206      Review and edit information motion           1.50     $1,095.00
                                         draft regarding UTIER Appointments
                                         Clause case (0.50); E-mail and
                                         teleconference with team regarding
                                         same (0.50); E-mail and teleconference
                                         with Munger Tolles regarding same
                                         (0.50).
09/28/17   Jared Zajac          206      Conferences with J. Levitan regarding        0.20      $146.00
                                         motion to dismiss PREPA special
                                         revenues case.
09/28/17   Laura Stafford       206      Revise draft UTIER motion to dismiss         2.60     $1,898.00
                                         in Appointments Clause case.
09/28/17   Jeffrey W. Levitan   206      Conference with J. Zajac regarding           0.20      $146.00
                                         motion to dismiss Assured special
                                         revenues case.
09/28/17   Chantel L. Febus     206      Draft informative motion regarding           6.00     $4,380.00
                                         briefing schedule in UTIER v. PREPA
                                         Appointments Clause litigation (1.70);
                                         Supervise filing of same (0.30); Review
                                         and edit draft UTIER motion to dismiss
                                         UTIER Appointments Clause case
                                         (4.00).
09/29/17   Jared Zajac          206      Review and analyze PREPA special             3.60     $2,628.00
                                         revenues pleadings regarding motion to
                                         dismiss analysis (0.40); Teleconference
                                         with D. Desatnik regarding arguments
                                         (0.50); Draft same (0.50); E-mail with
                                         D. Desatnik regarding same (0.10);
                                         Meeting with J. Levitan regarding
                                         motion to dismiss (0.10); E-mail with P.
                                         Possinger regarding same (0.10); Draft
                                         argument (1.90).
09/29/17   Laura Stafford       206      Revise Appointments Clause draft             2.90     $2,117.00
                                         motion to dismiss UTIER adversary
                                         proceeding.
09/29/17   Daniel Desatnik      206      Call with J. Zajac to discuss research       0.40      $292.00
                                         assignment regarding bondholder
                                         collateral.
09/30/17   Chantel L. Febus     206      Revise draft motion to dismiss in            2.00     $1,460.00
                                         UTIER v. PREPA Appointments Clause
                                         case.
Documents Filed on Behalf of the Board                                              216.80   $157,928.00
 Case:17-03283-LTS Doc#:2053-2 Filed:12/15/17 Entered:12/15/17 19:19:26 Desc:
33260 FOMB                Exhibit B Page 112 of 125            Invoice 170129717
PROFESSOR ARTHUR J. GONZALEZ, FOMB BOARD
MEMBER
   0022 PROMESA TITLE III: PREPA                                                            Page 19

Non-Board Court Filings -- 207


Date        Timekeeper            Task                  Description                 Hours    Amount
09/01/17    Chantel L. Febus     207     Review UCC’s motion to intervene in         0.50    $365.00
                                         PREPA UTIER Appointments Clause
                                         case.
09/05/17    Chantel L. Febus     207     Review summary of UCC motion to             0.20    $146.00
                                         intervene in UTIER Appointments
                                         Clause litigation and motion.
09/05/17    Paul Possinger       207     Call with PREPA litigation team             1.50   $1,095.00
                                         regarding special revenues and
                                         dismissal arguments for same (1.10);
                                         Follow-up call with R. Ferrara
                                         regarding same (0.40).
09/08/17    Jared Zajac          207     Review fuel line supplier's motion to       0.20    $146.00
                                         intervene.
09/11/17    Chris Theodoridis    207     Review lease rejection motion.              1.00    $730.00
09/11/17    Chantel L. Febus     207     Review UTIER opposition to UCC              1.00    $730.00
                                         motion to intervene.
09/12/17    Paul Possinger       207     Review rejection procedures motion          1.10    $803.00
                                         update (0.20); E-mails with C.
                                         Theodoridis regarding same (0.20);
                                         Review final lease rejection motion
                                         (0.30); E-mail McKinsey regarding
                                         rejection procedures motion (0.40).
09/13/17    Vincent Indelicato   207     Analyze Scotiabank/Solus motion to          0.90    $657.00
                                         intervene, including exhibits.
09/13/17    Jared Zajac          207     Review and analyze motion to                0.40    $292.00
                                         intervene.
09/13/17    Jeffrey W. Levitan   207     Review fuel line lenders motion to          1.10    $803.00
                                         intervene (0.80); Review unsecured
                                         creditors committee intervention motion
                                         (0.30).
09/13/17    Timothy W.           207     Review fuel line lenders motion to          0.50    $365.00
            Mungovan                     intervene (0.40); Communications with
                                         A. Ashton regarding fuel line lenders
                                         motion to intervene (0.10).
09/14/17    Paul Possinger       207     Attention to UCC request for                1.00    $730.00
                                         consultation rights on contract
                                         rejections (0.30); Review trust
                                         agreement regarding same issue (0.40);
                                         Review JeffCo precedent (0.30).
09/14/17    Timothy W.           207     Review order denying appointment of         0.80    $584.00
            Mungovan                     PREPA receiver.
09/14/17    Ann M. Ashton        207     Review motion for intervention in           2.30   $1,679.00
                                         PREPA special revenues case filed by
                                         fuel line lenders.
09/15/17    Ann M. Ashton        207     Review fuel line lenders motion to          0.80    $584.00
                                         intervene in special revenues case.
09/15/17    Ralph C. Ferrara     207     Review summaries regarding PREPA            1.30    $949.00
                                         appeal in connection with receiver lift-
                                         stay motion and PREPA transformation
                                         plan.
 Case:17-03283-LTS Doc#:2053-2 Filed:12/15/17 Entered:12/15/17 19:19:26 Desc:
33260 FOMB                Exhibit B Page 113 of 125            Invoice 170129717
PROFESSOR ARTHUR J. GONZALEZ, FOMB BOARD
MEMBER
   0022 PROMESA TITLE III: PREPA                                                                   Page 20

Date         Timekeeper              Task                  Description                    Hours     Amount
09/15/17     Jared Zajac            207     Review stay enforcement motion (0.30);         0.40     $292.00
                                            E-mail C. Theodoridis regarding open
                                            questions (0.10).
09/15/17     John E. Roberts        207     Review Scotiabank motion to intervene          1.90    $1,387.00
                                            (1.60); Calls and e-mails with team to
                                            discuss potential arguments in
                                            opposition (0.30).
09/18/17     Timothy W.             207     Review and analyze fuel Line lenders’          0.60     $438.00
             Mungovan                       motion to intervene (0.20);
                                            Communications with A. Ashton
                                            regarding possibility of resolving
                                            motion (0.10); Communications with A.
                                            Ashton regarding response to motion of
                                            bondholders for appointment of receiver
                                            (0.30).
09/21/17     Ralph C. Ferrara       207     Review summary regarding fuel line             0.30     $219.00
                                            lenders’ agreement on intervention in
                                            PREPA special revenue litigation.
09/23/17     Timothy W.             207     Review and analyze UTIER CBA                   1.00     $730.00
             Mungovan                       complaint in connection with preparing
                                            to review draft motion to dismiss.
09/25/17     Ann M. Ashton          207     E-mails with R. Ferrara and P.                 0.20     $146.00
                                            Possinger regarding AAFAF motion
                                            (0.10); Review same (0.10).
09/25/17     Paul Possinger         207     Review ruling on bondholder lift-stay          0.60     $438.00
                                            motion.
09/29/17     Stephen L. Ratner      207     Review order regarding UTIER                   0.30     $219.00
                                            Appointments Clause schedule (0.10);
                                            Conferences and e-mail with T.
                                            Mungovan, C. Febus, M. Harris
                                            regarding same (0.20).
Non-Board Court Filings                                                                   19.90   $14,527.00


Stay Matters -- 208


Date         Timekeeper              Task                  Description                    Hours     Amount
09/14/17     Martin J.              208     Review opinion regarding PREPA                 0.60     $438.00
             Bienenstock                    creditor request for stay relief (0.30); E-
                                            mail to N. Jaresko and Board regarding
                                            outcome and next steps (0.30).
09/14/17     Jennifer L. Roche      208     Review order on PREPA motion for               0.30     $219.00
                                            relief from stay opponent receiver.
09/14/17     Michael A. Firestein   208     Review court order denying lift stay to        0.30     $219.00
                                            opponent receiver (0.20); Related
                                            teleconference with L. Rappaport on
                                            same (0.10).
09/14/17     Paul Possinger         208     Review ruling on PREPA lift-stay               0.40     $292.00
                                            motion.
09/14/17     Vincent Indelicato     208     Analyze decision denying lift stay             0.80     $584.00
                                            motion to opponent receiver.
09/14/17     Chantel L. Febus       208     Review opinion and order denying lift-         0.30     $219.00
                                            stay motion in PREPA Assured case.
 Case:17-03283-LTS Doc#:2053-2 Filed:12/15/17 Entered:12/15/17 19:19:26 Desc:
33260 FOMB                Exhibit B Page 114 of 125            Invoice 170129717
PROFESSOR ARTHUR J. GONZALEZ, FOMB BOARD
MEMBER
   0022 PROMESA TITLE III: PREPA                                                            Page 21

Date        Timekeeper            Task                  Description                 Hours    Amount
09/14/17    Ann M. Ashton        208     Review Court order denying lift-stay        0.30    $219.00
                                         motion to appoint receiver (0.20); E-
                                         mails with team regarding same (0.10).
09/14/17    Jonathan E. Richman 208      Review decision denying lift stay and       0.50    $365.00
                                         opponent receiver (0.40);
                                         Teleconference with P. Possinger
                                         regarding same (0.10).
09/14/17    Stephen L. Ratner    208     Review decision denying lift-               0.30    $219.00
                                         stay/receivership motion.
09/14/17    Jeffrey W. Levitan   208     Review decision denying lift stay to        0.60    $438.00
                                         opponent receiver motion (0.40);
                                         Conference with M. Bienenstock
                                         regarding decision (0.10).
                                         Teleconference with A. Ashton
                                         regarding stay decision (0.10).
09/15/17    Chris Theodoridis    208     Review motion to enforce automatic          1.60   $1,168.00
                                         stay regarding PV Properties judgment.
09/19/17    Chris Theodoridis    208     Research regarding application of           1.80   $1,314.00
                                         automatic stay to entry of order.
09/29/17    Ralph C. Ferrara     208     Review summary regarding Ad Hoc             0.40    $292.00
                                         PREPA bondholder group and
                                         monoline appeal of Court’s denial of
                                         motion to lift stay to allow receiver
                                         appointment action.
Stay Matters                                                                         8.20   $5,986.00


Adversary Proceeding -- 209


Date        Timekeeper            Task                  Description                 Hours    Amount
09/07/17    Matthew J. Morris    209     Outline and draft motion to dismiss         6.90   $5,037.00
                                         UTIER CBA complaint (6.80);
                                         Discussions of same with J. Richman
                                         (0.10).
09/16/17    Jeffrey W. Levitan   209     Review and edit draft intervention          2.10   $1,533.00
                                         stipulation (0.30); E-mail with A.
                                         Ashton regarding same (0.10); E-mails
                                         with J. Roberts regarding intervention
                                         motion (0.30); Review E. Stevens
                                         research summary, cases cited (0.90);
                                         E-mail with E. Stevens regarding
                                         intervention issues (0.20); Review
                                         Greenberg Traurig comments to
                                         stipulation (0.20); E-mail with A.
                                         Ashton regarding same (0.10).
09/22/17    Jared Zajac          209     Call with J. Levitan regarding motion to    0.30    $219.00
                                         dismiss.
Adversary Proceeding                                                                 9.30   $6,789.00
 Case:17-03283-LTS Doc#:2053-2 Filed:12/15/17 Entered:12/15/17 19:19:26 Desc:
33260 FOMB                Exhibit B Page 115 of 125            Invoice 170129717
PROFESSOR ARTHUR J. GONZALEZ, FOMB BOARD
MEMBER
   0022 PROMESA TITLE III: PREPA                                                             Page 22

Analysis and Strategy -- 210


Date         Timekeeper            Task                   Description                Hours    Amount
08/14/17     Daniel Desatnik      210     Prepare Title III confirmation              4.80   $3,504.00
                                          requirements deck on PREPA.
08/15/17     Ehud Barak           210     Review time line presentation for           1.80   $1,314.00
                                          PREPA's Title III.
09/01/17     Lary Alan Rappaport 210      E-mails with A. Ashton, M. Firestein,       0.30    $219.00
                                          B. Bobroff regarding section 928, and
                                          Peaje arguments in connection with
                                          PREPA special revenues case.
09/05/17     Jared Zajac          210     Meeting with J. Levitan regarding           0.10     $73.00
                                          Assured complaint.
09/06/17     Ann M. Ashton        210     Discussion with J. Roberts, P. Possinger    1.90   $1,387.00
                                          and J. Zajac regarding response to
                                          special revenues case.
09/06/17     Mark Harris          210     Teleconference with T. Mungovan and         2.80   $2,044.00
                                          C. Febus regarding order extending
                                          deadlines on UTIER Appointments
                                          Clause (0.40); Multiple calls regarding
                                          amending order (1.60); Office
                                          conference with C. Febus regarding
                                          same (0.40); Review order regarding
                                          same (0.40).
09/06/17     Paul Possinger       210     Discuss PREPA litigation issues with        0.30    $219.00
                                          A. Ashton.
09/07/17     Stephen L. Ratner    210     E-mail with J. Richman, M.                  0.10     $73.00
                                          Bienenstock regarding UTIER motion
                                          to dismiss.
09/07/17     Ralph C. Ferrara     210     Discussion with A. Ashton regarding         0.20    $146.00
                                          PREPA issues.
09/07/17     Ann M. Ashton        210     Discussions with P. Possinger regarding     1.20    $876.00
                                          strategy issues (0.90); Follow-up e-
                                          mails regarding same (0.30).
09/07/17     Paul Possinger       210     Teleconferences with A. Ashton              1.50   $1,095.00
                                          regarding intervention and other
                                          standing matters (0.90); Discuss
                                          contract rejection procedures with E.
                                          Barak (0.20); Review rejection
                                          procedures motion in light of bar date
                                          draft, related e-mails (0.40).
09/08/17     Jeffrey W. Levitan   210     Conference with J. Zajac regarding          0.20    $146.00
                                          motion to extend answer deadline on
                                          Assured action (0.10); Review e-mails
                                          regarding extension of time to respond
                                          to Assured complaint (0.10).
09/08/17     Chris Theodoridis    210     Prepare PREPA weekly summary.               0.40    $292.00
09/08/17     Ann M. Ashton        210     Discussions and e-mails with P.             0.60    $438.00
                                          Possinger, J. Roberts and J. Zajac
                                          regarding motion for extension of time
                                          to respond.
09/08/17     Jonathan E. Richman 210      Draft and review e-mails regarding          0.20    $146.00
                                          motions in Assured.
 Case:17-03283-LTS Doc#:2053-2 Filed:12/15/17 Entered:12/15/17 19:19:26 Desc:
33260 FOMB                Exhibit B Page 116 of 125            Invoice 170129717
PROFESSOR ARTHUR J. GONZALEZ, FOMB BOARD
MEMBER
   0022 PROMESA TITLE III: PREPA                                                            Page 23

Date       Timekeeper            Task                  Description                  Hours    Amount
09/08/17   Jared Zajac          210     Meeting with J. Levitan regarding            0.20    $146.00
                                        extension motion.
09/12/17   Paul Possinger       210     Call with PREPA litigation team              0.40    $292.00
                                        regarding motion to dismiss adversary
                                        proceeding.
09/13/17   Jared Zajac          210     Participate in call with A. Ashton, J.       0.90    $657.00
                                        Levitan, and J. Roberts regarding
                                        outline for motion to dismiss and fuel
                                        lenders motion to intervene.
09/13/17   Ehud Barak           210     Prepare for PREPA call (0.60);               2.70   $1,971.00
                                        Participate in PREPA call (2.00);
                                        Follow-up with C. Theodoridis
                                        regarding same (0.10).
09/13/17   Jeffrey W. Levitan   210     Review case docket to prepare for team       0.80    $584.00
                                        call (0.20); Teleconference with A.
                                        Ashton, J. Roberts and J. Zajac
                                        regarding intervention, outline of
                                        motion to dismiss (0.40); E-mail with P.
                                        Possinger regarding fuel lenders
                                        intervention (0.20).
09/14/17   Chris Theodoridis    210     Confer with P. Possinger, E. Barak, and      1.40   $1,022.00
                                        S. Brody regarding PREPA's
                                        transformation plan (0.70); Confer with
                                        J. Levitan, P. Possinger, A. Ashton, and
                                        E. Barak regarding PREPA litigation
                                        (0.70).
09/14/17   Ann M. Ashton        210     Discussion with R. Ferrara, E. Barak, J.     0.70    $511.00
                                        Levitan, P. Possinger, and C.
                                        Theodoridis regarding fuel line lenders'
                                        motion to intervene (0.60); E-mail to T.
                                        Mungovan regarding same (0.10).
09/14/17   Paul Possinger       210     Participate in call with A. Ashton, E.       0.40    $292.00
                                        Barak and J. Levitan regarding fuel line
                                        lender motion to intervene.
09/15/17   Paul Possinger       210     Discuss fuel line intervention motion        1.40   $1,022.00
                                        with A. Ashton (0.60); E-mails
                                        regarding communication with lenders
                                        and bondholders regarding stipulation
                                        (0.40); Discuss fuel line lender
                                        intervention with A. Ashton and J.
                                        Levitan (0.40).
09/15/17   Ann M. Ashton        210     Discussion and e-mails with team             1.20    $876.00
                                        regarding approach to fuel line lenders
                                        (0.80); Discussion with J. Roberts and J.
                                        Levitan regarding draft response to
                                        motion to dismiss (0.40).
 Case:17-03283-LTS Doc#:2053-2 Filed:12/15/17 Entered:12/15/17 19:19:26 Desc:
33260 FOMB                Exhibit B Page 117 of 125            Invoice 170129717
PROFESSOR ARTHUR J. GONZALEZ, FOMB BOARD
MEMBER
   0022 PROMESA TITLE III: PREPA                                                           Page 24

Date       Timekeeper            Task                  Description                 Hours    Amount
09/15/17   Jeffrey W. Levitan   210     E-mail to P. Possinger regarding fuel       0.90    $657.00
                                        line lender intervention (0.20);
                                        Teleconference with A. Ashton
                                        regarding motion to dismiss outline,
                                        intervention (0.20); Conference with C.
                                        Theodoridis regarding fuel line
                                        documents (0.10); Conference with A.
                                        Ashton regarding fuel line lender
                                        intervention (0.10); Teleconference
                                        with A. Ashton and P. Possinger
                                        regarding response to fuel line lenders
                                        (0.20); Teleconference with A. Ashton
                                        and J. Roberts regarding opposition to
                                        intervention (0.10).
09/15/17   Chris Theodoridis    210     Prepare PREPA weekly summary.               0.50    $365.00
09/15/17   Jared Zajac          210     Meetings with J. Levitan regarding          0.40    $292.00
                                        intervention response.
09/16/17   Paul Possinger       210     E-mails with PREPA team in                  0.70    $511.00
                                        connection with standards for
                                        intervention regarding fuel line lender
                                        intervention motion.
09/18/17   Scott A. Faust       210     Review and respond to correspondence        0.30    $219.00
                                        from J. Richman regarding PREPA
                                        issue.
09/18/17   Ralph C. Ferrara     210     E-mail to C. Theodoridis regarding debt     1.30    $949.00
                                        document language respecting fuel line
                                        lenders.
09/18/17   Jared Zajac          210     Call with C. Theodoridis regarding          0.10     $73.00
                                        intervention stipulation.
09/18/17   Jeffrey W. Levitan   210     Review R. Ferrara e-mail regarding          0.10     $73.00
                                        special revenues issues.
09/19/17   Paul Possinger       210     Discuss stipulation with fuel line          0.30    $219.00
                                        lenders with A. Ashton.
09/19/17   Stephen L. Ratner    210     E-mail with A. Ashton regarding fuel        0.10     $73.00
                                        line lender intervention motion.
09/20/17   John E. Roberts      210     Teleconference with A. Ashton to            0.10     $73.00
                                        discuss status of PREPA special
                                        revenues case.
09/22/17   Jonathan E. Richman 210      Teleconference with J. Levitan, P.          0.20    $146.00
                                        Possinger, M. Morris regarding PREPA
                                        upcoming motions.
09/22/17   Jeffrey W. Levitan   210     Teleconference with P. Possinger, J.        0.20    $146.00
                                        Zajac regarding special revenues action,
                                        mediation, and union adversary
                                        proceedings.
09/25/17   Ann M. Ashton        210     Call with P. Possinger and E. Barak         0.20    $146.00
                                        regarding status of PREPA cases.
09/25/17   Paul Possinger       210     Call with Greenberg and J. Richman          0.40    $292.00
                                        regarding UTIER action, response
                                        timing.
09/25/17   Ehud Barak           210     Discuss PREPA issues with C.                1.60   $1,168.00
                                        Theodoridis (0.30); Review related
                                        documents (1.30).
 Case:17-03283-LTS Doc#:2053-2 Filed:12/15/17 Entered:12/15/17 19:19:26 Desc:
33260 FOMB                Exhibit B Page 118 of 125            Invoice 170129717
PROFESSOR ARTHUR J. GONZALEZ, FOMB BOARD
MEMBER
   0022 PROMESA TITLE III: PREPA                                                             Page 25

Date        Timekeeper            Task                 Description                  Hours     Amount
09/25/17    Chantel L. Febus     210     E-mails with J. Richman, H. Bauer and       0.60     $438.00
                                         others regarding UTIER adversary
                                         complaints deadlines (0.40);
                                         Teleconference with J. Richman, T.
                                         Mungovan, S. Ratner and M. Harris
                                         regarding same (0.20).
09/26/17    Ehud Barak           210     Discuss PREPA special revenues case         0.80     $584.00
                                         with J. Levitan and P. Possinger (0.30);
                                         Review case calendar (0.30); Discuss
                                         timing issues with C. Theodoridis
                                         (0.20).
09/26/17    Jeffrey W. Levitan   210     Conference with E. Barak and P.             0.20     $146.00
                                         Possinger regarding next steps for
                                         special revenues case.
09/26/17    Chantel L. Febus     210     Calls and e-mails with M. Harris, L.        0.70     $511.00
                                         Stafford, and S. Ratner and T.
                                         Mungovan regarding Appointments
                                         Clause case, request by plaintiff's
                                         counsel to extend filing deadlines and
                                         strategy regarding same.
09/28/17    Chantel L. Febus     210     Teleconference with M. Harris and M.        0.90     $657.00
                                         Bienenstock regarding briefing schedule
                                         in UTIER v. PREPA Appointments
                                         Clause case and implications with
                                         respect to Aurelius case (0.20).
                                         Teleconference and meetings with M.
                                         Harris regarding informative motion
                                         regarding briefing schedule in UTIER
                                         v. PREPA Appointments Clause case
                                         and implications with respect to
                                         Aurelius case (0.40); Teleconference
                                         with T. Mungovan, S. Ratner, and M.
                                         Harris regarding informative motion
                                         regarding briefing schedule in UTIER
                                         v. PREPA Appointments Clause case
                                         and implications with respect to
                                         Aurelius case (0.30).
09/29/17    Paul Possinger       210     Review updates regarding PREPA              0.60     $438.00
                                         adversary proceedings and related
                                         matters.
Analysis and Strategy                                                               37.70   $27,521.00


General Administration -- 212


Date        Timekeeper            Task                Description                   Hours     Amount
09/07/17    Paul Possinger       212     Review materials regarding Hurricane        0.30     $219.00
                                         Irma impact on elective grid.
09/08/17    Lawrence T.          212     Review docket entries in PREPA Title        0.50     $125.00
            Silvestro                    III action.
 Case:17-03283-LTS Doc#:2053-2 Filed:12/15/17 Entered:12/15/17 19:19:26 Desc:
33260 FOMB                Exhibit B Page 119 of 125            Invoice 170129717
PROFESSOR ARTHUR J. GONZALEZ, FOMB BOARD
MEMBER
   0022 PROMESA TITLE III: PREPA                                                       Page 26

Date       Timekeeper        Task                   Description                Hours   Amount
09/19/17   Magali Giddens   212     Review and respond to correspondence        0.50   $125.00
                                    with P. Possinger and A. Ashton
                                    regarding filing joint stipulation
                                    addressing fuel line lenders motion to
                                    intervene (0.10); Prepare same for
                                    electronic filing (0.10); File same
                                    electronically (0.10); Follow-up
                                    correspondence with A. Ashton
                                    regarding filing (0.10); Draft and send
                                    e-mail to Prime Clerk regarding service
                                    of same (0.10).
09/25/17   Magali Giddens   212     Draft notice of appearance based on         1.60    $400.00
                                    precedent provided by L. Silvestro
                                    (0.20); Teleconference with C. Quinn
                                    regarding updating information in body
                                    of notice (0.10); Research dockets in
                                    other adversary proceedings regarding
                                    notice precedent (0.40); Prepare list of
                                    all adversary proceedings in which no
                                    notices of appearance filed (0.40);
                                    Provide same to C. Quinn as additional
                                    template (0.20); Teleconference with L.
                                    Silvestro regarding preparing notices
                                    for adversary proceedings (0.10);
                                    Review C. Quinn drafts (0.20).
09/25/17   Casey Quinn      212     Draft and format notice of appearance       1.40    $350.00
                                    caption templates for PREPA.
09/26/17   Magali Giddens   212     Correspond with J. Richman regarding        1.60    $400.00
                                    filing urgent motion to extend
                                    defendants time to answer in UTIER v.
                                    PREPA (0.10); Review motion (0.20);
                                    Electronically file same (0.20); Send
                                    filed version to J. Richman (0.10); E-
                                    mail filed copy to Epiq for service
                                    (0.10); Correspond with J. Roche and E.
                                    Rodriguez regarding filing of urgent
                                    motion regarding scheduling in UTIER
                                    v. PREPA Appointments Clause case
                                    (0.20); Teleconference with J. Roche
                                    regarding filing (0.10); Discuss filing
                                    and related procedural issues with E.
                                    Rodriguez (0.10); Forward e-mail sent
                                    to Judge Swain (0.10); Teleconference
                                    with C. Theodoridis regarding deadlines
                                    affected in light of hurricane (0.10);
                                    Review statutory portion of calendar
                                    and interim compensation order and
                                    note original deadlines (0.20); Follow-
                                    up teleconference with C. Theodoridis
                                    (0.10).
 Case:17-03283-LTS Doc#:2053-2 Filed:12/15/17 Entered:12/15/17 19:19:26 Desc:
33260 FOMB                Exhibit B Page 120 of 125            Invoice 170129717
PROFESSOR ARTHUR J. GONZALEZ, FOMB BOARD
MEMBER
   0022 PROMESA TITLE III: PREPA                                                               Page 27

Date         Timekeeper            Task                    Description                Hours     Amount
09/28/17     Magali Giddens       212      Correspondence and teleconferences          1.40     $350.00
                                           with C. Febus regarding timing of filing
                                           of urgent informative motion in
                                           connection with extending deadlines to
                                           answer to adversary complaint in
                                           UTIER v. PREPA (0.20); Review and
                                           make minor edits to informative motion
                                           (0.30); Correspond and confer with C.
                                           Febus regarding additional edits (0.10);
                                           Prepare informative motion for
                                           electronic filing (0.20); Electronically
                                           file informative motion on adversary
                                           proceeding docket (0.30); Draft service
                                           request e-mail to noticing agent and
                                           engage in further email exchange
                                           regarding same (0.10); Prepare and send
                                           e-mail to Judge Swain's Chambers
                                           attaching copy of informative motion
                                           (0.20).
General Administration                                                                 7.30    $1,969.00


Plan of Adjustment and Disclosure Statement -- 215


Date         Timekeeper            Task                Description                    Hours     Amount
09/05/17     Chris Theodoridis    215    Research regarding classification issues      3.70    $2,701.00
                                         in connection with potential plan of
                                         adjustment.
09/15/17    Steve MA             215     Review preliminary draft of plan of           4.80    $3,504.00
                                         adjustment for PREPA.
09/18/17    Steve MA             215     Review PREPA memorandum in                    6.90    $5,037.00
                                         preparation to draft preliminary plan of
                                         adjustment (0.70); Review Chapter 9
                                         plans of adjustment in preparation for
                                         same (0.90); Prepare draft preliminary
                                         PREPA plan of adjustment (5.30).
09/19/17    Steve MA             215     Continue to prepare preliminary draft         1.40    $1,022.00
                                         plan of adjustment for PREPA.
09/20/17    Steve MA             215     Further revise draft of preliminary           0.80     $584.00
                                         PREPA plan of adjustment.
09/27/17    Steve MA             215     Review and revise template for plan of        0.20     $146.00
                                         adjustment.
09/28/17    Elliot Stevens       215     Research regarding classification of          2.60     $650.00
                                         reorganization plan/plan of adjustment
                                         (2.30); E-mail with C. Theodoridis
                                         regarding same (0.30).
Plan of Adjustment and Disclosure Statement                                           20.40   $13,644.00
 Case:17-03283-LTS Doc#:2053-2 Filed:12/15/17 Entered:12/15/17 19:19:26 Desc:
33260 FOMB                Exhibit B Page 121 of 125            Invoice 170129717
PROFESSOR ARTHUR J. GONZALEZ, FOMB BOARD
MEMBER
   0022 PROMESA TITLE III: PREPA                                                             Page 28

Employment and Fee Applications -- 218


Date            Timekeeper            Task                  Description            Hours      Amount
09/26/17        Natasha Petrov       218     Draft calculations regarding           0.50      $125.00
                                             professionals, task codes, and
                                             disbursements for first interim fee
                                             application.
Employment and Fee Applications                                                     0.50       $125.00


Appeal -- 219


Date            Timekeeper            Task               Description               Hours      Amount
09/14/17        Jeffrey W. Levitan   219     Conference with A. Ashton regarding    0.10       $73.00
                                             appeal.
Appeal                                                                              0.10        $73.00


Total for Professional Services                                                            $302,718.00
 Case:17-03283-LTS Doc#:2053-2 Filed:12/15/17 Entered:12/15/17 19:19:26 Desc:
33260 FOMB                Exhibit B Page 122 of 125            Invoice 170129717
PROFESSOR ARTHUR J. GONZALEZ, FOMB BOARD
MEMBER
   0022 PROMESA TITLE III: PREPA                                                    Page 29

Timekeeper Summary

Timekeeper                        Status                       Hours      Rate          Value
ANN M. ASHTON                     PARTNER                       33.10    730.00    $24,163.00
BRIAN S. ROSEN                    PARTNER                        0.60    730.00      $438.00
JEFFREY W. LEVITAN                PARTNER                       20.80    730.00    $15,184.00
JONATHAN E. RICHMAN               PARTNER                       40.90    730.00    $29,857.00
LARY ALAN RAPPAPORT               PARTNER                        0.30    730.00      $219.00
MARK HARRIS                       PARTNER                        6.00    730.00     $4,380.00
MARTIN J. BIENENSTOCK             PARTNER                        6.50    730.00     $4,745.00
MICHAEL A. FIRESTEIN              PARTNER                        0.30    730.00      $219.00
PAUL POSSINGER                    PARTNER                       30.10    730.00    $21,973.00
RALPH C. FERRARA                  PARTNER                       11.10    730.00     $8,103.00
SCOTT A. FAUST                    PARTNER                        3.80    730.00     $2,774.00
STEPHEN L. RATNER                 PARTNER                        5.10    730.00     $3,723.00
TIMOTHY W. MUNGOVAN               PARTNER                        6.80    730.00     $4,964.00
  Total for PARTNER                                            165.40             $120,742.00

CHANTEL L. FEBUS                  SENIOR COUNSEL                26.10    730.00    $19,053.00
 Total for SENIOR COUNSEL                                       26.10              $19,053.00

CHRIS THEODORIDIS                 ASSOCIATE                     45.10    730.00    $32,923.00
DANIEL DESATNIK                   ASSOCIATE                      8.10    730.00     $5,913.00
EHUD BARAK                        ASSOCIATE                      9.40    730.00     $6,862.00
JARED ZAJAC                       ASSOCIATE                     35.90    730.00    $26,207.00
JENNIFER L. ROCHE                 ASSOCIATE                      0.30    730.00      $219.00
JERAMY WEBB                       ASSOCIATE                      0.30    730.00      $219.00
JOHN E. ROBERTS                   ASSOCIATE                     27.30    730.00    $19,929.00
LAURA STAFFORD                    ASSOCIATE                     21.50    730.00    $15,695.00
MAJA ZERJAL                       ASSOCIATE                      2.30    730.00     $1,679.00
MATTHEW J. MORRIS                 ASSOCIATE                     46.60    730.00    $34,018.00
STEVE MA                          ASSOCIATE                     14.10    730.00    $10,293.00
VINCENT INDELICATO                ASSOCIATE                      1.70    730.00     $1,241.00
  Total for ASSOCIATE                                          212.60             $155,198.00

CASEY QUINN                       LEGAL ASSISTANT                1.40    250.00      $350.00
LAWRENCE T. SILVESTRO             LEGAL ASSISTANT                0.50    250.00      $125.00
MAGALI GIDDENS                    LEGAL ASSISTANT                5.10    250.00     $1,275.00
NATASHA PETROV                    LEGAL ASSISTANT                0.50    250.00      $125.00
 Total for LEGAL ASSISTANT                                       7.50               $1,875.00

ELLIOT STEVENS                    LAW CLERK                     23.40    250.00     $5,850.00
 Total for LAW CLERK                                            23.40               $5,850.00

                                     Total                     435.00             $302,718.00



For Charges and Disbursements

Date         Timekeeper               Type                 Description               Amount
09/02/2017   Jonathan E.        REPRODUCTION       REPRODUCTION                        $4.20
             Richman
 Case:17-03283-LTS Doc#:2053-2 Filed:12/15/17 Entered:12/15/17 19:19:26 Desc:
33260 FOMB                Exhibit B Page 123 of 125            Invoice 170129717
PROFESSOR ARTHUR J. GONZALEZ, FOMB BOARD
MEMBER
   0022 PROMESA TITLE III: PREPA                                        Page 30

Date         Timekeeper             Type             Description         Amount
09/02/2017   Jonathan E.      REPRODUCTION   REPRODUCTION                  $2.85
             Richman
09/02/2017   Jonathan E.      REPRODUCTION   REPRODUCTION                  $7.35
             Richman
09/02/2017   Jonathan E.      REPRODUCTION   REPRODUCTION                  $4.65
             Richman
09/02/2017   Jonathan E.      REPRODUCTION   REPRODUCTION                  $2.40
             Richman
09/06/2017   Jared Zajac      REPRODUCTION   REPRODUCTION                  $0.30
09/06/2017   Jared Zajac      REPRODUCTION   REPRODUCTION                  $6.15
09/08/2017   Eamon Wizner     REPRODUCTION   REPRODUCTION                  $1.20
09/08/2017   Eamon Wizner     REPRODUCTION   REPRODUCTION                  $0.30
09/08/2017   Eamon Wizner     REPRODUCTION   REPRODUCTION                  $3.90
09/08/2017   Eamon Wizner     REPRODUCTION   REPRODUCTION                  $0.30
09/08/2017   Eamon Wizner     REPRODUCTION   REPRODUCTION                  $0.45
09/08/2017   Eamon Wizner     REPRODUCTION   REPRODUCTION                  $1.20
09/08/2017   Eamon Wizner     REPRODUCTION   REPRODUCTION                  $0.30
09/08/2017   Eamon Wizner     REPRODUCTION   REPRODUCTION                  $0.45
09/08/2017   Eamon Wizner     REPRODUCTION   REPRODUCTION                  $4.80
09/08/2017   Eamon Wizner     REPRODUCTION   REPRODUCTION                  $0.45
09/08/2017   Eamon Wizner     REPRODUCTION   REPRODUCTION                  $0.30
09/08/2017   Eamon Wizner     REPRODUCTION   REPRODUCTION                  $1.20
09/08/2017   Jared Zajac      REPRODUCTION   REPRODUCTION                  $1.35
09/13/2017   Elliot Stevens   REPRODUCTION   REPRODUCTION                  $4.50
09/13/2017   Jonathan E.      REPRODUCTION   REPRODUCTION                 $12.45
             Richman
09/14/2017   Jonathan E.      REPRODUCTION   REPRODUCTION                  $2.40
             Richman
09/14/2017   Elliot Stevens   REPRODUCTION   REPRODUCTION                  $1.65
09/15/2017   Elliot Stevens   REPRODUCTION   REPRODUCTION                  $1.20
09/15/2017   Jonathan E.      REPRODUCTION   REPRODUCTION                  $6.00
             Richman
09/15/2017   Elliot Stevens   REPRODUCTION   REPRODUCTION                 $12.45
09/15/2017   Jonathan E.      REPRODUCTION   REPRODUCTION                  $6.15
             Richman
09/16/2017   Elliot Stevens   REPRODUCTION   REPRODUCTION                  $1.35
09/19/2017   Eamon Wizner     REPRODUCTION   REPRODUCTION                  $0.45
09/19/2017   Eamon Wizner     REPRODUCTION   REPRODUCTION                  $0.30
09/19/2017   Eamon Wizner     REPRODUCTION   REPRODUCTION                  $2.25
09/19/2017   Eamon Wizner     REPRODUCTION   REPRODUCTION                  $0.30
09/19/2017   Eamon Wizner     REPRODUCTION   REPRODUCTION                  $3.90
09/19/2017   Eamon Wizner     REPRODUCTION   REPRODUCTION                  $0.30
09/19/2017   Eamon Wizner     REPRODUCTION   REPRODUCTION                  $0.45
09/19/2017   Eamon Wizner     REPRODUCTION   REPRODUCTION                  $1.20
09/19/2017   Eamon Wizner     REPRODUCTION   REPRODUCTION                  $0.30
09/19/2017   Eamon Wizner     REPRODUCTION   REPRODUCTION                  $4.80
09/19/2017   Eamon Wizner     REPRODUCTION   REPRODUCTION                  $0.45
09/19/2017   Eamon Wizner     REPRODUCTION   REPRODUCTION                  $0.30
09/19/2017   Eamon Wizner     REPRODUCTION   REPRODUCTION                  $1.20
09/19/2017   Eamon Wizner     REPRODUCTION   REPRODUCTION                  $4.80
09/19/2017   Eamon Wizner     REPRODUCTION   REPRODUCTION                  $4.65
09/19/2017   Eamon Wizner     REPRODUCTION   REPRODUCTION                  $2.40
09/24/2017   Jonathan E.      REPRODUCTION   REPRODUCTION                 $12.00
             Richman
 Case:17-03283-LTS Doc#:2053-2 Filed:12/15/17 Entered:12/15/17 19:19:26 Desc:
33260 FOMB                Exhibit B Page 124 of 125            Invoice 170129717
PROFESSOR ARTHUR J. GONZALEZ, FOMB BOARD
MEMBER
   0022 PROMESA TITLE III: PREPA                                                      Page 31

Date         Timekeeper               Type             Description                     Amount
09/24/2017   Jonathan E.        REPRODUCTION   REPRODUCTION                              $0.45
             Richman
09/25/2017   Casey Quinn        REPRODUCTION   REPRODUCTION                              $1.50
09/25/2017   Jonathan E.        REPRODUCTION   REPRODUCTION                              $3.60
             Richman
09/25/2017   Jonathan E.        REPRODUCTION   REPRODUCTION                             $12.00
             Richman
09/25/2017   Casey Quinn        REPRODUCTION   REPRODUCTION                              $0.75
09/25/2017   Jonathan E.        REPRODUCTION   REPRODUCTION                              $2.85
             Richman
09/26/2017   Chantel L. Febus   REPRODUCTION   REPRODUCTION                              $1.50
09/26/2017   Chantel L. Febus   REPRODUCTION   REPRODUCTION                              $0.90
09/26/2017   Jared Zajac        REPRODUCTION   REPRODUCTION                              $2.10
09/26/2017   Chantel L. Febus   REPRODUCTION   REPRODUCTION                              $6.00
09/26/2017   Chantel L. Febus   REPRODUCTION   REPRODUCTION                              $1.80
09/26/2017   Chantel L. Febus   REPRODUCTION   REPRODUCTION                              $0.75
09/26/2017   Chantel L. Febus   REPRODUCTION   REPRODUCTION                              $0.75
09/26/2017   Chantel L. Febus   REPRODUCTION   REPRODUCTION                              $0.60
09/26/2017   Chantel L. Febus   REPRODUCTION   REPRODUCTION                              $0.60
09/28/2017   Elliot Stevens     REPRODUCTION   REPRODUCTION                              $1.05
09/28/2017   Elliot Stevens     REPRODUCTION   REPRODUCTION                              $1.50
09/28/2017   Elliot Stevens     REPRODUCTION   REPRODUCTION                              $7.50
09/28/2017   Elliot Stevens     REPRODUCTION   REPRODUCTION                              $3.30
09/29/2017   Elliot Stevens     REPRODUCTION   REPRODUCTION                              $2.10
                                               Total for REPRODUCTION                  $183.90

Date         Timekeeper                 Type                Description                Amount
09/14/2017   Elliot Stevens     LEXIS          LEXIS Connect and Comm Time -          $2,075.00
                                               0:00:00 Searches - 0 Shepards and
                                               Autocite - 0 Lexsees and Lexstat - 0
09/15/2017   Elliot Stevens     LEXIS          LEXIS Connect and Comm Time -           $881.00
                                               0:00:00 Searches - 0 Shepards and
                                               Autocite - 0 Lexsees and Lexstat - 0
09/16/2017   Elliot Stevens     LEXIS          LEXIS Connect and Comm Time -          $1,708.00
                                               0:00:00 Searches - 0 Shepards and
                                               Autocite - 0 Lexsees and Lexstat - 0
09/17/2017   Jared Zajac        LEXIS          LEXIS Connect and Comm Time -           $144.00
                                               1:05:32 Searches - 0 Shepards and
                                               Autocite - 0 Lexsees and Lexstat - 6
09/18/2017   Jared Zajac        LEXIS          LEXIS Connect and Comm Time -            $48.00
                                               0:17:54 Searches - 0 Shepards and
                                               Autocite - 0 Lexsees and Lexstat - 2
09/19/2017   Elliot Stevens     LEXIS          LEXIS Connect and Comm Time -          $1,676.00
                                               0:00:00 Searches - 0 Shepards and
                                               Autocite - 0 Lexsees and Lexstat - 0
09/26/2017   Elliot Stevens     LEXIS          LEXIS Connect and Comm Time -            $79.00
                                               0:00:00 Searches - 0 Shepards and
                                               Autocite - 0 Lexsees and Lexstat - 0
09/28/2017   Elliot Stevens     LEXIS          LEXIS Connect and Comm Time -          $1,035.00
                                               0:00:00 Searches - 0 Shepards and
                                               Autocite - 0 Lexsees and Lexstat - 0
09/29/2017   Jared Zajac        LEXIS          LEXIS Connect and Comm Time -           $772.50
                                               1:02:26 Searches - 3 Shepards and
                                               Autocite - 2 Lexsees and Lexstat - 8
 Case:17-03283-LTS Doc#:2053-2 Filed:12/15/17 Entered:12/15/17 19:19:26 Desc:
33260 FOMB                Exhibit B Page 125 of 125            Invoice 170129717
PROFESSOR ARTHUR J. GONZALEZ, FOMB BOARD
MEMBER
   0022 PROMESA TITLE III: PREPA                                                               Page 32

Date         Timekeeper                Type                        Description                  Amount
09/29/2017   Elliot Stevens    LEXIS                  LEXIS Connect and Comm Time -            $1,516.00
                                                      0:00:00 Searches - 0 Shepards and
                                                      Autocite - 0 Lexsees and Lexstat - 0
                                                      Total for LEXIS                          $9,934.50

Date         Timekeeper             Type                          Description                   Amount
09/02/2017   Jonathan E.       WESTLAW                WESTLAW Connect and Comm                   $99.00
             Richman                                  Time - 000000:00:00 WestChk and
                                                      Other Trans - 0000000001 Lines
09/15/2017   Elliot Stevens    WESTLAW                WESTLAW Connect and Comm                  $564.00
                                                      Time - 000000:00:00 WestChk and
                                                      Other Trans - 0000000017 Lines
09/16/2017   John E. Roberts   WESTLAW                WESTLAW Connect and Comm                   $99.00
                                                      Time - 000000:00:00 WestChk and
                                                      Other Trans - 0000000010 Lines
09/19/2017   Elliot Stevens    WESTLAW                WESTLAW Connect and Comm                  $788.00
                                                      Time - 000000:00:00 WestChk and
                                                      Other Trans - 0000000018 Lines
09/25/2017   Jonathan E.       WESTLAW                WESTLAW Connect and Comm                  $128.00
             Richman                                  Time - 000000:00:00 WestChk and
                                                      Other Trans - 0000000005 Lines
09/26/2017   Elliot Stevens    WESTLAW                WESTLAW Connect and Comm                  $663.00
                                                      Time - 000000:00:00 WestChk and
                                                      Other Trans - 0000000007 Lines
09/28/2017   Elliot Stevens    WESTLAW                WESTLAW Connect and Comm                  $198.00
                                                      Time - 000000:00:00 WestChk and
                                                      Other Trans - 0000000003 Lines
09/29/2017   Elliot Stevens    WESTLAW                WESTLAW Connect and Comm                 $1,744.00
                                                      Time - 000000:00:00 WestChk and
                                                      Other Trans - 0000000027 Lines
                                                      Total for WESTLAW                        $4,283.00

Date         Timekeeper              Type                         Description                   Amount
09/11/2017   Judy Lavine       PRINTING,              PRINTING, BINDING, ETC. - -                 $7.30
                               BINDING, ETC.          VENDOR: SOCIAL LAW
                                                      LIBRARY SOCIAL LAW -
                                                      INVOICE #311387 - PHOTOCOPY
                                                      CHARGES
                                                      Total for Printing, Binding, Etc.            $7.30

Charges and Disbursements Summary

Type of Disbursements                                                                           Amount
REPRODUCTION                                                                                      183.90
LEXIS                                                                                           9,934.50
WESTLAW                                                                                         4,283.00
PRINTING, BINDING, ETC.                                                                             7.30
                                       Total Expenses                                         $14,408.70
                                       Total Amount for this Matter                          $317,126.70
